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No: 2024-2256 AUG 29 2024

United States Court of Appeals
For the Federal Circuit

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

LARRY GOLDEN REVIEWED ALSFOR
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Plaintiff-Appellant US OR DERAL CIRCUIT
Vv. AUG 29 2024
The United States SIGNATURE
Defendant-Appellee

ON APPEAL FROM THE UNITED STATES COURT OF
FEDERAL CLAIMS IN GOLDEN v. THE UNITED STATES
[DEFENSE THREAT REDUCTION AGENCY]

IN 1:2023cv00811-EGB; JUDGE ERIC BRUGGINK

MOTION OF PLAINTIFF-APPELLANT (GOLDEN)
FOR SUMMARY AFFIRMANCE

LARRY GOLDEN

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Appearing ProSe
August 28, 2024
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Pursuant to Fed. R. App. P. 2 and Fed. R. App. P. 27, Plaintiff-Appellant (Golden)
respectfully requests that this Appellate Court summarily affirm the current case on appeal Larry
Golden v. Google LEC; COFC Case No. 23-811C. This Court of Appeals for the Federal Circuit
on 09/08/2022 in Larry Golden v. Google LLC; Case No. 22-1267, Exhibit 1. affirmed Golden

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have plead ““‘enough fact[s] to raise a reasonable expectation that discovery will reveal’ that the
defendant [the United States “Government” is liable for the misconduct alleged.”

The current case on appeal Larry Golden v. Google LLC; COFC Case No. 23-811C
directly mirrors the case decided on appeal at the Federal Circuit, Larry Golden v. Google LLC,
CAFC Case No. 22-1267; that include the same agencies [the Department of Defense (DoD);
Defense Threat Reduction Agency (DTRA)]; the same third-party contractors [Google, LLC and
Draper Laboratories, Inc.]; and same independent patent claims from Golden’s U.S. Patent Nos.
10,163,287, 9,589,439, and 9,069,189.

The Federal Circuit in Larry Golden vy. Google LLC; Case No. 22-1267 examined and
determined Golden has described how the Google “smartphone”, that include the ATAK
software and CBRN plugin sensors literally infringes at least claim 5 of Golden’s ‘287 Patent;

claim 23 of Golden’s ‘439 Patent; and claim 1 of Golden’s ‘189 Patent. See the chart below:

Literal Infringement Literal Infringement
(Precedence) (Fed. Cir. Golden y. Google)

Literal infringement means that each and
every element recited in a claim has
identical correspondence in the allegedly
infringing device or process. To literally
infringe a patent, the accused system,
method, etc. must include each limitation
of a claim. E.g., Southwaill (Fed. Cir.
05/10/95) To establish literal infringement,
every limitation set forth in a claim must
be found in an accused product,
exactly. Becton Dickinson (Fed. Cir.
12/13/90). “Infringement, both literal and
under the doctrine of equivalents, is an
issue of fact.”); Cobalt Boats (Fed. Cir.
05/31/19) “patent infringement is an issue
of fact, tried by a jury” [U.S. CONST.
amend. VII]

“Mr. Golden’s complaint includes a
detailed claim chart mapping features of an
accused product, the [] Smartphone, to
independent claims from U.S. Patent Nos.
10,163,287, 9,589,439, and 9,069,189 ... It
[claim chart] attempts [] to map claim
limitations to infringing product features,
and it does so in a relatively
straightforward manner ...[W]e conclude
that the district court’s decision in the
Google case is not correct with respect to
at least the three claims mapped out in the
claim chart. Mr. Golden has made efforts
to identify exactly how the accused
products meet the limitations of his claims
in this chart....”

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The Federal Circuit in Golden v. Google LLC Case No. 22-1267 disclosed in
“Discussion” that [} “under the pleading standards set forth in Bell Atlantic Corp. v. Twombly,
550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), {a court must dismiss a
complaint if it fails to allege “enough facts to state a claim to relief that is plausible on its face].”
Twombly, 550 U.S. at 570; and, “plaintiff must allege facts that give rise to “more than a sheer
possibility that a defendant has acted unlawfully.” Jgbal, 556 U.S. at 678 (citation omitted)

The Federal Circuit in Golden v. Google LLC Case No. 22-1267 took notice that “a
plaintiff need not “plead facts establishing that each element of an asserted claim is met,” Jn re
Bill of Lading Transmission and Processing Sys. Pat. Litig., 681 F.3d 1323, 1335 (Fed. Cir.
2012) (citing McZeal v. Sprint Nextel Corp., 501 F.3d 1354, 1357 (Fed. Cir. 2007)), but must

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plead “enough fact[s] to raise a reasonable expectation that discovery will reveal’ that the
defendant ts liable for the misconduct alleged.” Jd. at 1341 (quoting Twombly, 550 U.S. at 556)”.

The Federal Circuit in Golden v. Google LLC Case No. 22-1267 goes on to say: “Mr.
Golden’s complaint includes a detailed claim chart mapping features of an accused product, the
Google [Pixel 5] Smartphone, to independent claims from U.S. Patent Nos. 10,163,287,
9,589,439, and 9,069,189” ... “[] and it does so in a relatively straightforward manner. ... [t]he
district court’s decision in the Google case is not correct with respect to at least the three claims
mapped out in the claim chart.”

The Circuit did not specifically say “Google’s smartphones that include the ATAK
software and CBRN plugin sensors literally or under the doctrine of equivalents, infringing
Golden’s patents”, the Federal Circuit imply to say under the “clear and convincing evidence”
standard, Google’s smartphone products that include the ATAK software and CBRN plugin
sensors are more likely than not directly infringing Golden’s patents asserted in the case.

Golden has satisfied his burden of proof under the “preponderance of evidence” standard
with “enough fact[s] to raise a reasonable expectation that discovery [would have] reveal[ed]’
that the defendant [the United States “Government’”] is liable for the misconduct alleged.” Jd. at
1341 (quoting Twombly, 550 U.S. at 556)”.

Golden submitted as evidence in the current case on appeal Larry Golden v. Google LLC;
COFC Case No. 23-811C, a motion for summary judgement (Dkt. 9) that included as Dkt. 9-1,
Golden’s “Consolidated [Exhibits A-I] Claim Charts filed on 06/20/2023 in Golden v. US, COFC
Case No. 23-811C; Dkt. 9-1”. The document is attached as Exhibit 2.
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Golden has plead enough facts in the “Consolidated Claims Charts” to raise a reasonable
expectation that discovery will reveal’ that the defendant is liable for the misconduct alleged.” Jd.
at 1341 (quoting Twombly, 550 U.S. at 556)”. The facts included are:

e Duplicated claim chart submitted to the Federal Circuit in Golden v. Google LIC Case
No. 22-1267 [includes the same Gov’t agencies; Gov’t contractors; and patent claims];

e Reversed engineered claim charts of alleged Gov’t infringement;

e Claims charts illustrating the alleged Gov’t infringement of Golden’s patented CMDC
devices; CPUs; and Multi-Sensor Detection Devices;

e Claims charts illustrating the “use” of the Gov’t’s iTAK that is built on Apple’s iOS
operating system, with Golden’s patented CMDC devices; CPUs; and Multi-Sensor
Detection Devices;

e Claims charts illustrating the “use” of the Gov’t’s ATAK that is built on Google’s Android
Open-Source Operating System, with Golden’s patented CMDC devices; CPUs; and
Multi-Sensor Detection Devices;

e Claims charts illustrating the “use” of the Gov’t’s WinTAK that is built on Microsoft’s
Operating System, with Golden’s patented CMDC devices; CPUs; and Multi-Sensor
Detection Devices;

e Claims charts illustrating the possibility that § 1498(a) may extend to acts defined as
induced infringement under § 271(b) and contributory infringement under § 271(c) !;

1 The Federal Circuit further stated that “[a]s the patent grant has expanded over the years, so
too has the coverage of § 1498(a),” suggesting that any statutory changes to the patent grant
under 35 U.S.C. § 154(a)(1) will have a corresponding effect on the scope of § 1498(a). Zoltek V,
672 F.3d at 1323. As such, the Federal Circuit has recognized that § 1498(a) extends to actions
“recognized as being defined by § 271(a)” Jd. at 1327, as well as the importation of an infringing
product or product made by an infringing process under § 271(g) []. Walking back Decca, the
Zoltek V court hinted at the possibility that § 1498(a) may extend to acts “recognized as being”
defined as induced infringement under § 271(b) and contributory infringement under § 271(c), as
well as infringement under § 271(f), which defines an act of infringement to be exportation of
product components that, when combined abroad, would infringe a patent if the product were to
be combined in the United States. Zoltek V, 672 F.3d at 1327

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e Claim Charts demonstrating the Government’s iTAK is designed for the Apple brand of
iPhone smartphones;

e Claim Charts demonstrating the Government’s ATAK is designed for the Android brand
of smartphones that include such brands as Google, Samsung, LG, and Qualcomm;

e Claim Charts demonstrating the Government’s WinTAK is designed for the windows

brand of laptops, tablets, and PCs, that include such brands as Intel and Hewlett Packard

The current case on appeal Larry Golden v. Google LLC; COFC Case No. 23-811C can
be summarily affirmed if this Appellate Court concludes that no benefit will be gained from
further briefing and argument of the issues presented.” Zaxpayers, 819 F.2d at 297-98. In
discussion, the Circuit acknowledges Golden have plead “‘enough fact[s] to raise a reasonable
expectation that discovery will reveal’ that the defendant is liable for the misconduct alleged.”

The Circuit’s opinion, “under the pleading standards set forth in Bell Atlantic Corp. v.
Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009) is precedential.

According to Rule 32.1 Citing Judicial Dispositions, the non-precedential opinion issued
in Larry Golden v. Google LLC; Case No. 22-1267 cannot be prohibited or restricted from the
designation of “precedential”, in this current case.

(a) CITATION PERMITTED. A court may not prohibit or restrict the citation of federal
judicial opinions, orders, judgments, or other written dispositions that have been:

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(i) designated as “unpublished,” “not for publication,” “non-precedential,” “not
precedent,” or the like; and
(ii) issued on or after January 1, 2007.
Rule 32.1 is a new rule addressing the citation of judicial opinions, orders, judgments, or
other written dispositions that have been designated by a federal court as “unpublished,” “not

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for publication,” “non-precedential,” “not precedent,” or the like.

Rule 32.1 addresses only the citation of federal judicial dispositions that have been
designated as “unpublished” or “non-precedential”—whether or not those dispositions have
been published in some way or are precedential in some sense.

Subdivision (a). Every court of appeals has allowed unpublished [non-precedential]
opinions to be cited in some circumstances, such as to support a contention of issue

preclusion or claim preclusion.
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Rule 32.1(a) is intended to replace these inconsistent standards with one uniform rule.
Under Rule 32.1(a), a court of appeals may not prohibit a party from citing an unpublished
[non-precedential] opinion of a federal court for its persuasive value or for any other reason.

Rule 32.1(a) applies only to unpublished [non-precedential] opinions issued on or after
January 1, 2007. The citation of unpublished [non-precedential] opinions issued before
January 1, 2007, will continue to be governed by the local rules of the circuits.

The instant motion for summary affirmance satisfies the high standard governing award
of such relief. “A party seeking summary disposition bears the heavy burden of establishing that
the merits of his case are so clear that expedited action ts justified.” Taxpayers Watchdog, Inc. v.
Stanley, 819 F.2d 294, 297-98 (D.C. Cir. 1987).

This motion is ripe for summary affirmance because not only has Judge Bruggink
violated the provisions governing requirements for sufficiency under the pleading standards set
forth in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Igbal, 556 U.S.
662 (2009) and the “precedential” opinion [Rule 32.1 Citing Judicial Dispositions] issued in
Larry Golden v. Google LLC; Case No. 22-1267; she also failed to honor the legal interpretations
of doctrines on how cases are adjudicated in fairness to the movant. The doctrines are:

1. the doctrine of “vertical stare decisis”;
2. the doctrine of “res judicata”; and,

3. Kessler Doctrine

Vertical Stare Decisis

Judge Bruggink is in violation of the doctrine of vertical stare decisis for not honoring
the decision of the higher Appellate Court in Larry Golden v. Google LLC; Case No. 22-1267.

The Court of Federal Claims, who is bound by and must follow the decisions of the U.S.
Court of Appeals for the Federal Circuit [vertical stare decisis] fail to abide by the Circuit’s
decision in Larry Golden v. Google LLC Case No. 22-1267, that Google’s “smartphone” that
include the ATAK software and CBRN plugin sensors literally and/or under the doctrine of
equivalents infringes Petitioner’s “independent claims from U.S. Patent Nos. 10,163,287,
9,589,439, and 9,069,189 ... and it does so in a relatively straightforward manner”. The Claims
Court was bound by the doctrine of vertical stare decisis, to uphold the CAFC’s decision.
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Vertical stare decisis binds Senior Judge Bruggink to follow strictly the decisions of
higher courts within the same jurisdiction (e.g., the United States Court of Federal Claims must
follow the decisions of the U.S. Court of Appeals for the Federal Circuit). The Supreme Court
defines vertical stare decisis as the doctrine, “a lower court must strictly follow the decision(s)
handed down by a higher court within the same jurisdiction”.

Senior Judge Bruggink engages in vertical stare decisis when he applies precedent from a
higher court. For example, if the Court of Federal Claims in Golden v. U.S. adhered to a previous
ruling from the United States Court of Appeals for the Federal Circuit, in Larry Golden v.

Google LLC; Case No. 22-1267, that would be vertical stare decisis

Doctrine of Res Judicata

The doctrine of res judicata seeks “(1) to promote judicial economy by minimizing
repetitive litigation; (2) to prevent inconsistent judgments which undermine the integrity of the
judicial system; and (3) to provide repose by preventing a person from being harassed by
vexatious litigation.” See State v. Ellis, 466, 497 A.2d at 990

Judge Bruggink’s theories of “issue preclusion” does not apply and is inapplicable to
valid claims submitted with valid patents under § 1498(a). Golden has the right to bring an action
against the United States in the United States Court of Federal Claims for the recovery of his
reasonable and entire compensation “whenever”, or at any time the Government appropriates or
uses Golden’s patented invention(s).

Judge Bruggink’s theories of jurisdiction and the boundaries the Senior Judge applies to
“whenever” under § 1498(a), if allowed to stand, rewrites patent infringement under 28 U.S.C. §
1498(a). Senior Judge Bruggink’s theories create a “loophole” for the Government to infringe
Golden’s patents without paying just compensation:

Whenever another branch of Government [DoD DTRA] uses or manufactures the
presumed valid patent(s) of Golden, according to Judge Bruggink’ Golden is barred from
bringing an action against the United States in the United States Court of Federal Claims;

because the Government is alleged to be infringing the same patents asserted in a previous case.

Kessler Doctrine
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In May 2020, the Supreme Court decided the case of Lucky Brand Dungarees, Inc. v.
Marcel Fashions Grp., Inc., 140 8. Ct. 1589 (2020) and expressly refused to extend preclusion
doctrines beyond their traditional bounds set by the doctrines of issue and claim preclusion.

The Supreme Court has repeatedly held that, absent guidance from Congress, courts
should not create special procedural rules for patent cases or devise novel preclusion doctrines
that stray beyond the traditional bounds of claim and issue preclusion. Nonetheless, over the past
several years, the Federal Circuit has created and then repeatedly expanded a special, patent~
specific preclusion doctrine that it attributes to the Supreme Court’s 114-year-old decision
in Kessler v. Eldred, 206 U.S. 285 (1907) case the Court has not cited for almost 70 years.

Senior Judge Bruggink now routinely applies his so-called “Kessler doctrine” to reject
suits like this current one that would survive under ordinary preclusion principles.

Absent guidance from Congress, Senior Judge Bruggink has devised a way to stray
beyond the traditional bounds of claim and issue preclusion, to create a new freestanding
preclusion doctrine [the Kessler Doctrine] when claim and issue preclusion do not.

This current case on appeal Golden v. US case no. 23-811C contains factual allegations
far beyond those contained in the previous related case Golden v. US case no 13-307C and

cannot, therefore be precluded under the doctrine of Res Judicata or the Kessler doctrine.

THE ISSUES, THAT ARE THE PROVISIONS FOR PROVING GOVERNMENT
INFRINGEMENT UNDER 28 U.S.C. 1498(a) WAS NEVER ADJUDICATED IN THE
PREVIOUS CASE GOLDEN y. USA 13-307C
The Government [DHS] is responsible issuing in 2007, the first solicitation for the
development and assembly of Golden’s communicating, monitoring, detecting, and controlling
(CMDC) device; or what the market identifies as the first “smartphone”. DHS S&T BAA07-10
Cell-All Ubiquitous Biological and Chemical Sensing
The government contractors in the 2007 DHS S&T BAA07-10 “Cell-All Ubiquitous
Biological and Chemical Sensing” initiative that include Rhevision, NASA, Seacoast Science,
Synkera Technologies, Qualcomm, Apple, Samsung, and LG enjoy broad immunity from
traditional patent infringement liability under § 1498. In this related case, the same Judge
Bruggink of the Court of Federal Claims in Golden v. US, case no, 13-307C dismissed Golden’s
case because Golden fail to prove Apple’s direct infringement under 35 U.S.C. § 271(a) as a
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necessary predicate to proving direct infringement under 28 U.S.C. § 1498(a) [government
infringement]. Zoltek IIF, abrogated in Zoltek V. (2012) Proving direct infringement under §
271(a) as a necessary predicate to proving direct infringement under § 1498(a) is revoked.

In the preceding case Golden v. US case no. 13-307C, it was the intent of the Department
of Homeland Security in the 2007 DHS S&T BAA07-10 “Cell-All Ubiquitous Biological and

Chemical Sensing” initiative to develop, manufacture, and assemble products suitable for

CBRNE cell phone use. The products needed to manufacture a new, improved upon, and useful

cell phone detection device is described below:

e Department of Homeland Security: For the program’s initial phase in 2007, DHS

released a call for proposals inviting the private sector to develop a proof of concept for
the “Cell-All Ubiquitous Biological and Chemical Sensing” project in 2007 (DHS S&T
BAAO7-10). The ideological underpinning for the Ced/-Ali project is one of public—
private partnerships, by which industry profits from privileged government contracts.
Once mobile phone manufacturers routinely include chemical and other sensors in their
devices, users can be compelled or coerced to communicate environmental data as such
sharing becomes normalized in technical protocol. Cefl-Ail began in 2010 with the goal
of creating dozens of competing viable devices and refining the network capabilities of
the system. At this stage, DHS also sought to standardize the data reporting protocols so
that data from different devices could be received and processed by a centralized network
operations center. HSARPA accelerates this process through direct commercial
partnerships. DHS believe that technology transfer directly to the commercial [sector] is
an efficient way to go. In order for the Cel/-Ail public safety sensing and alerting system
to be complete, four links must be forged and joined together: the sensor and computing
hardware, the sensing application for mobile phones, a centralized server and network
operations center, and the end consumer, whether individuals, emergency operations
centers, first responders, government agencies, or private companies. The eventual goal
of the project is to embed multiple nanoscale sensors (for environmental chemicals,
industrial toxins, radiation, and bioagents) directly into mobile phones. During the
development of second-generation prototypes, chemical sensors were separated from the
phones, allowing for initial market deployment of the sensors through third-party

products, such as sleeves, that could be added to existing phones. This use of accessory

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products is intended to speed up the technology’s commercial availability so that people
can begin using the Ce//-Al! applications with their current phones []. Crowdsourcing
urban surveillance: The development of homeland security markets for environmental
sensor networks. SciVerse ScienceDirect. Geoforum 49 (2013) 279-288. journal
homepage: www.elsevier.com/locate/geoforum.

Rhevision: A cell phone’s camera used to monitor color changes to the camera lens:
lenses spot a color related to poison, will trigger an alert system on the cell phone.
Rhevision, invented the miniature tunable camera lens, which makes the

lenses. Homeland Security wants to turn your cell phone into a smell phone.
https://www.csmonitor.com/Science/2010/0520/Homeland-Security-wants-to-turn-your-
cell-phone-into-a-smel! phone#:~:text=The%20U.S.%20Department%200f%20
Homeland%20Security%20%28DHS%29%20is, phones%20and%20alert?20users%20to
%20potentially%20deadiy%20smells

NASA: The platform, developed using NASA nanotechnology, paved the way for
interchangeable smartphone sensors. Li convinced the program manager at DHS that the
sensor should be a module attached to the outside of the phone. The modular design
paved the way for future smartphone chemical sensors; the line of interchangeable,
smartphone-savvy sensors Yu would commercialize. The design for the microprocessor,
memory, communication protocol, back-end Web structure, data storage, and cloud
technology he developed for NASA and DHS. Wireless Platform Integrates Sensors with
Smartphones. https://www.techbriefs.com/component/content/article/26213-wireless-
platform -integrates-sensors-with-smartphones

Seacoast Science: “I wanted to meet with the founders of Seacoast Science since I
learned in late October that the Carlsbad, CA, startup is part of a government-sponsored
initiative to embed tiny chemical sensors in cell phones”, says Bruce Bigelow. Seacoast’s
technology is impressive: tiny microchips—about the size of the typeface on a postage
stamp—each containing multiple individual sensors, or “chemical capacitors.” In its
development of chemical sensors for cell phones, Seacoast Science has been working
with Qualcomm, the wireless technology giant based in San Diego. Bigelow, B. (2010,
Feb.4). The San Diego Union-Tribune: Seacoast Science Avoids VCs, Finds Other Money
to Develop Tiny Chemical Sensors.

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e Synkera Technologies: The widespread use of cell phones could be harnessed with an
ability to detect chemical threats and immediately notify authorities. Synkera proposes to
develop a unique nanostructured ceramic sensor array for threat detection. This miniature
detection system is well suited for integration with cellular and other wireless devices and
will enable them to become part of a larger distributed alert network that improves
situational awareness for mission personnel. Miniature and Reliable Chemical Sensors
for Cell Phones. https://www.sbir.gov/node/1302955

e Qualcomm: HSARPA already is working with NASA, Qualcomm and Rhevision
Technology to create the new sensors. Each organization takes different scientific
approaches to the problem. According to the Department of Homeland Security (DHS),
Qualcomm engineers specialize in the necessary miniaturization and have the knowledge
required to move a product to the marketplace. https://www.afcea.org/signal-
media/technology/sensor-every-pocket. HSARPA conducted a national search for ideas
that was intended to leverage existing technological expertise in the public and private
sectors, which led to the creation of six workable first-generation prototypes, including a
“form factor phone” developed by Qualcomm: as a Qualcomm representative argued:
“Let’s take advantage of the 300 million cell phones that are out there today. They’re
always with us” (Hoffman, 2011) Crowdsourcing urban surveillance: The development
of homeland security markets for environmental sensor networks. SciVerse Science
Direct. Geoforum 49 (2013). journal homepage: www.elsevier.com/locate/ geoforum.

© Qualcomm: Qualcomm’s role has been to develop a smartphone app and the associated
network software for processing data. When the application is installed, it will ask the
user for permission to share sensor readings and location information over the network;
then, whenever abnormal chemical levels are detected, the phone will send those data to a
network gateway. According to Doug Hoffman, program manager at Qualcomm, the
gateway will authenticate the sensor and phone to determine whether they are authorized
to be on the network, scrub personal information from the data, assign a temporary
identification number to the phone, and then send data to the network operations center
(NOC). Crowdsourcing urban surveillance: The development of homeland security
markets for environmental sensor networks. SciVerse ScienceDirect. Geoforum 49 (2013)

279-288. journal homepage: www.elsevier.com/locate/geoforum.

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Qualcomm, Apple, Samsung, and LG: S&T pursued what’s known as cooperative
research and development agreements with four cell phone manufacturers: Qualcomm,
LG, Apple, and Samsung. These written agreements, which bring together a private
company and a government agency for a specific project, often accelerate the
commercialization of technology developed for government purposes. Bill Gates once
envisioned a computer on every desk in every home, so Stephen Dennis envisions a
chemical sensor in every cell phone in every pocket, purse, or belt holster. Ce//-All: Super
Smartphones Sniff Out Suspicious Substances. https://www.dhs.gov/science-and-
technology/cel!-all-super-smartphones-sniff-out-suspicious-substances. LG, Apple,
Google, and Samsung were never contracted to manufacture a cell phone detection
device. They were only contracted to “commercialization of technology developed for
government purposes”. Because the Governments target market was 261 million
consumers who are already using cell phones; the new, improved upon, and useful cell
phone detection device had to include certain safety features to be considered “suitable
for use”, LG, Apple, Google, Qualcomm, and Samsung designed and commercialized the
new, improved upon, and useful cell phone detection devices to include technology
covered under Golden’s patents of at least that of: biometric fingerprint and/or facial
authentication; lock disabling mechanism that locks the phones after multiple failed
attempts to open; radio frequency near-field communication in lieu of radio frequency
identification (RFID) because the RFID can be used to detonate bombs; and, advanced
GPS for tracking and locating suspected terrorist and/or vehicles.

Google: “Smartphone users can download the app from Google Play and, eventually,
from Apple’s iTunes store, so Cell-All will be operational on all phones using either
Google’s Android or Apple’s iPhone operating systems.” Crowdsourcing urban
surveillance: The development of homeland security markets for environmental sensor
networks. SciVerse ScienceDirect. Geoforum 49 (2013) 279-288. journal homepage:
www.elsevier.com/ locate/geoforum. The Android Team Awareness Kit, ATAK (built on
the Android operating system) ... a single interface for ... different CBRN-sensing
technologies... a wearable smartwatch that measures ..., heart rate) or a device mounted

on a drone to detect chemical warfare agents. It is a digital application available to

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warfighters throughout the DoD. ATAK— on an end-user device such as a smartphone or
a tablet. With DTRA’s contribution, ATAK now includes ... (CBRN) plug-ins.

Qualcomm’s “Expressed” Authorization Under the DHS S&T Cell-All Initiative was Never
Adjudicated in Golden v. US 13-307C

The government’s authorization of or consent to a contractor’s infringing activity may be
express or implied. TVI Energy Corp. v. Blane, 806 F.2d 1057, 1060 (Fed. Cir. 1986); Hughes
Aircraft Co. v. United States, 534 F.2d 889, 901 (Ct. Cl. 1976). Federal Acquisition Regulation
(FAR) 52.227-1 contains an express grant of “authorization and consent” for contractors and
subcontractors for the use and manufacture of any patented invention (1) embodied in the
structure or composition of any article delivered to and accepted by the government related to a
government contract; or (2) used in machinery, tools, or methods necessary for a contractor to
comply with the specifications of a contract, or if such use is directed by a contracting officer’s
specific written instructions. 48 C.F.R. § 52.227-1; see also Sevenson Envitl. Servs., Inc. v. Shaw
Envil., Inc., 477 F.3d 1361, 1367 ed. Cir. 2007); TDM Am., LLC v. United States, 83 Fed. Cl.
780, 784-86 (2008).

Golden, the Plaintiff in Golden v. US case no 13-307C, and the Department of Justice
(DOJ), representing the “Government” in the case, REPEATEDLY, OVER and OVER, TIME and
TIME again, informed Judge Bruggink that Qualcomm was the prime contractor and the only
contractor tasked with the responsibility of integrating the CBRNE sensors or detectors with a
mobile device; with authorization to infringe Golden’s patent claims for a CMDC device; a CPU;
and Multi-Sensor Detection device,

The DOJ informed Judge Bruggink that Apple never entered into a cooperative
agreement, and that Apple’s implied authorization was to designed and manufacture the safety
features for the new, improved upon, and useful cell phone detection devices before offering the
devices to the public. The safety features covered under Golden’s patents and manufactured by
Apple include: biometric fingerprint and/or facial authentication; lock disabling mechanism that
locks phones after multiple failed attempts to open; radio frequency near-field communication in
lieu of radio frequency identification (RFID) because the RFID can be used to detonate bombs;

and, advanced GPS for tracking and locating suspected terrorist and/or vehicles.

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Exhibit 3. Dkt. 161 [Case No. 13-307C]: “The United States (“the Government”) moves
to issue notice pursuant to Rule 14(b)” ... “The chart below also includes third parties with
potential interest in the allegedly infringing projects and/or systems” ... “Cell-All Synkera
MikroKera Ultra [Qualcomm]” ... “understood by the Government (based on its investigation to
date) to have been, involved in the development, manufacture and/or sale of the accused
systems” ... “As a result, these companies may have an interest in appearing” ... Attorney
Nicholas J. Kim (DOJ)

Exhibit 4. Dkt. 165 [Case No. 13-307C]: “The Government’s Motion for Notice did not
seek notice to be sent to Apple, Samsung or LG at this time, because the patent infringement
allegations involving these three entities were understood to have been dismissed. See Dkts. 130,
151. Moreover, based on the Government’s investigation to date, the [] (“DHS”) never entered
into Cooperative Research and Development Agreements (CRADAs) with Qualcomm, Apple,
Samsung, and LG regarding the CELL-ALL project” .... Attorney Nicholas J. Kim (DOJ)

Exhibit 5. Dkt. 169 [Case No. 13-307C]: “To: Qualcomm Inc. c/o The Prentice Hall
Corporation System, Inc. — Pursuant to Rule 14 of the Rules of the United States Court of
Federal Claims, you are hereby notified of the [] case in which you may have an interest in the
subject matter” ... “you may file a complaint or answer herein in accordance with Rule 14” ...
Lisa L. Reyes, Clerk

Exhibit 6. Dkt. 176 [Case No. 13-307C]: “Pursuant to Rule 14(b) and the Court’s April
16, 2019 order (Dkt. 166), the United States (“the Government”) files with the Clerk its return of
service on Qualcomm Inc., indicating completion of the required service of the Clerk’s RCFC 14
Notice (see Dkt. 169).” Attorney Nicholas J. Kim (DOJ)

Exhibit 7. Dkt. 222 [Case No. 13-307C]: “Specifically, plaintiff alleges that his
“communicating, monitoring, detecting, and controlling (““CMDC”) device is commercialized in
the form of an improved cell phone, smartphone, smartwatch, laptop, or tablet ... the
specifications and capabilities of the CMDC devices that were developed for, manufactured and
commercialized by third-party government contractors, Apple, Samsung, and LG, are
significantly the same as the Plaintiff’s CMDC devices.” Judge Bruggink

Exhibit 8. Dkt. 223 [Case No. 13-307C]: “The Government explains its position in an e-
mail correspondence with the Plaintiff, stating: “Further, given your statements below, it does

not appear that further e-mail correspondence on these issues will be productive at this

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point. Having said that, I would like to correct some of the statements in your e-mail below for
the record. To be clear, there were no “new and improved cell phones” developed or
manufactured as part of the Department of Homeland Security’s “CELL-ALL” project. Nor did
the Government “impliedly enter into a contract” with any of Apple, Samsung, or LG as part of
the CELL-ALL project. As explained in our Answers filed in this case, the CELL-ALL project
culminated in a September 28, 2011 demonstration in Los Angeles, at which two separate
prototype units were exhibited—one developed by NASA, and another developed by
Qualcomm. Those two prototype units were the only devices developed as part of the CELL-
ALL project, which concluded nearly a decade ago. The Government has moved for notice to be
issued to Apple, Samsung, and LG not because they were contractors on the CELL-ALL project
(they were not)” ... (“the Government”) ... “Security features for Apple, Samsung, LG, and
Qualcomm’s new and improved mobile devices” ...

“The U.S. Government Accountability Office: According to the most recent OMB
estimate, the federal government spends about $1.2 billion annually on about 1.5 million mobile
devices and associated services. View GAOQ-15-431. For more information, contact Carol R. Cha
at (202) 512-4456 or chac@gao.gov.

Golden repeatedly informed Judge Bruggink that to have Golden prove Apple’s direct
infringement under 35 U.S.C. § 271(a) was outside his and the U.S. Court of Federal Claims
jurisdiction; and to have Golden prove direct infringement under § 271(a) as a necessary
predicate to proving direct infringement under 28 U.S.C. § 1498(a), was abrogated in Zoltek V.

Further, adjudicated the DHS “authorization and/or consent” to give the prime contractor
Qualcomm the right to infringe Golden’s patent; and adjudicating the “use and/or manufacture”
of a cell phone detection device developed by the prime contractor Qualcomm, for the
government, that allegedly infringes Golden’s patents are the two primary issues of the DHS
S&T Cell-All initiative that was never adjudicated in Golden v. US 13-307C.

Therefore, Golden’s current case on appeal Golden v. US 23-811C cannot lawfully be
dismissed on issues that has NO basis in law.

This current case on appeal Golden v. US case no. 23-811C contains factual allegations
far beyond those contained in the previous related case Golden v. US case no 13-307C and

cannot, therefore be precluded under the doctrine of Res Judicata or the Kessler doctrine.

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The Defense Threat Reduction Agency (DTRA)’s “Expressed” Authorization Under the
DoD DTRA ATAK Initiative; and Google’s “Implied” Authorization Under the DoD DTRA
ATAK Initiative was Never Adjudicated in Golden v. US 23-811C

The government’s authorization of or consent to a contractor’s infringing activity may be
express or implied. TVI Energy Corp. v. Blane, 806 F.2d 1057, 1060 (Fed. Cir. 1986); Hughes
Aircraft Co. v. United States, 534 F.2d 889, 901 (Ct. Cl. 1976). To succeed on an implied
authorization theory there must be some explicit government action, such as a contracting
officer’s instruction, or evidence extrinsic to the contract language showing the government’s
intention to assume liability. Va. Panel, 133 F.3d at 870; Larson, 26 Cl. Ct. at 370.

In Larson v. United States, the Claims Court recognized that implied authorization “may
be found under the following conditions: (1) the government expressly contracted for work to
meet certain specifications; (2) the specifications cannot be met without infringing on a patent;
and (3) the government had some knowledge of the infringement.” Larson, 26 Cl. Ct. at 370
(citing Bereslavsky v. Esso Standard Oil Co., 175 F.2d 148, 150 (4th Cir. 1949); Carrier Corp. v.
United States, 534 F.2d 244, 247-50 (Ct. Cl. 1976); Hughes, 534 F.2d at 897-901).

Courts have often found a contractor, through the government’s implied authorization, to
be immune from suit from the time it offers to supply or begin to manufacture products for the
government. See, e.g., Robishaw, 891 F. Supp. at 1141 (citing Trojan, Inc. v. Shat-R-Shield, Inc.,
885 F.2d 854, 856-57 (Fed. Cir. 1989); W.L. Gore & Assocs., Inc. v. Garlock, Inc., 842 F.2d
1275, 1282-83 (Fed. Cir. 1988); TVI Energy, 806 F.2d at 1059-60; Stelma, Inc. v. Bridge Elecs.
Co., 287 F.2d 163, 164 (3d Cir. 1961)).

In the current case on appeal Golden v. US case no. 23-811C, it is the intent of the
Department of Defense in the Department of Defense (DoD) Defense Threat Reduction Agency
(DTRA) “Team Awareness Kif’ (TAK) initiative to incorporate into certain cell phones,
smartphones, laptops, tablets, and PCs the “Android Team Awareness Kit” (ATAK) that include
plug-ins for CBRNE sensing.

The DTRA has an “expressed” authorization to develop the ATAK on the Google android
open-source operating platform. Google has an “implied” authorization to create the source
codes that will allow the ATAK to be built; and, an “implied” authorization to create the source

codes that will allow the ANDROID phones of at least Google, Samsung, LG, and Qualcomm,

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etc. smartphones to operate and function as mobile sensing devices. The Google android open-

source operating platform has various end-user versions:

>

ATAK - Civilian (ATAK-CIV) - A distribution controlled but fully-releasable version of
the TAK Product line for First Responders, Licensed Commercial Developers.
Distribution for ATAK-CIV is through Approved, Government Hosted Sites, Direct
Commercial Sales (DCS).

ATAK - Government (ATAK-GOV) - ITAR restricted version of the TAK. Product line
for USG entities and Foreign Government. Distribution for ATAK-GOV are through
Approved, Government Hosted Sites; Direct Commercial Sales (DCS). This version of
ATAK has no military (MIL) sensitive capabilities.

ATAK - Military (ATAK-MIL) - Military Sensitive version of the TAK Product line for
US and Foreign Military end-users. Similar to ATAK-GOV, distribution is through
Approved, Government Hosted Sites. However, is not available through Direct
Commercial Sales (DCS).

Key Features of a Google Android Operating System

>

User Interface (UI): Touch inputs of Graphical User Interface (GUD provided by mobile
OS are optimized. Users can use touch gestures, swiping, tapping, and pinching.
Multitasking: It helps in running of many apps at the same time but what is more we can
quickly switch between them without any hindrance. Such offloading is for applications
that are not currently used actively.

Connectivity: It provides a variety of connections such as cellular, Wi-Fi, Bluetooth, NFC
(Near Field Communication) and others to facilitate the communication of the device
with other devices and networks.

Application Management: Is a platform that has its own app marketplace or store which
the users utilize to browse, install, run and updates the applications exclusively for that
platform.

Resource Management: Efficiently allocates hardware resources like the CPU, ram, and
battery by achieving a balance between performance and battery life.

Cross platform and Ecosystem Integration: Devices work together better these days.
Apple and Google want their phones, tablets, watches, and smart home stuff to feel like
one big happy family.

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To aid in these operations, the Defense Threat Reduction Agency (DTRA) created three ATAK
plugins:
> CBRN Effects: Adds real-time hazard prediction and vehicle navigation for CBRN events
to ATAK, enabling users to visualize the dispersal and spread of chemical and biological
warfare agents following a release, and route vehicles around the impacted areas.
> CBRNISA: Seamlessly integrates information and control of multiple sensors into a
single dashboard, to detect CBRN threats and monitor warfighter’s vitals.
> Filter Times: Provides real-time guidance for the warfighter regarding the amount of
time they need to wear masks and other protective equipment. Also provides guidance on
when they should take shelter, seek help, stay near the ground, or move away from an

area to avoid contamination.

Chemical, biological, radiological and nuclear threats have the potential to impact massive areas
and spread over time. Being able to predict these events and navigate personnel around them is
incredibly important to the military.
> Draper Laboratories Inc., designed a chemical, biological, radiological and nuclear
(CBRN) Plugin to enable users to integrate CBRN sensors into TAK, collect CBRN
senscr data, display it on a map and livestream it across the TAK network to other users.
CBRN plugins for ATAK, WinTAK and WebTAK are operational in the field.
> Draper supports non-military operations at the local, state, and federal levels by
developing plugins for CivIAK (Android Team Awareness Kit for Civilians). One such
plugin is the wide area search plugin (WASP) Draper released on CivTAK that uses
Federal Emergency Management Agency icons and graphics as a common language to

support emergency rescue operations after a disaster, such as a hurricane or tornado.

Therefore, Golden’s current case on appeal Golden v. US 23-811C cannot lawfully be
dismissed because the following issues were never raised or considered in the previous related
patent Golden v. US 13-307C:

“The DTRA has an “expressed” authorization to develop the ATAK on the Google

android open-source operating platform. Google has an “implied” authorization to create

the source codes that will allow the ATAK to be built; and, an “implied” authorization to
create the source codes that will allow the ANDROID phones of at least Google,

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Samsung, LG, and Qualcomm, etc. to operate and function as mobile sensing devices.

The Google android open-source operating platform has various end-user versions.”

This current case on appeal Golden v. US case no. 23-811C contains factual allegations
far beyond those contained in the previous related case Golden v. US case no 13-307C and

cannot, therefore be precluded under the doctrine of Res Judicata or the Kess/er doctrine.

The Defense Threat Reduction Agency (DTRA)’s “Expressed” Authorization Under the
DoD DTRA ATAK Initiative; and Google’s “Implied” Authorization Under the DoD DTRA
ATAK Initiative was Never Adjudicated in Golden v. US 13-307C

This current case on appeal Golden v, US case no. 23-811C contains factual allegations
never considered pertaining to the relationship between Qualcomm and Google, and the
necessary components each provided to the manufacture of the cell phone sensing device.

This current case on appeal Golden v, US case no. 23-811C contains factual allegations of
the government’s use of Qualcomm’s CPUs and Qualcomm’s wireless cellular modems. This
current case also includes factual allegations of the government’s use of Google’s Android Open-
Source Operating System Platform.

In the previous related case Golden v. US case no. 13-307C, Qualcomm performed work
under an “expressed” authorization for the government as the primary contractor, and Google
performed work under an “implied” authorization for the government as a subcontractor.

In this current case on appeal Golden v. US case no. 23-811C Google performed work
under an “expressed” authorization for the government as a third-party contractor, and
Qualcomm performed work under an “implied” authorization for the government as a
subcontractor.

Therefore, in this current case on appeal Golden y. US case no. 23-811C contains factual
allegations far beyond those contained in the previous related case Golden v. US case no 13-
307C and cannot, therefore be precluded under the doctrine of Res Judicata or the Kessler
doctrine.

History: In 2008, Qualcomm was one of eight White-owned companies awarded
contracts by the Dept. of Homeland Security (DHS) in the DHS S&T Cell-All BAAO07-10
initiative, as the prime contractor responsible for developing three of Golden’s, patented

inventions [a new, improved upon, and useful cell phone; CBRNE sensors; and smartphone

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CPUs]. As long as Qualcomm was performing work for the Government under the Ce/l-All
BAAO7-10 initiative, Qualcomm was shielded by the DHS [Government] from infringement
liability.

Under the “Performers” page of Exhibit 9 is the statement “State-of-the-art miniaturized
detection system integrated into [Google] Android cell phones. Under the “Phase II Protypes”
page of Exhibit 9 are the statements “[d]Jecouple the chemical sensor from the phone”,
“(multiple sensor units per phone are possible”, [s]ensor data transmission via 3g and/or Wi-Fi”,
and “Bluetooth/Proprietary interfaces”. Golden demonstrated five allegedly direct infringement
scenarios in the amended complaint that the Google Pixel smartphone is capable of sensing
hazardous materials, which directly aligns with the requirements of the Ce//-All initiative.

Google is responsible for enabling the cell phones to sense both; with sensors embedded
internal the cell phone and sensors or detection systems external or remote the cell phone. “The
major milestone in the development of the Android system occurred on November Sth, 2007. On
this day, Google unveiled the Open Handset Alliance (OHA), a consortium of technology
manufacturers that would work together to create open mobile device standards. At the outset, 34

companies were involved in the consortium.” https://ipwatchdog.com/2014/11/26/a-brief-

history-of-googles-android-operating-system/id=52285/

“Android, the flagship software of the alliance, is based on an open-source license” ...
“As part of its efforts to promote a unified [Google] Android platform, OHA members are
contractually forbidden from producing devices that are based on competing forks of Android.”

https://www.cnet.com/tech/mobile/alibaba-google-just-plain-wrong-about-our-os/

Exhibit 10 is a published document by Qualcomm that is developed in partnership with
the U.S. Department of Homeland Security Science & Technology Directorate. Under the “Who
are the necessary stakeholders?” page of Exhibit 10, Google [android] is listed as the first of
many in the upper left side of the page. Under the ““What’s left to do?” page of Exhibit 10, is the
statement “Enhance security for commercial use”. Golden’s patented CMDC device (i.e.,
smartphone) include the enhanced security for commercial use with its 1-biometric fingerprint
and/or facial authentication; 2- a lock disabling mechanism that locks the phones after multiple
failed attempts to unlock the phone; 3- GPS tracking and location; and, 4- near-field

communication (NFC) in lieu of the radio-frequency identification (RFID) DHS demonstrated

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can be used to detonate a bomb. Google has copied and/or duplicated Golden’s enhanced
security measures for his patented CMDC device (i.e., smartphone).

Exhibit 1] is a published unclassified document by Qualcomm Government Technologies
for the Ce//-All initiative. Under the “More details—Cost” page of Exhibit 1] is the statement
“Must use a standard operating system”, and under the “More details—Manufacturing
Consideration” page of Exhibit 11 is the statement “Software — must be release controlled &
compatible with the [an] existing operating system”.

“Qualcomm’s role has been to develop a smartphone app and the associated network
software for processing data. Smartphone users can download the app from Google Play and,
eventually, from Apple’s iTunes store, so Cell-All will be operational on all phones using either
Google’s Android or Apple’s iPhone operating systems.” Retrieved from: Crowdsourcing urban
surveillance: The development of homeland security markets for environmental sensor networks.

https://www.sciencedirect.com/science/article/abs/pii/S0016718513000341

After Google was found potentially liable for directly infringing Golden’s patented
CMDC device (i.e., smartphone), in Larry Golden v. Google LLC; Case No. 22-1267, Google
discontinued its partnership with Qualcomm for Qualcomm’s chipset/CPU and replaced it with
the Google Tensor chipset/CPU for the Google Pixel 6 smartphone series and beyond.

The Google Tensor chipset/CPU for the Google Pixel 6 smartphone series and beyond
performs “performs substantially the same function in substantially the same way to obtain the
same result” [Doctrine of Equivalents], as Qualcomm’s chipset/CPU and Golden’s patented CPU
invention for his patented CMDC device (i.e., smartphone).

Therefore, in this current case on appeal Golden v. US case no. 23-811C contains factual
allegations far beyond those contained in the previous related case Golden v. US case no 13-

307C and cannot, be precluded under the doctrine of Res Judicata or the Kessler doctrine.

The Federal Circuit Determined the Factual Allegations of Infringement Made Against
Google and Qualcomm Filed in the U.S. District Court for the District of South Carolina;
Case No. 6:21-cv-00244-JD Date Filed 01/26/21 Dkt. 1 is NOT Frivolous

Qualcomm’s wireless cellular modems and Google’s android open-source operating
systems are both pertinent to the “manufactured for or by the government” requirements for the

Cell-All initiative and to have a sensing device manufactured as “suitable for use”.

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The Federal Circuit in Golden v. Google LLC Case No. 22-1267 determined: “In the
Google case, the district court again concluded that Mr. Golden’s complaint was frivolous” ...
“Here, however, Mr. Golden’s complaint includes a detailed claim chart mapping features of an
accused product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
10,163,287, 9,589,439, and 9,069,189” ... “The key column describing the infringing nature of
the accused products is not the same as the complaint held frivolous in the 2019 case” ... “We
conclude that the district court’s decision in the Google case is not correct” ... “On remand, the
district court should allow the complaint to be filed and request service of process” ...

In the complaint Golden fully disclosed factual allegations of the cooperative agreements
between Qualcomm and Google in Golden v. Google Case No. 6:21-cv-00244-JD Filed 01/26/21
Dkt. 1. Exhibit. 13 Golden reiterated and defined the conditions of the agreements and how the
third-party contractors combined their respective components to allegedly infringe Golden’s
patents with the manufacture of a sensing device that is “suitable for use”.

In FTC. v. Qualcomm, 411 F. Supp. 3d 658 (N.D. Cal. 2019), District Judge Lucy H.
Koh concluded Qualcomm is being unjustly enriched from its anticompetitive practices of
collecting a “running royalty of 5% on the price of each smartphone sold”:

“Qualcomm stopped licensing rival modem chip suppliers and instead started licensing

only OEMs (i.e., Samsung, LG, Apple, Google, etc.) at a 5% running royalty on the price

of each handset sold. These licenses are called Subscriber Unit License Agreements

(“SULA”)”

“Specifically, Qualcomm charges a 5% running royalty on handset sales for a license to
Qualcomm’s CDMA patent portfolio. Qualcomm’s 5% royalty rate on the price of each
phone sold is a species of unfair competition. The Federal Trade Commission Act bans

“unfair methods of competition” and “unfair or deceptive acts or practices.”

In the same year [2019] Judge Bruggink voluntarily dropped the prime contractor from
the case of Golden v. US no. 13-307C, Judge Lucy H. Koh concluded Qualcomm is being
“unjustly enriched” from its anticompetitive practices of collecting a 5% running royalty on the
price of each “smartphone” sold [FTC - “unfair methods of competition” and “unfair or
deceptive acts or practices”] from the OEMs Samsung, Google, etc. Qualcomm monopolized the

market on illegally collecting royalties on Golden’s patented smartphone invention, thereby

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restraining Golden from collecting royalties from the OEMs Samsung, Google, etc. for the
making, using, offering for sell, and selling of Golden’s patented smartphone invention [35
U.S.C. § 271(a)], because Judge Bruggink failed to compel Qualcomm’s appearance to defend
their interest in Golden v. US case no. 13-307C.

“Over the last two decades, Qualcomm has had deals in place with most of the leading
cell phone makers, including [Google], LG, Sony, Samsung, Huawei, Motorola, Lenovo, ZTE,
and Nokia. These deals gave Qualcomm enormous leverage over these companies—leverage that
allowed Qualcomm to extract patent royalty rates that were far higher than those earned by other

companies with similar patent portfolios.” https://arstechnica.com/tech-policy/2019/05/how-

qualcomm-shook-down-the-cell-phone-industry-for-almost-20-years/

Therefore, in this current case on appeal Golden v. US case no. 23-811C contains factual
allegations far beyond those contained in the previous related case Golden v. US case no 13-
307C and cannot, be precluded under the doctrine of Res Judicata or the Kessler doctrine.

Google has always been at the helm for controlling the integration of hardware and
software with its Google Android Open-Source Operating System platform since the very
beginning of the creation of the first smartphone in 2007.

“Android is an open-source operating system for mobile devices and a corresponding
open-source project led by Google. The [] Android Open-Source Project (AOSP) repository offer
the information and source code needed to create custom variants of the Android OS, port
devices and accessories to the Android platform, and ensure devices meet the compatibility
requirements that keep the Android ecosystem a healthy and stable environment for millions of

users.” https://source.android.com/

It’s been more than a decade since Google introduced Android, the [] open-source
operating system for mobile devices. Android market share has soared to a commanding 76%
compared to 22% for Apple’s iOS. In 2017, Android passed Microsoft Windows and became the
most widely used operating system in the world. Google manages to rake in billions of dollars’
worth of revenue from Android every single year. That figure has been rising ever since the
operating system’s debut in 2008. There are 3.3 billion Android OS users globally as of 2024.
Android commands a 71.74% share of the global mobile operating systems market as of 2024.

The Government expressly and impliedly authorized and consented to the manufacture

for or by the Government, the Google Android Open-Source Operating System and the Google

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smartphone devices that allegedly infringes Golden’s patented inventions under the DHS S&T
Cell-All initiative [case no. 13-307C], and under the DoD DTRA ATAK initiative [case no. 23-
811C] that were never adjudicated.

Therefore, in this current case on appeal Golden v. US case no. 23-811C contains factual
allegations far beyond those contained in the previous related case Golden v. US case no 13-

307C and cannot, be precluded under the doctrine of Res Judicata or the Kessler doctrine.

NINE FEDERAL JUDGES WHO HAVE REVIEWED GOLDEN’S PATENTED
COMBINATIONS ALL AGREE THE GOVERNMENT
IS THE “SINGLE ENTITY’ FOR DIRECT INFRINGEMENT
UNDER 28 U.S.C, § 1498(a).

Under 28 USC § 1498, the patentee’s “exclusive remedy for an alleged infringement by
or for the Government, which means the Government is the ‘single entity’ for the purpose of
direct infringement, is a suit against the United States in the Court of Federal Claims.”

The statue serves two purposes: (i) it waives sovereign immunity to permit a patent
owner to recover damages for direct infringement “by or for the United States” as the single
entity, and (ii) it protects contractors [such as Qualcomm Ine., Draper Laboratories Inc., and
Google, LLC] from liability for patent infringement committed on behalf of the United States.

The courts emphasized that the remedy provided in § 1498 is the “exclusive remedy”
available when the U.S. government, as the single entity, directly infringes a patent. A recent
trend of Federal Circuit decisions, including JRIS Corp. v. Japan Airlines Corp., 769 F.3d 1359
(Fed. Cir. 2014) and Zoltek Corp. v. United States, 672 F.3d 1309 (Fed. Cir. 2012), holding that §
1498 affords government contractors a wide scope of protection against infringement liability.

In the words of the Federal Circuit, there is “no justification” for “expos[ing] a significant
range of government contractors to direct liability (and possible injunctive remedies), namely,
those [that may be] accused of indirect infringement of claims [that are] directly infringed by the
government.”

On September 17, 2015, the Federal Circuit affirmed the dismissal under 28 U.S.C. §
1498(a) of a patentee’s claims for indirect patent infringement against government contractors
where the only alleged directed infringement was the Government’s purported use of the
patented invention. Astornet Technologies Inc. v. BAE Systems, Inc., No. 14-1854 (Fed. Cir. Sept.

17, 2015). The decision is another in a line of recent Federal Circuit decisions reaffirming that

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government contractors enjoy broad immunity from traditional patent infringement liability
under § 1498.

Therefore, nine judges, six from the Federal Circuit and three from the Northern District
of California, acknowledged the “U.S. Government”, the single entity under 28 USC § 1498 for
direct infringement, is more likely than not, the direct infringer because the element-by-element
requirement is only satisfied under 28 USC § 1498 when Golden’s entire patented invention

combination is made and is “suitable for use”.

The United States Court of Appeals for the Federal Circuit Judges in Case No. 22-1267;
determined Direct Infringement by or the Government arises when there’s a combined
ATAK Software; CBRN Plugins; and, a Smartphone

The Federal Circuit in Larry Golden v. Google LLC; Case No. 22-1267 examined and
determined Golden has described how the Google “smartphone”, that include the ATAK
software and CBRN plugin sensors literally infringes at least claim 5 of Golden’s ‘287 Patent;
claim 23 of Golden’s ‘439 Patent; and claim 1 of Golden’s ‘189 Patent. See the chart below:

Literal Infringement Literal Infringement
(Precedence) - (Fed. Cir. Golden vy. Google)

Literal infringement means that each and

wae . “Mr. Golden’s complaint includes a
every element recited in a claim has

tags . detailed claim chart mapping features of an
identical correspondence in the allegedly accused product, the [] Smartphone, to
infringing device or process. To literally independent claims from U.S. Patent Nos.
infringe a patent, the accused system, | 19 163 287, 9,589,439, and 9,069,189 ... It
method, etc. must include each limitation [claim chart] attempts 0 to map claim

of a claim. E.g., Southwall (Fed. Cir. limitations to infringing product features
05/10/95) To establish literal infringement, ditd Bing P lative! ,
every limitation set forth in a claim must __ Ane Tt Coes SO In a reanve’y
be found in an accused product, straightforward manner “ {Wie conclude
exactly. Becton Dickinson (Fed. Cir. that the district court's decision in the
12/13/90). “Infringement, both literal and Google case is not correct with respect to
: at least the three claims mapped out in the

under the doctrine of equivalents, is an :
issue of fact.”); Cobalt Boats (Fed. Cir. claim chart. Mr. Golden has made efforts
to identify exactly how the accused

05/31/19) “patent infringement is an issue eee : :
: . products meet the limitations of his claims
of fact, tried by a jury” [U.S. CONST. in this chart...”

amend. VII]

The Federal Circuit in Golden v. Google LLC Case No. 22-1267 disclosed in
“Discussion” that the Circuit reviewed the case “under the pleading standards set forth in Bell

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Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), [a
court must dismiss a complaint if it fails to allege “enough facts to state a claim to relief that is
plausible on its face].” Twombly, 550 U.S. at 570; and, “plaintiff must allege facts that give rise
to “more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678
(citation omitted)

The Federal Circuit in Golden v. Google LLC Case No. 22-1267 took notice that “in the
patent context, th[e] court has explained that a plaintiff need not “plead facts establishing that
each element of an asserted claim is met,” Jn re Bill of Lading Transmission and Processing Sys.
Pat. Litig., 681 F.3d 1323, 1335 (Fed. Cir. 2012) (citing McZeal v. Sprint Nextel Corp., 501 F.3d
1354, 1357 (Fed. Cir. 2007)), but must plead “enough fact[s] to raise a reasonable expectation
that discovery will reveal’ that the defendant is liable for the misconduct alleged.” Jd. at 1341
(alteration in original) (quoting Twombly, 550 U.S. at 556)”.

The Federal Circuit in Golden v. Google LLC Case No. 22-1267 goes on to say: “In the
Google case, the district court again concluded that Mr. Golden’s complaint was frivolous. Here,
however, Mr. Golden’s complaint includes a detailed claim chart mapping features of an accused
product, the Google [Pixel 5] Smartphone, to independent claims from U.S. Patent Nos.
10,163,287, 9,589,439, and 9,069,189” ... “to the extent that the chart includes the “exact same
language” as previously rejected charts, it is simply the language of the independent claims being
mapped to” ... “[i]t attempts—whether successfully or not—to map claim limitations to
infringing product features, and it does so in a relatively straightforward manner. We conclude
that the district court’s decision in the Google case is not correct with respect to at least the three
claims mapped out in the claim chart. Mr. Golden has made efforts to identify exactly how the
accused products meet the limitations of his claims in this chart.”

Although the Federal Circuit did not specifically say “without a doubt, Google’s
smartphone products that include the ATAK software and CBRN plugin sensors are literally
and/or under the doctrine of equivalents, infringing Golden’s patents asserted in the case”, the
Federal Circuit imply to say under the “clear and convincing evidence” standard, Google’s
smartphone products that include the ATAK software and CBRN plugin sensors are more likely

than not is directly infringing Golden’s patents asserted in the case.

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The Northern District of California Court Judge Haywood §, Gilliam, Jr. in Case No. 22-
5246; determined Direct Infringement by or for the Government arises when there’s a
combined ATAK Software; CBRN Plugins; and, a Smartphone

In Larry Golden v. Google, LLC NDC Case 3:22-cv-05246-RFL “Order Granting Motion
to Dismiss with Leave to Amend” Document 41 Filed 08/10/23; the then presiding Judge
Haywood S. Gilliam, Jr. agreed with the Defendant [Google] that the Google Pixel devices could
only infringe Golden’s asserted patents if a user were to add the additional ATAK application and
CBRN plugins.

“Google argues that “Mr. Golden alleges that some Google Pixel devices could infringe
his asserted patents if a user were to add an additional application, ATAK ... Google contends
that “Mr. Golden thus alleges not that Google sells infringing Pixel devices, but that someone
else could modify Google’s Pixel devices, by adding non-Google software, to make them
allegedly infringing.” Jd. (emphasis in original). Google argues that these allegations are not
sufficient to support an infringement claim. ld. The Court agrees.”

“Even under the “less stringent standards” afforded pro se plaintiffs, Erickson, 551 U.S.
at 94 (quotation omitted), Plaintiff’s claims, as pled, only allege that Google’s devices infringe
the patents in issue if the end user downloads a particular application. Plaintiff includes a claim
chart purporting to describe the components of the Google Pixel 5 (which Plaintiff asserts is
“representative of all the alleged infringing products of Google asserted in this complaint”) that
allegedly map onto the elements of an independent claim for each of the asserted patents. See
Compl. 7 53. As the below excerpt of Plaintiff’s chart indicates, however, at least two elements
of each independent claim included in the chart are allegedly satisfied only when the phone has
the Android Team Awareness Kit (ATAK) downloaded.”

Golden is the first admit, the ATAK software is not necessarily the problem. The mere
existence of the ATAK software does not infringe Golden’s patents. But once a third-party
embodies the ATAK software with Golden’s patented CPUs to carry out operational and
functional instructions; embodies the ATAK software with Golden’s patented smartphone to
enable the hardware and software to communicate with each other; and embodies the ATAK
software to make Golden’s patented CBRNE devices detect; then we do have a serious problem.

“Even affording Plaintiff the benefit of the doubt, his own claim chart makes it clear that
Defendant’s products purportedly infringe because of the characteristics of the ATAK

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application. But Plaintiff’s complaint alleges that ATAK is not made by Google, and he does not
allege that ATAK comes pre-loaded on Google phones:” Judge Haywood S. Gilliam, Jr.

“Through collaboration and innovation, the Defense Threat Reduction Agency has
integrated its powerful, hazard-awareness-and-response tools into the Android Tactical
Assault Kit (or the Android Team Awareness Kit, ATAK). ATAK is a digital application
available to warfighters throughout the DoD. Built on the Android operating system,

ATAK offers warfighters geospatial mapping for situational awareness during combat —

on an end-user device such as a smartphone or a tablet. With DTRA’s contribution,

ATAK now includes chemical, biological, radiological, and nuclear (CBRN) plug-ins.

See Compl. § 18 at 13 (emphasis in original).”

In FastShip, LLC v. United States, the US Court of Appeals for the Federal Circuit held
that to be manufactured under 28 U.S.C. Section 1498, an accused product must include each
claim limitation so it is “suitable for use”.

On June 5, 2018, in FastShip, LLC v. United States, the US Court of Appeals for the
Federal Circuit affirmed ... a US Court of Federal Claims decision and interpreted the term
“manufactured” as used in 28 U.S.C. Section 1498, which waives the US government’s
sovereign immunity and provides a remedy whenever a patented invention is used or
manufactured by or for the government without a license from the patent owner, to require the
accused product to include each asserted claim limitation so it is suitable for use ( (Fed. Cir. June
5, 2018)).

In a matter of first impression, the Federal Circuit interpreted the term “manufactured”
in Section 1498:

e According to its ordinary, contemporary, common meaning, ruling that the plain meaning
of “manufactured” encompasses products made or worked into a form that is suitable for
use.

e Inthe context of the overall statutory scheme, concluding that interpreting
“manufactured” so the product must be suitable for use aligns with the Federal Circuit’s
prior interpretation of “use” in Section 1498 requiring each claim limitation to be present
in the thing invented.

As aresult, the Federal Circuit concluded that a product is manufactured within the
meaning of the statute when it is made to include each limitation of the thing invented and is

therefore “suitable for use”.

The Northern District of California Court Judge Rita F. Lin in Case No. 22-5246;
determined Direct Infringement by or for the Government arises when there’s a combined
ATAK Software; CBRN Plugins; and, a Smartphone

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Case: 24-2256 Document:7 Page:29 Filed: 09/04/2024

In Larry Golden v. Google, LLC NDC Case 3:22-cv-05246-RFL “Order Granting Motion
to Dismiss and Denying leave to File a Surreply” Document 68 Filed 04/03/24; the current
presiding Judge Rita F. Lin agreed with the Defendant [Google] that the Google Pixel devices
could only infringe Golden’s asserted patents if a user were to add the additional ATAK
application and CBRN plugins.

“As for the merits, the Court previously dismissed Golden’s original complaint because it
failed to allege either direct or indirect infringement of U.S. Patent Nos. 10,163,287 (°287
Patent”), 9,589,439 (“439 Patent”), and 9,096,189 (“189 Patent”) by Google. (See Dkt. No.
41.) The complaint’s allegations made clear that whether Google’s smartphones (Google Pixel 3,
3 XL, 3a, 3a XL, 4a, 4a (5G), and 5) allegedly infringed on the patents-in-suit depended on the
end user’s download of the Android Team Awareness Kit (““ATAK™”), which is a third-party
application not made by Google. (Id. at 5—6.) As the complaint did not allege that the Google
smartphones themselves infringed on the patents, Golden failed to allege direct infringement.”

“ATAK application. Golden’s first claim of direct infringement (see FAC, Ex. G (“Ex.
G”) at 2-9) fails for the same reason as the original complaint: it requires the use of ATAK, a
third-party application that the user must install on the accused product, for at least two elements
of each asserted claim. (See id, at 6.) See Nazomi Commce’ns, Inc. v. Nokia Corp., 739 F.3d 1339,
1346 (Fed. Cir. 2014) (finding that the defendants’ products “do not infringe without
modification—the modification of installing the required software”).”

Both the Northern District of California Court Judges Haywood S. Gilliam Jr. and Rita F.
Lin determined the combined ATAK software, smartphone, and CBRN [] sensors, describes a
method, [] or apparatus that is covered in Golden’s patents. The Judges described how the DoD
[] consented to the DTRA, Draper, and Google infringing Golden’s patented combination.

28 U.S.C. § 1498(a): “Whenever an invention described in and covered by a patent of the
United States is used or manufactured by or for the United States without license of the owner
thereof or lawful right to use or manufacture the same, the owner’s remedy shall be by action
against the United States in the United States Court of Federal Claims for the recovery of his
reasonable and entire compensation for such use and manufacture ... For the purposes of this
section, the use or manufacture of an invention described in and covered by a patent of the

United States by a contractor, a subcontractor, or any person, firm, or corporation for the

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Case: 24-2256 Document:7 Page:30 _ Filed: 09/04/2024

Government and with the authorization or consent of the Government, shall be construed as use
or manufacture for the United States.”

Both the Northern District of California Court Judges have communicated the case is
outside their jurisdiction and as described, is in the jurisdiction of the United States Court of
Federal Claims. “As § 1498(a) infringement actions are grounded in eminent domain and not
defined by statute, the scope of what constitutes the unlawful taking of a license to use a patent is
a creature of case law. As such, the basis for the USCFC’s jurisdiction over infringement actions
must be linked to the government’s taking of a patent license through its “use or manufacture” of
the patented invention “without license of the owner thereof or lawful right.” Decca Ltd. v.
United States, 640 F.2d 1156, 1166-67 (Ct. Cl. 1980)

The United States Court of Appeals for the Federal Circuit Judges in Case No. 23-2120;
agreed with the Northern District of California Court Judge in Golden v. Samsung that
Direct Infringement by or for the Government arises when there’s a combined ATAK
Software; CBRN Plugins; and, a Smartphone

In Golden v. Samsung Electronics America, Inc. Case: 23-2120, Document 28; OPINION
filed by Prost, Circuit Judge; Taranto, Circuit Judge and Chen, Circuit Judge. Filed: 02/12/2024.

“Mr. Golden’s complaint alleged, in part, that Samsung’s smartphones possess that
claimed detector/sensor functionality on three alternative bases: (1) through the “Android Team
Awareness Kit, ATAK,” which is “[bJuilt on the Android operating system,” involves “plug-ins”
and “app specific software,” was “[ijnitially created” by the “Air Force Research Laboratory”
together with the “Defense Threat Reduction Agency,” and is “available to warfighters
throughout the DoD,” Appx112 4 55; Appx119, 127; (2) through add-on devices or modifications
that utilize the smartphone’s built-in camera, Appx111 ¢ 54, Appx124—25; and (3) through nine
“standard sensors” which “can be used as “biosensors,” Appx126.”

“Samsung moved to dismiss Mr. Golden’s complaint, arguing that, among other things,
Mr. Golden’s complaint failed to plausibly state a patent-infringement claim. Appx146—48. More
specifically, Samsung argued that Mr. Golden’s complaint stated no alleged facts that went
beyond allegations that Samsung was making and selling smartphones that could be modified
post-sale by others to perform the accused detector/sensor functionality. On that basis, Samsung
said, there are no plausible allegations Samsung was engaged in directly infringing activities.
Appx 146-47.”

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“The district court agreed and dismissed Mr. Golden’s complaint with prejudice,
concluding, in part, that “[t]he allegations that his patents cover the identified functionalities
included in Samsung’s products are wholly unsupported and implausible on their face.” Golden,
2023 WL 3919466, at *2.” “We reject Mr. Golden’s appeal arguments and therefore affirm the

district court’s dismissal of his complaint.”

SUMMARY AFFIRMANCE

This Motion for Summary Affirmance that is filed prior to completion of briefing include
a showing that the Claims Court dismissal on the issues i.e., Res Judicata and the Kessler
doctrine, are in fact so manifestly unsubstantial that disposition by motion is appropriate.

The instant motion for summary affirmance satisfies the high standard governing [the]
award of such relief. “A party seeking summary disposition bears the heavy burden of
establishing that the merits of his case are so clear that expedited action is justified.” Taxpayers
Watchdog, Inc. v. Stanley, 819 F.2d 294, 297-98 (D.C. Cir. 1987).

Sincerely,

on tiller

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 28" day of August, 2024, a true
and correct copy of the foregoing “Motion of Plaintiff-Appellant (Golden) for

Summary Affirmance”, was served upon the following Defendant by priority mail:

Grant D. Johnson
Trial Attorney
Commercial Litigation Branch
Civil Division
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Washington, DC 20530
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Hay taba

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Exhibit
Case: 24-2266 Document: 75 Fagge32 Filed: 09/08/2022

2 GOLDEN v. APPLE INC.

Vv.

GOOGLE LLC,
Defendant

2022-1267

Appeal from the United States District Court for the
District of South Carolina in No. 6:21-cv-00244-JD, Judge
Joseph Dawson, III.

Decided: September 8, 2022

LARRY GOLDEN, Greenville, SC, pro se.

Before DYK, TARANTO, and STOLL, Circuit Judges.
PER CURIAM

Larry Golden appeals two orders of the United States
District Court for the District of South Carolina (“district
court”) dismissing his patent infringement claims against
various defendants. We affirm the dismissal in Case
No. 22-1229 but vacate the dismissal in Case No. 22-1267
and remand for further proceedings consistent with this
opinion.

BACKGROUND

Mr. Golden owns a family of patents concerning a sys-
tem for locking, unlocking, or disabling a lock upon the
Case: 24-2266 Decument:75 Paages8 Filed: 68/04/2024

GOLDEN v. APPLE INC. 3

detection of chemical, radiological, and biological hazards. 1
In 2019, he sued sixteen defendants in the district court,
alleging patent infringement by their development and
manufacturing of certain devices. The district court dis-
missed the suit without prejudice, and this court affirmed
the dismissal “on the ground of frivolousness” because Mr.
Golden’s complaint “offer[ed] only vague generalities and
block quotes of statutes, cases and treatises, but nowhere
point[ed] us to any nonfrivolous allegations of infringement
of any claim by any actual product made, used, or sold by
any defendant.” Golden v. Apple Inc., 819 F. App’x 930, 931
(Fed. Cir. 2020).

On January 5, 2021, in Case No. 22-1229, Mr. Golden
again sued the same sixteen defendants from the 2019 case
for patent infringement (“the Apple case”). He initially
filed the same over-300-page complaint held to be frivolous
in the 2019 case. After the magistrate judge imposed a 35
page limit on the complaint, Mr. Golden filed a shortened
complaint complying with the restriction. On January 26,
2021, in Case No. 22-1267, Mr. Golden separately sued
Google LLC for patent infrmgement (“the Google case”).
The magistrate judge reviewed the complaints in both
cases and recommended summary dismissal with prejudice
without issuance of service of process or leave to amend
and monetary sanctions for the filing of frivolous litigation.

In both cases, the district court adopted the magistrate
judge’s recommendations in part. In the Apple case, the
district court dismissed the complaint as frivolous without
the issuance of service of process but declined to dismiss
with prejudice. Additionally, the district court lifted the
page restriction for an amended complaint. In the Google
case, the district court dismissed the complaint with

1 The patents at issue in these cases are U.S. Patent
Nos. 7,385,497; 9,096,189; 9,589,439; 10,163,287 and Reis-
sue Patent Nos. RE43,891 and RE43,990.
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prejudice and without the issuance of service of process.
Mr. Golden appeals the district court decisions in both
eases. We have jurisdiction under 28 U.S.C. § 1295(a)(1).
On appeal, Mr. Golden has filed briefs, while the defend-

ants have not filed responsive briefs.
DISCUSSION

Under the pleading standards set forth in Bell Atlantic
Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Ig-
bal, 556 U.S. 662 (2009), a court must dismiss a complaint
if it fails to allege “enough facts to state a claim to relief
that is plausible on its face.” Twombly, 550 U.S. at 570.
This standard “requires more than labels and conclusions,
and a formulaic recitation of the elements of a cause of ac-
tion will not do.” Jd. at 555 (citation omitted). A plaintiff
must allege facts that give rise to “more than a sheer pos-
sibility that a defendant has acted unlawfully.” Jqbai, 556
U.S. at 678 (citation omitted). In the patent context, this
court has explained that a plaintiff need not “plead facts
establishing that each element of an asserted claim is met,”
In re Bill of Lading Transmission and Processing Sys. Pat.
Litig., 681 F.3d 1823, 1335 (Fed. Cir. 2012) (citing McZeal
v. Sprint Nextel Corp., 501 F.8d 1354, 1857 (Fed. Cir.
2007)), but must plead “enough fact[s] to raise a reasona-
ble expectation that discovery will reveal’ that the defend-
ant is liable for the misconduct alleged.” Jd. at 1841
(alteration in original) (quoting Twombly, 550 U.S. at 556).
We review the district court’s dismissal of the complaint de
novo. Anand v. Ocwen Loan Servicing, LLC, 754 F.8d 1965,
198 (4th Cir. 2014).

In the Apple case, the district court dismissed the dock-
eted complaint as frivolous after finding that Mr. Golden
“failed to include factual allegations beyond the identities
of the Defendants, reference to the alleged infringing de-
vices, and the alleged infringed-upon patents.” Dist. Ct.
Op. at 4-5. We agree with the district court: the docketed
complaint is nothing more than a lst of patent claims and
Case: 22-1265 Deoument75 PRagesd Filled: OMMRAVZZ

GOLDEN v. APPLE INC. 5

accused products manufactured by each defendant for each
asserted patent. Mr. Golden contends that his original
complaint contained sufficient factual allegations to sup-
port his claims. However, he concedes that the rejected
original complaint was identical to the one that this court
deemed frivolous in the 2019 case. His effort to relitigate
the sufficiency of the original complaint is precluded under
the doctrine of res judicata. See Arizona v. California, 530
U.S. 392, 412 (2000) (“[I]f a court is on notice that it has
previously decided the issue presented, the court may dis-
miss the action sua sponte, even though [a preclusion] de-
fense has not been raised.”). Mr. Golden does not argue
that the docketed complaint contains factual allegations
beyond those contained in his original complaint or that
the allegations in the docketed complaint do anything be-
yond listing the alleged infringed-upon patent claims and
the alleged infringing devices. This is plainly insufficient.
We see no error in the district court’s without prejudice dis-
missal of the Apple case.

In the Google case, the district court again concluded
that Mr. Golden’s complaint was frivolous. Here, however,
Mr. Golden’s complaint includes a detailed claim chart
mapping features of an accused product, the Google Pixel 5
Smartphone, to independent claims from U.S. Patent Nos.
10,163,287, 9,589,439, and 9,069,189. The district court
discounted this claim chart because it “contains the exact
same language as the claim charts previously rejected by
the Federal Circuit [in the 2019 case], although Google
Pixel 5 Smartphone appears in the far left column instead
of Apple.” Dist. Ct. Op. at 4. But to the extent that the
chart includes the “exact same language” as previously re-
jected charts, it is simply the language of the independent
claims being mapped to. The key column describing the
infringing nature of the accused products is not the same
as the complaint held frivolous in the 2019 case. It at-
tempts—whether successfully or not—to map claim
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limitations to infringing product features, and it does so in
a relatively straightforward manner.

We conclude that the district court’s decision in the
Google case is not correct with respect to at least the three
claims mapped out in the claim chart. Mr. Golden has
made efforts to identify exactly how the accused products
meet the limitations of his claims in this chart. On remand,
the district court should allow the complaint to be filed and
request service of process. Our decision does not preclude
subsequent motions to dismiss by the defendant for failure
to state a claim or for summary judgment. We express no
opinion as to the adequacy of the complaint or claim chart
except that it is not facially frivolous.

CONCLUSION

For the foregoing reasons, we affirm the district court’s
dismissal in Case No. 22-1229, vacate the dismissal in
Case No. 22-1267, and remand for further proceedings con-
sistent with this opinion.

CASE NO. 22-1229 AFFIRMED
CASE NO. 22-1267 VACATED AND REMANDED
Costs

No costs.
Case: 24-2256 Document:7 Page:39 Filed: 09/04/2024

Exhibit
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UNITED STATES COURT OF FEDERAL CLAIMS
IN
LARRY GOLDEN v. THE UNITED STATES

CASE NUMBER: 1:23-cv-00811-EGB

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Consolidated Claim Charts

[Pg.02] Exhibit A: Duplicate of Claim Chart submitted in Golden v. Google LLC
[Pg.12] Exhibit B: DoD DTRA ATAK Multi-Sensor Detection System—CBRN
[Pg.17] Exhibit C: Google, Apple, Samsung, LG, & Qualcomm Comparison
[Pg.31] Exhibit D: Google Pixel 5 and Apple iPhone 12 Comparison

[Pg.43] Exhibit E: Google Pixel 5 and Samsung Galaxy 821 Comparison

[Pg.52] Exhibit F: Google Pixel 5 and LG V60 ThinQ 5G Comparison

[Pg.61] Exhibit G: Google Pixel 5 and Asus-Qualcomm Comparison

[Pg.70] Exhibit H: Samsung Galaxy Book2 Pro 360 PC / Tablet

[Pg.77] Exhibit I: Hewlett Packard (HP) ZBook Fury G8 Mobile Workstation PC
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Exhibit A
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DUPLICATE OF THE CLAIM CHART SUBMITTED IN
GOLDEN v. GOOGLE, LLC

The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-1267
— “VACATED AND REMANDED” the relevant Case No: 22-1267 Document 15; back to the
‘District Court “to be filed and request service of process”,

The Federal Circuit determined the complaint, “includes a detailed claim chart mapping
features of an accused product, the Google Pixel 5 Smartphone, to independent claims from U.S.
Patent Nos. 10,163,287, 9,589,439, and 9,069,189” ... “in a relatively straightforward manner”
... and that the [Circuit] “express no opinion as to the adequacy of the complaint or claim chart

except that it is not facially fnvolous.”

Three-Judge Panel: “DISCUSSION. ‘Under the pleading standards set forth in Bell
Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662
(2009), a court must dismiss a complaint if it fails to allege “enough facts to state a claim
to relief that is plausible on its face.” Twombly, 550 U.S. at 570 ... [T]his standard
“requires more than labels and conclusions, and a formulaic recitation of the elements of
a cause of action will not do.” /d. at 555 (citation omitted). A plaintiff must allege facts
that give rise to “more than a sheer possibility that a defendant has acted unlawfully.”
Igbal, 556 U.S. at 678 (citation omitted) ... this court has explained that a plaintiff ...
must plead “‘enough fact[s] to raise a reasonable expectation that discovery will reveal’

that the defendant is liable for the misconduct alleged.”

“Mr, Golden’s complaint includes a detailed claim chart mapping features of an accused
product, the Google Pixel 5 Smartphone, to independent claims from U.S, Patent Nos.
10,163,287, 9,589,439, and 9,069,189 ... It [claim chart] attempts [] to map claim
limitations to infringing product features, and it does so in a relatively straightforward
manner ...[W]e conclude that the district court’s decision in the Google case is not
correct with respect to at least the three claims mapped out in the claim chart. Mr. Golden
has made efforts to identify exactly how the accused products meet the limitations of his

claims in this chart....”
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CLAIM CHART FOR GOOGLE PRODUCTS

The following Claim Chart is an illustration of literal infringement. At least one of the
alleged infringing products of Google (i.e., Google Pixel smartphones 4a, 4a(5G), 5, 6, 6a, 7, &
7a) are representative of all the alleged infringing products of Google asserted in this complaint.
At least one of the alleged infringing products of Google (Google Pixel 5) is illustrated to show

how the Google Pixel 5 allegedly infringes on at least one of the asserted independent claims of

each of the patents-in-suit (‘287, ‘439, and ‘189 patents).

A monitoring device,
comprising:

A cell phone comprising:

A communication device
of at least one of a cell
phone, a smart phone, a
desktop, a handheld, a
PDA, a laptop, ora
computer terminal for
monitoring products,
interconnected to a
product for
communication
therebetween,
comprising:

CPU: Octa-core (1 * 2.4
GHz Kryo 475 Prime & 1
x 2.2 GHz Kryo 475
Gold & 6 x 1.8 GHz

on-a-chip: Qualcomm
Snapdragon 765G

Kryo 475 Silver) System-

at least one central
processing unit (CPU);

a central processing unit
(CPU) for executing and
carrying out the
instructions of a
computer program,

at least one of a central
processing unit (CPU) for
executing and carrying
out the instructions of a
computer program, a
network processor which
is specifically targeted at
the networking
application domain, or a
front-end processor for
communication between
a host computer and other
devices;

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Ambient Temperature
sensor supported by the
Android platform. at least one temperature
Measures the ambient sensor in communication
room temperature in with the at least one CPU x x
degrees Celsius (°C). for monitoring
Monitoring air temperature;
temperatures. Monitoring
air temperatures.
Gravity sensor supported
by the Android platform.
Measures the force of | at least one motion sensor
gravity in m/s2 that is in communication with x x
applied to a device on all the at least one CPU;
three physical axes (x, y,
z). Motion detection
(shake, tilt, etc.).
Light sensor supported by
the Android platform.
Measures the ambient at least one viewing
light level (illumination) | screen for monitoring in x x

in lx. Controlling screen
brightness. Screen: 6-inch
flexible OLED display at
432 ppi

communication with the
at least one CPU;

Connectivity: Wi-

Fi 5 (a/b/g/n/ac) 2.4 + 5,0
GHz, Bluetooth 5.0 + LE,
NFC, GPS (GLONASS,
Galileo, BeiDou), eSIM
capable

at least one global
positioning system (GPS)
connection in
communication with the
at least one CPU;

at least one of a satellite
connection, Bluetooth
connection, WiFi
connection, internet
connection, radio
frequency (RF)
connection, cellular
connection, broadband
connection, long range
radio frequency (RF)
connection, short range
radio frequency (RF)
connection, or GPS
connection;

at least one satellite
connection, Bluetooth
connection, WiFi
connection, internet
connection, radio
frequency (RF)
connection, cellular
connection, broadband
connection, long and
short-range radio
frequency (RF)
connection, or GPS
connection;

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wherein at least one of...

wherein the only type or

app; you can lock or
unlock your door from
your phone.

wo ages WiFi connection, internet types of eae ae
. Connectivity: Wi- at least one of an internet connection, radio with the transnutter an
Fi 5 (a/b/g/n/ac) 2.4 + 5.0 : Wi-Fi fe the receiver of the
GHz, Bluetooth 5.0 + LE, connection ora Wi-Fi equency ee communication device
NEC, GPS (GLONASS, connection in connection, cellar and transceivers of the
Galileo, BeiDou), eSIM communication with the connection... capable of products is a type or
, , at least one CPU; signal communication
capable , . . types selected from the
with the transmitter or the :
receiver: proup.,. of satellite,
; Bluetooth, WiFi...
at least one ofa...
Connectivity: Wi- at least one ofa Bluetooth connection,
Fi 5 (a/b/g/n/ac) 2.44+5.0 | Bluetooth connection,a | WiFi connection, internet
GHz, Bluetooth 5.0+ LE, | cellular connection, or a connection... cellular x
NFC, GPS (GLONASS, satellite connection in connection... short range
Galileo, BeiDou), eSIM | communication with the radio frequency (RF)
capable at least one CPU; connection, or GPS
connection;
Google's Android
operating system features
a lock mechanism to
secure your phone, at least one locking
known as pattern lock. To mechanism in h the cell ph
set, drag your finger communication with the | “/t°upon lie ‘ed P the.
along lines on the screen. at least one CPU for is elena dete t ©
To unlock the phone, locking the device to receive signals
replicate the pattern communication device, d sionals to 1 ek
drawn. If you fail to solve | the at least one locking oF lock door als fo tock OF
the pattern too many mechanism configured to mn oor, to activate x
times, the phone locks at least one of engage or t eactivale oun
and cannot be unlocked | (lock} the communication doactivate tat sensor
without logging into the device, disengage detecti t to
associated Google (unlock) the election systems, OF th
account. communication device, or activate or deactivate ©
disable (make cell phone detection
Google Nest x Yale Lock unavailable) the device;
is connected to the Nest communication device;

CaseCh2é-400&b1-EGRclinenmént Pagéilea OGFACRDoRagede of 85

Pixel phones use USB-C

at least one power source

with USB comprising at least one of
2.0 power adapters and a battery, electrical
cables. To charge your connection, or wireless x x
phone with a USB- connection, to provide
A power adapter, use a power to the
USB-C to USB-A cable. communication device;
wherein the
communication device is
equipped with a
wherein the cell phone is promettic Tock disavier
BIOMETRICS: equipped with a one 0 rs fingerprint
Biometric factors allow biometric lock disabler recognitio . eee
for secure authentication at least one biometric that incorporates at least recognition, face
on the Android platform. | sensor in communication one of a fingerprint recognition, hand
The Android framework with the at least once recognition, voice eometry, retina scan, iris
includes face and CPU for providing recognition, face oan an 4 si ature such
fingerprint biometric biometric authentication recognition, hand that the communication

authentication. Android
can be customized to

to access the
communication device;

geometry, retina scan, iris
scan, or signature such

device that is at least one

support other forms of that the cell phone is ee prone, ne
biometric authentication locked by the biometric the hen dhel, 4, the PD ae
(such as Iris). lock disabler to prevent the lavt th ;
unauthorized use; and plop ore
, compuier terminal is
locked by the biometric
lock disabler to prevent
unauthorized use
Android Team Awareness
Kit, ATAK (built on the
Android operating the communication

system) provides a single
interface for viewing and
controlling different
CBRN-sensing
technologies, whether
that is a wearable
smartwatch that measures
a warfighter’s vitals (e.g.,
heart rate) or a device
mounted on a drone to
detect chemical warfare
agents.

at least one sensor for
chemical, biological, or
human detection in
communication with the
at least one CPU;

the cell phone is at least a
fixed, portable or mobile
communication device
interconnected to the cell
phone detection device,
capable of wired or
wireless communication
therebetween; and

device is at least a fixed,
portable or mobile
communication device
interconnected to a fixed,
portable or mobile
product, capable of wired
or wireless
communication
therebetween...

CaseCH28:-A4005b1 -EGycDoeumént Pagéiled O6FAER9RayedP ot 85

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) is a digital
application available to
warfighters throughout
the DoD. ATAK offers
warfighters geospatial
mapping for situational
awareness during combat
— on an end-user device
such as a smartphone or a
tablet. With DTRA’s
contribution, ATAK now
includes chemical,
biological, radiological,
and nuclear (CBRN)
plug-ins.

one or more detectors in
communication with the
at least one CPU for
detecting at least one of
chemical, biological,
radiological, or explosive
agents;

at least one of a chemical
sensor, a biological
sensor, an explosive
sensor, a human sensor, a
contraband sensor, or a
radiological sensor
capable of being disposed
within, on, upon or
adjacent the cell phone;

wherein the
communication device
receives a signal via any
of one or more products
listed in any of the
plurality of product
grouping categories;

Connectivity: Wi-

at least one radio-

Fi 5 (a/b/g/n/ac) 2.4 + 5.0 frequency near-field
GHz, Bluetooth 5.0+ LE, | communication (NFC) x
NFC, GPS (GLONASS, connection in xX
Galileo, BeiDou), eSIM | communication with the
capable at least one CPU...
at least one of a a transmitter for
transmitter or a transmitting signals and
transceiver in messages to at least one
Google Nest x Yale Lock communication with the of plurality product
is connected to the Nest at least one CPU groups based on the
configured to send categories of a multi-

app; you can lock or
unlock your door from
your phone,

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) provides a single
interface for viewing and
controlling different
CBRN-sensing
technologies

signals to monitor at least
one of a door, a vehicle,
or a building, send
signals to lock or unlock
doors, send signals to
control components of a
vehicle, send signals to
control components of a
building, or... detect at
least one of a chemical
biological... agent such
that the communication
device is capable of
communicating,
monitoring, detecting,
and controlling.

a transmitter for
transmitting signals and
messages to a cell phone

detection device; a
receiver for receiving
signals from the cell
phone detection device;

sensor detection device, a
maritime cargo container,
a cell phone detection
device, or a locking
device;

a receiver for receiving
signals, data or messages
from at least one of
plurality product groups
based on the categories of
a multi-sensor detection
device, a maritime cargo
container, a cell phone
detection device, ora
locking device;

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Google Nest x Yale Lock
is connected to the Nest
app; you can Jock or
unlock your door from
your phone.

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) provides a single
interface for viewing and
controlling different
CBRN-sensing
technologies

whereupon the
communication device, is
interconnected to a
product equipped.to
receive signals from or
send signals to lock or
unlock doors, activate or
deactivate security
systems, activate or
deactivate multi-sensor
detection systems, or to
activate or deactivate cell
phone detection systems

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) is a digital
application available to
warfighters throughout
the DoD. ATAK offers
warfighters geospatial
mapping for situational
awareness during combat
— on an end-user device
such as a smartphone or a
tablet. With DTRA’s
contribution, ATAK now
includes chemical,
biological, radiological,
and nuclear (CBRN)
plug-ins.

a transmitter for
transmitting signals and
messages to a cell phone
detection device; a
receiver for receiving
signals from the cell
phone detection device;

wherein at least one
satellite connection,
Bluetooth connection,
WiFi connection, internet
connection, radio
frequency (RF)
connection, cellular
connection, broadband
connection... short range
radio frequency (RF)
connection is capable of
signal communication
with the transmitter and
the receiver of the
communication device
and transceivers of the
products;

Case Cas@r2430256-EGBodumentent 9Rageid9 06/Filéd3 09764/2024f 85

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) is a digital
application available to
warfighters throughout
the DoD. ATAK offers
warfighters geospatial
mapping for situational
awareness during combat
— on an end-user device
such as a smartphone or a
tablet. With DTRA’s
contribution, ATAK now
includes chemical,
biological, radiological,
and nuclear (CBRN)

whereupon a signal sent
to the receiver of the cell
phone detection device
from at least one of the
chemical sensor, the
biological sensor, the
explosive sensor, the
human sensor, the
contraband sensor, or the
radiological sensor,
causes a signal that
includes at least one of
location data or sensor
data to be sent to the cell
phone.

plug-ins.

DoD DTRA ATAK Smartphone Port for CBRN Plug-Ins

Accelerometer
GPs Ea7: 8: 15; Gyroscope
Ea2: 7:
Proximity _— ~~ fr _— sensor
Camera iol ee
EA 3: 9; 10; 17-20; 22: 23; aoa gab ieee |
teh Me Maem Fee Humidity sensor
Image sensor ca) Mme lat erst ass Q
Bag: 20: eral] ears
Touch cancer | ___-@ Temperature sensor
Eis: ?

ca Magnetometer
?

“Le Microphone

13; 14:
“Le Plug-ins
419-22:

Fingerprint sensor
. 2°

Ambient light sensor eo
16;

Bluetooth

Eas:

10

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Google Android and Apple iOS are “Native” to the OEMs (i.e., Google,

Samsung, LG, Qualcomm, and Apple) manufacture of the smartphones.

Blueforce Plugin Series: CBRNE and HAZMAT Response

The DuraForce Ultra 5G
(CBRN purpose-built plugins for smartphones)

ae =

CNBC OF

The ALTAIR 5X Gas Detector
(Google Android and Apple 10S)

The MSA Altair 4XR Multi-Gas Detector
(Google Android and Apple 10S)

The Thermo RadEye™ PRD Radiation Detector
(Google Android only)

11

Case (:2r2430856-EGBoddocuument 9Aageiléd 06/2423 0feg@024f 85

Exhibit B

12
Case Ca8@12402256-EGBocumentient 9PagellS2 06 /Filéd3 09704/20240f 85

DoD/DTRA ATAK CBRN
Sensors for the Google Pixel 5
Smartphone

UNTO a eaters a at cae

CaS TE Te
i
i

With DTRA ... ATAK includes
chemical, biological, radiological,
and nuclear (CBRN) plug-ins.

A multi-sensor detection system
for detecting at least one
explosive, nuclear, contraband,
chemical, biological, human,
radiological agent, or compound,
comprising:

A multi-sensor detection system
for detecting at least one
explosive, nuclear, contraband,
chemical, biological, human, or
radiological agents and
compounds, comprising:

Android Team Awareness Kit,
ATAK (built on the Android
operating system) With DTRA ...
ATAK includes chemical,
biological, radiological, and
nuclear (CBRN) plug-ins.

The Defense Threat Reduction
Agency (DTRA) CBRN ISA:
Seamlessly integrates information
and control of multiple sensors
into a single dashboard, making it
easier to detect CBRN threats and
monitor a warfighter’s vitals
https://thelastmile.
gotennapro.com/four-useful-atak-

app-plugins/

a plurality of sensors for detecting
at least one chemical, biological,
radiological, explosive, nuclear,

human, or contraband agent or
compound, capable of being
disposed within, on, upon or
adjacent a multi-sensor detection
device;

a plurality of sensors for detecting
at least one chemical, biological,
radiological, explosive, nuclear,
human or contraband agents and
compounds and capable of being

disposed within, on, upon or
adjacent a multi sensor detection
device;

ATAK (including CivTAK) 1s
an Android smartphone [1.e.,
Google smartphone] geospatial
infrastructure and situational

awareness app https://www.civtak.

org/atak-about/. ATAK can be
downloaded to a phone, tablet, or
handheld device. ATAK is a
government-off-the-shelf app
for Android smartphones. The
mobile broadband 4G LTE
connection is able to facilitate the
data throughput required for the
operation of the ATAK.
https://apps. dtic.mil/
sti/pdfs/AD 1069441 .pdf

monitoring equipment comprising
at least one of a computer,
personal computer (PC), laptop,
notebook PC, handheld, cell
phone, personal digital assistant
(PDA) or smart phone for at least
one of a receipt or transmission of
signals therebetween;

monitoring equipment comprising
at least one of plurality product

groups based on the categories of

a computer, laptop, notebook, PC,
handheld, cell phone, PDA or
smart phone for the receipt and

transmission of signals
therebetween;

13

Case C:tb12400856-EGBoddoaument 9Aagelas 06/223 ov ege@ad-of 85

The Google phone connects to a
cell tower or base station via radio
waves, and that tower is usually
physically connected to the
infrastructure to send that data
wherever it needs to go. Draper
designed a chemical, biological,
radiological and nuclear (CBRN)
Plugin to enable users to integrate
CBRN sensors into TAK, collect
CBRN sensor data, display it on a
map and livestream it across the
TAK network to other users.
CBRN plugins for ATAK,
WinTAK and WebTAK are
operational in the field.
https://www.draper.
com/explore-solutions/tak

at least one cell phone tower
interconnected to the monitoring
equipment for sending signals
thereto and receiving signals
therefrom or at least onc satellite
capable of transmitting signals to
the monitoring equipment;

at least one cell phone tower
interconnected to the monitoring
equipment for sending signals
thereto and receiving signals
therefrom or at least one satellite
capable of transmitting signals to
the monitoring equipment;

The Android-based [Googie]
smartphone[s] new contained
integrated satellite on-the move
capability, on-the-move mapping
solutions, and a commercial laser
range finder that significantly
expanded the end-user range data
flow and functionality. The
Primary, Altemate, Contingency,
and Emergency (PACE)
communications architectures
established was: « Primary
communications structure (P):
ATAK—4G/LTE; Antenna:
international [] satellite
(INMARSAT) https://apps.
dtic.mil/sti/pdfs/AD1069441 pdf

at least one satellite or at least one
cell phone tower capable of signal
communication between the multi-
sensor detection device and the
monitoring equipment;

at least one satellite or at least one
cell phone tower capable of signal
communication between the multi
sensor detection device and the
monitoring equipment;

The internet connection is shared
by many ATAK functions on the
Google Pixel 5 smartphone such
as internet browsing, receiving
email messages and installing
apps. Wi-Fi is a method for
devices such as the Google Pixel 5
smartphone to connect wirelessly
to the Internet using radio waves.

at least one internet connection
” capable of communication
between the multi-sensor detection
device and the monitoring
equipment;

at least one internet connection
capable of communication
between the multi sensor detection
device and the monitoring
equipment;

14

Case 0:2%-12400846-EGBoddomnnent 9Alageiléa O6/PiA3 OV eg0340f 85

Sit(x) is a commercial Server-as-a-
Service solution based on the TAK.

platform developed by PAR
Government for the U.S. Defense
& Intelligence Community. Sit(x)
has real-time communication and
information sharing. With Sit(x),
individuals and teams can
communicate via personal
computers and handheld mobile
[Google smartphone] devices by
voice or text. They can share real-
time full-motion video (FMV),
airbome/drone imagery, GPS
locations, photos, and satellite
imagery. Fully secure and
compatible with ATAK, WinTAK,
and iTAK. Sit(x) accessed via free
downloadable gateway apps.

whereupon a signal sent to a
receiver of the multi-sensor
detection device from a satellite;
or to a cell phone tower; or
through at least one of a short-
range radio frequency or a long-
range radio frequency; causes a
signal to be sent to the monitoring
equipment that includes at least
one of location data or sensor data;

whereupon a signal sent to a
receiver of the multi sensor
detection device from a satellite;
or toa cell phone tower; or
through short and/or long-range
radio frequency; causes a signal to
be sent-to the monitoring
equipment that includes location
data and sensor data;

The ‘439 & ‘189 patent specs:
Product grouping (PG) | (storage
& transportation); PG 2 (sensors);
PG 3 (detector case; modified and

adapted); PG 4 (monitoring &

communication devices); PG 5

(communication methods); PG 6
(biometrics); and, PG 7
(authorized person)

wherein the monitoring equipment
or multi-sensor detection device
receives a signal via any of one or
more products of any product
grouping categories;

wherein the monitoring equipment
or multi sensor detection device
receives a signal via any of one or
more products listed in any of the
plurality of product grouping
categories;

The Android-based [Google]
smartphone[s] now contained
integrated satellite ...

Wi-Fi is a method for devices such
as the Google Pixel 5 smartphone
to connect wirelessly to the
Internet using radio waves...

The intemet connection is shared
by many ATAK functions on the
Google Pixel 5 smartphone such
as internet browsing, receiving
email messages; installing apps...

The Google phone connects to a
cell tower or base station via radio
waves, and that tower is usually
physically connected to the
infrastructure to send that data
wherever it needs to go.

wherein at least one of a satellite
connection, Bluetooth connection,
WiFi connection, internet
connection, radio frequency (RF)
connection, cellular connection,
broadband connection, long range
radio frequency connection, or
short-range radio frequency (RF)
connection is capable of signal
communication with the
transmitter, a receiver of the
monitoring equipment, the multi-
sensor detection device, or
transceivers of the products;

wherein at least one satellite
connection, Bluetooth connection,
WiFi connection, internet
connection, radio frequency (RF)
connection, cellular connection,
broadband connection, long and
short-range radio frequency (RF)
connection is capable of signal
communication with the
transmitter and the receiver of the
monitoring equipment or multi
sensor detection device and
transceivers of the products;

15

Case Cat} re00856-EGBoddouument 9Aageiléd 06/2428 OP ag@2084f 85

BIOMETRICS: Biometric factors
allow for secure authentication on
the Android platform. The
Android framework includes face
and fingerprint biometric
authentication. Android can be
customized to support other forms
of biometric authentication (such
as Iris).

ATAK (including CivTAK) is
an Android smartphone [i.e.,
Google smartphone] geospatial
infrastructure and situational
awareness app hitps://www.civtak.
org/atak-about’. ATAK can be
downloaded to a phone, tablet, or
handheld device.

wherein the monitoring equipment
is equipped with a biometric lock
disabler that incorporates at least
one of a fingerprint recognition,
voice recognition, face
recognition, hand geometry, retina
scan, iris scan or signature such
that the monitoring device that is
at least one of the computer, the
laptop, the notebook, the PC, the
handheld, the cell phone, the PDA,
or the smart phone is locked by the

unauthorized use;

biometric lock disabler to prevent

wherein the monitoring equipment
is equipped with a biometric lock
disabler that incorporates at least
one of a fingerprint recognition,
voice recognition, face
recognition, hand geometry, retina
scan, iris scan and signature such
that the monitoring device that is
at least one of the computer, the
laptop, the notebook, the PC, the
handheld, the cell phone, the PDA,
or the smart phone is locked by the
biometric lock disabler to prevent
unauthorized use;

The Android-based [Google]
smariphone[s] now contained
integrated satellite ...

Wi-Fi is a method for devices such
as the Google Pixel 5 smartphone
to connect wirelessly to the
Internet using radio waves...

The intemet connection is shared
by many ATAK functions on the
Google Pixel 5 smartphone such
as internet browsing, receiving
email messages; installing apps...

The Google phone connects to a
cell tower or base station via radio
waves, and that tower is usually
physically connected to the
infrastructure to send that data
wherever it needs to go.

wherein the only type or types of
communication with the
transmitter and the receiver of the
communication device and
transceivers of the products is a
type or types selected from the
group consisting of satellite,
Bluetocth, WiFi, internet, radio
frequency (RF), cellular,
broadband, long range radio
frequency, and short-range radio

frequency (RF).

wherein the only type or types of
communication with the
transmitter and the receiver of the
communication device and
transceivers of the products is a
type or types selected from the
group consisting of satellite,
Bluetooth, WiFi, internet, radio
frequency (RF), cellular,
broadband, and long and short-
range radio frequency (RF).

16

CaseCa88:-@4005561-EGibcDocumént Fag éiled O6F2a30 9RayedbA of 85

Exhibit C

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INCLUDED IN FEDERAL CIRCUIT INFORMAL BRIEF
IN GOLDEN v GOOGLE

BIOMETRICS: Biometric factors allow for secure authentication on the Android
platform. The Android framework includes face and fingerprint biometric authentication.
Android can be customized to support other forms of biometric authentication (such as
Iris).

DISABLING LOCK MECHANISM: Google’s Android operating system features a
lock mechanism to secure your phone, known as pattern lock. When setting the pattern,
you must drag your finger along lines on the screen between different nodes. Afterward,
to unlock the phone, you'll need to replicate the pattern drawn. If you fail to solve the
pattern too many times, the phone locks and cannot be unlocked without logging into the
associated Google account. If you can't log in, you’ll have to employ some other methods
to restore control of your phone.

CHEMICAL, BIOLOGICAL, RADIOLOGICAL, AND NUCLEAR (CBRN)
DETECTION: Through collaboration and innovation, the Defense Threat Reduction
Agency has integrated its powerful, hazard-awareness-and-response tools into the Android
Tactical Assault Kit (or the Android Team Awareness Kit, ATAK). ATAK is a digital
application available to warfighters throughout the DoD. Built on the Android operating
system, ATAK offers warfighters geospatial mapping for situational awareness during
combat — on an end-user device such as a smartphone or a tablet. With DTRA’s
contribution, ATAK now includes chemical, biological, radiological, and nuclear (CBRN)
plug-ins.

HEART RATE: Android Team Awareness Kit, ATAK provides a single interface for
viewing and controlling different CBRN-sensing technologies, whether that is a wearable
smartwatch that measures a warfighter’s vitals (e.g., heart rate) or a device mounted on a
drone to detect chemical warfare agents.

NEAR FIELD COMMUNICATION (NFC): Pixel™, Phone by Google - Turn NFC
on/off. Near Field Communication (NFC) allows the transfer of data between devices that
are a few centimeters apart, typically back-to-back. NFC must be tured on for NFC-based
apps (e.g., Tap to Pay) to function correctly. NFC is a set of short-range wireless
technologies, typically requiring a distance of 4cm or less to initiate a connection. NFC
allows you to share small payloads of data between an NFC tag and an Android-powered
device, or between two Android-powered devices. Tags can range in complexity.

WARFIGHTERS: The U.S. armed forces and their interagency and coalition partners
value Android Team Awareness Kit, ATAK and the common operating picture it provides.
DTRA continues to develop CBRN-specific plug-in capabilities to support warfighters on
the battlefield.

18
Case Caser2432256-EGBodnotemtent 9 Rage!s806/Filéas 09/84/2024F 85

Apple iPhone 12
_ Smartphone

Samsung Galaxy
$21 Smartphone

Reem ce BLS

Asus / Qualcomm
Smartphone for
Snapdragon
Insiders

Chipset:
Qualcomm
Snapdragon 765G
CPU: Octa-core (1
x 2.4 GHz Kryo 475

Chipset: Apple Al4
Bionic (5 nm).
CPU: Hexa-core

Chipset:
Qualcomm SM8350
Snapdragon 888 5G
(5 nm). CPU: Octa-

core (1x2.84 GHz

Chipset: Qualcomm
SM8250
Snapdragon 865 5G
(7 nm+). CPU:
Octa-core (1x2.84

Chipset:
Qualcomm SM8350
Snapdragon 888 5G
(5 nm) CPU: Octa-

temperature in
degrees Celsius
(°C). Monitoring air
temperatures.

temperatures (hot or
cold), these sensors
shut down the
device to prevent
damage

temperature in
degrees Celsius
(°C). Monitoring air
temperatures.

temperature in
degrees Celsius
(°C). Monitoring air
temperatures.

SUS Cee (2x3.1 GHz Cortex-X1& | Giz Cortex-A77 & | core (1x2.84 GHz
GHz Kryo 475 Gold ; 3x2.42 GHz Cortex-
Firestorm + 4x1.8 3x2.42 GHz Cortex- Cortex-X1 &
& 6 x 1.8 GHz A78 & 4x1.80 GHz
‘ GHz Icestorm). OS: ATT & 4x1.80 GHz | 3x2.42 GHz Cortex-
Kryo 475 Silver) : Cortex-A55) - :
. iOS 14.1, : ‘ Cortex-A55). OS: A78 & 4x1.80 GHz
OS: Google ‘ USA/China. OS:
upgradable to iOS Google Android 10, | Cortex-A55). OS:
Android 11, Google Android 11, ‘
16.1 Modem: upgradable to Google Android 11.
upgradable to : upgradable to .
: Qualcomm’s ; Android 13 Modem:
Android 13. Android 13
: Snapdragon X55 : Modem: Snapdragon® X60
Modem: Modem: ‘
5G modem s Qualcomm’s 5G Modem-RF
Snapdragon® X52 Snapdragon® X60 Snand X55 Syst
5G Modem-RF 5G Modem-RF oe . ystem.
5G modem
System. System.
Temperature sensors
Ambient located within; the Ambient Ambient Ambient
Temperature sensor | sensors monitor the | Temperature sensor | Temperature sensor | Temperature sensor
supported by the battery and supported by the supported by the supported by the
Android platform. processor's Android platform. Android platform. Android platform.
Measures the temperature. In Measures the Measures the Measures the
ambient room extreme ambient room ambient room ambient room

temperature in
degrees Celsius
(°C). Monitoring air
temperatures.

19

CaseCa86:@4Cii5bl-EGcMacument Pagéilsd OSes oRageczo of 85

Accelerometer

(gravity sensor)
Gravity sensor supported by the Gravity sensor Gravity sensor Gravity sensor
iOS platform.
supported by the Accelerometer/ supported by the supported by the supported by the
Android platform, : . Android platform. Android platform. Android platform.
Motion sensor: This
Measures the force Measures the force | Measures the force | Measures the force
Ls sensor helps the wo ne: le
of gravity in screen of gravity in of gravity in of gravity in
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tilt, etc.) whether you're tilt, etc.) tilt, etc.) tilt, etc.)
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band, W1-Fi Direct. 5.2, A2DP, LE,
2.4 + 5.0 GHz, band, hotspot. A2DP, LE, aptX
Bluetooth 5.0, aptX HD, aptx
Bluetooth 5.0 + Bluetooth 5.0. NFC, A2DP. LE. NFC HD. NFC, GPS, Adaptive. NEC
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: . " BDS, GALILEO. . BDS, Galileo,
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Nano-SIM and : QZSS, Dual SIM
eSIM capable eSIM or Dual SIM SIM) or Hybrid
eSIM or Dual SIM (Nano-SIM, dual
Dual SIM (Nano- stand-by)
SIM, dual stand-by) y

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Case (2bcr-00856-EGBodecement 9-AaelleahOG/ENB OPagmeaLof 85

Connectivity: Wi-Fi

Connectivity: Wi-Fi

Connectivity: Connectivity: Connectivity: 802.11 a/b/g/n/ac/6, 802.11 a/b/p/ ac!
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i 5 (a/b/g/n/ac) a/b/g/n/ac/6, dual- band, Wi-Fi Di Direct, DLNA. 5 DP. LE
2.4+5.0 GHz band, hotspot. and, Wi-Fi Direct. Bluetooth 5.1 2, A2DP, LE,
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Bluetooth 5.0+ | Bluetooth 5.0. NFC = A2DP, LE, aptX pra? BP
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° eSIM or Dual SIM (Nano-SIM, dual
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Connectivity: Connectivity: Connectivity: | 99 11 a/b/a/n/aci6, | 802.11 a/b/e/n/ac/
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Fi 5 (a/b/g/n/ac) a/b/g/n/ac/6, dual- ee eas Direct, DLNA. ‘ ‘
, band, Wi-Fi Direct , 5.2, A2ZDP, LE
2.4 + 5.0 GHz, band, hotspot > ° Bluetooth 5.1 ; *
por Bluetooth 5.0 “ aptX HD, aptX
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Galileo, BeiDou), Nano-SIM; Galileo, BDS.
eSIM capable eSIM or Dual SIM Nano-SIM and Single SIM (Nano- QZSS, Dual SIM
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Google Nest x png am eons or Google Nest x Google Nest x Google Nest x
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connected to the , connected to the connected to the connected to the
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est app; you can Face ID / Nest app; youcan | Nest app; you can Nest app; you can
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door from your a passcode door from your door from your door from your
phone. P , phone. phone. phone.

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cc, | Usb tihai 0 ae
Ix€! plones use Cable or the newer UrbanX USB-C to | Snapdragon Insiders
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2.0 power adapters | cable with your Cable lets you USB-C Male to USB Type C
and cables. To iPhone, The charge your USB- USB-A Female, Memory Stick;
charge your phone | MagSafe Battery | © govice as wellas | UsesUSBOTG | 32GB USB Type-C
with a USB- Pack makes on-the- sync your data to Technology, flash drive; Features
A power adapter, EO, wireless your smartphone Compatible with USB Type-C
use a USB-C to chargin B easy and LG V60 ThinQ 5G connector and a
USB-A cable. reliable—just attach traditional USB
it to your iPhone connector.
Apple’s iOS
operating system
allows for Face ID
authentication with
the iPhone 12. The
phone also features
Biometrics: | #/eckmechanismto |  promETRICS: BIOMETRICS: BIOMETRICS:

Biometric factors
allow for secure:
authentication on
the Android
platform. The
Android framework
includes face and
fingerprint
biometric
authentication.
Android can be
customized to
support other forms
of biometric
authentication (such
as Ins).

secure your phone.
After multiple
failed attempts to
unlock the phone,
the phone locks and
is disabled (made
unavailable),

Apple Home Key
digital security code
is stored in Apple
Wallet app. It is
based on NEC
technology. 2
modes of operation:
Express Meade:
Bring an iPhone or
Apple Watch to the
lock. Face ID or
Passcode. Must use
Face ID,
Touch ID, or enter
a passcode.

Biometric factors
allow for secure
authentication on
the Android
platform. The
Android framework
includes face and
fingerprint
biometric
authentication.
Android can be
customized to
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of biometric
authentication (such
as Iris).

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platform, The
Android framework
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fingerprint
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fingerprint
biometric
authentication.
Android can be
customized to
support other forms
of biometric
authentication (such
as Iris).

22

Case (2Sc200255-EGBoddaoment 9AadeiabOG/EN23 0OMageR2 Hf 85

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) provides a
single interface for

iOS Team
Awareness Kit,
iTAK (built on the
iOS 14.1, or later,
operating system)
provides an
interface for

Android Team
Awareness Kit,
ATAK (built on the
Android operating
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Android Teain
Awareness Kit,
ATAK (built on the
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combat — on an
end-user device
such as a
smartphone or a
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

awareness during
combat — on an
end-user device
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such as a
smartphone or a
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

23

Case C2 c200256-EGBoddanement 9Aadeiias O6/ENE8 OMageBaHf 85

Connectivity: Wi-Fi

Connectivity: Wi-Fi

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band, hotspot. band, Wi-Fi Direct. 5,2, A2DP, LE,
2.4 + 5.0 GHz, Bl Bluetooth 5.1,
uctooth 5.0. Bluetooth 5.0, aptX HD, aptx
Bluetooth 5.0 + C. GPS AQDP. LE. NFC A2DP, LE, aptX Adaptive. NFC
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eSIM capable ano-wN ano-s an Single SIM (Nano- QZSS, Dua
eSIM or Dual SIM | eSIM or Dual SIM (Nano-SIM, dual
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Apple Home Key
digital security code
is stored in Apple
Wallet app. It is
based on NFC
Google Nest x Yale mom oey om Google Nest x Yale | Google Nest x Yale | Google Nest x Yale
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Case (2Sc?2008h5-EGBodDovument 9Raela 06/ENé8 OMageaAHf 85

Apple Home Key
digital security code
is stored in Apple
Wallet app. It is
Google Nest x Yale Paseo Ne Google Nest x Yale | Google Nest x Yale | Google Nest x Yale
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phone. Mm Pk Face ID or your phone, phone. phone.
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plug-ins. Plugins. plug-ins. plug-ins. plug-ins.

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Case C2c2-30256-EGBodMocement 9-Aaeilah 06/2ERE2B OageaB-hf 85

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) is a digital
application
available to
warfighters
throughout the
DoD, ATAK offers
warfighters
geospatial mapping
for situational
awareness during
combat — on an
end-user device

iOS Team
Awareness Kit,
iTAK (built on the
iOS 14.1, or later,
operating system) is
a digital application
available to
warfighters
throughout the DHS
/ DoD. iTAK offers
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plug-ins. piugons. plug-ins. plug-ins.
Figure 1

Google’s “use” of Plaintiff’s Patented Central Processing Units (CPUs)

“(T]he Accused Products (1.e., Google, Apple, Samsung, LG, and Asus/Qualcomm

smartphones) , which are “computers” (i.e., cell phones, computer tablets, and laptops), include

components of a memory, a display, and a processor” ... “[w]hen in use, the “Find My Device”

pre-loaded onto the Accused Product uses a processor’ ... “[t]he “Find My Device” feature

displays [] information through a processor using data stored in the device’s memory” ... “[t]he

LG Support Page lays out in a step-by-step process how to correctly remotely log in to the

processor to access [] lock the device” ... See Carolyn Hafeman v. LG Electronics Inc.

In the above claim chart, the Google, Samsung, LG, and Asus/Qualcomm smartphones

have Qualcomm Snapdragon Chipsets; have Octa-core CPUs (precessors); have Google Android

Operating Systems; have Qualcomm Snapdragon Modems; have Google “Find My Device” pre-

installed See Carolyn Hafeman v. LG Electronics Inc.; have Google Android Team Awareness

Kits; have Megapixel cameras for CBR sensing; have cameras for captioning nanopores;
Biosensors for CBRNE detection; and, Plug-Ins for CBRN detection.

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Case Castr2492256-ECGBoduntentrent 9Ragei66 06/Filéa3 0970428241 85

Figure 2 is a comparative chart of the “megapixel” smartphone cameras

used for detecting Chem/Bio agents. For each different way used, it qualifies as an

alternative to the ATAK.

Google Pixel 5:
Dual - 12.2 MP

(megapixel), OIS
16 MP (megapixel)
Camera lens in cell

phone with
microfluidic lens
functions as camera;
uses microscope to
focus on a chemical
sensor. A megapixel
camera captures the
image from the
array of nanopores
uses fluid rather
than bulky moving
parts. The sensors
contained in one
array is determined
by the pixel
resolution phone
camera. Megapixel
resolution in cell
phone cameras;
probe a million
different spots on
the sensor
simultaneously.
Tiny sensors tucked
into cell phones
could map airborne
toxins in real time.
Source: https://
www.understanding
nano.com/cell-
phone-sensors-
toxins. html

Samsung Galaxy
$21 Smartphone

Apple iPhone 12:
Dual - 12 MP
(megapixel), OIS 12
MP (megapixel)
Camera lens in cell
phone with
microfluidic lens
functions as camera;
uses microscope to
focus on a chemical
sensor. A megapixel
camera captures the
image from the
array of nanopores
uses fluid rather
than bulky moving
parts. The sensors
contained in one
array is determined
by the pixel
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camera. Megapixel
resolution in cell
phone cameras;
probe a million
different spots on
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simultaneously.
Tiny sensors tucked
into cell phones
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toxins in real time.
Source: https://
www.understanding
nano.com/cell-
phone-sensors-
toxins. html

Camera lens in cell
phone with
microfluidic lens
functions as camera;
uses microscope to
focus on a chemical
sensor. A megapixel
camera captures the
image from the
atray of nanopores
uses fluid rather
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parts. The sensors
contained in one
array is determined
by the pixel
resolution phone
camera. Megapixel
resolution in cell
phone cameras;
probe a million
different spots on
the sensor
simultaneously.
Tiny sensors tucked
into cell phones
could map airborne
toxins in real time.
Source: https://
www.understanding
nano.com/cell-
phone-sensors-
toxins. html

LG V60 Thin@ 5G:
Dual - 64 MP

(megapixel), OIS
13 MP (megapixel)
Camera lens in cell

phone with
microfluidic lens
functions as camera;
uses microscope to
focus on a chemical
sensor. A megapixel
camera captures the
image from the
array of nanopores
uses fluid rather
than bulky moving
parts. The sensors
contained in one
array is determined
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resolution in cell
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simultaneously.
Tiny sensors tucked
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toxins in real time.
Source: https://
www.understanding
nano.com/cell-
phone-sensors-
toxins. html

Asus /
Qualcomm
Smartphone for
Snapdragon
Insiders

Asus / Qualcomm:
Triple - 64 MP
(megapixel) OIS; 8
MP, 12MP (mega)
Camera lens in cell
phone with
microfluidic lens
functions as camera;
uses microscope to
focus on a chemical
sensor. A megapixel
camera captures the
image from the
array of nanopores
uses fluid rather
than bulky moving
parts. The sensors
contained in one
array is determined
by the pixel
resolution phone
camera. Megapixel
resolution in cell
phone cameras;
probe a million
different spots on
the sensor
simultaneously.
Tiny sensors tucked
into cell phones
could map airborne
toxins in real time.
Source: https://
www.understanding
nano.com/cell-
phone-sensors-
toxins.html

Figure 2

27

Case Caser2432256-EGBoduntentient 9 Rageiéy 06/Filéa3 0978420241 85

Figure 3 is a visual display of different ways the smartphone camera '? can
be used for detecting Chem/Bio agents. For each different way used, it qualifies as

an alternative to the ATAK.

i Panache
Figure 3

1 The camera captures the image from the array of nanopores that uses fluid rather than bulky moving
parts. The sensors contained in one array is determined by the resolution phone camera. The resolution in
cell phone cameras; probe a million different spots on the sensor simultaneously. Tiny sensors tucked into
cell phones could map airborne toxins in real time. Source: https:// www.understanding nano.com/cell-
phone-sensors-toxins.html

2 Hyperspectral imaging scans for light frequencies that humans can't see in order to identify the
unique chemical signatures of different substances. They say their device, which can be mass produced, is
compatible with all standard smartphone cameras. These New Smartphone Cameras Could Tell You What
an Object Is Made of https://www.sciencealert.com/new-smartphone-cameras-could-tell-you-what-an-

object-is-made-of

28
Case Ca8er22256-EGBoduntentent 9Ragei6806/Féas 09/Eg2024f 85

Figure 4 describes how at least nine (9) standard sensors for the Google,
Apple, Samsung, LG, and Asus/Qualcomm smartphones can be used as

“biosensors”. For each different way used, it qualifies as an alternative to ATAK.

Rubber joint
.

ZS.

= LFIA case

and front camera

A --> Colorimetric analyses (LFIA readout)

Microphone
-> Voice recording “>.
(stress levels)

Amtbient light sensor
(NP Aggregation tests and
colorimetrics in suspensian)

--> Cancer biomarkers

--> Toxic metals

--> Pathogens

Capilary inlet «<-————0 :

(Air analyses} a

—> VOCs

--> Airborn
Pathogens

(Fiuid analyses)
--> Aerosols

Capilary f.

--> Image analyses
--> Photoplethysmography

> VIS-spectrometer

>» Microscopy

2» Optical waveguide

(Direct SPR sensing array using MIPs}
—> Pathogens in water

=> Pathogens in food

a NNAP Electrodes
_”™ (Electrochemical detection)

> Toxic metals in water
--> Organic pollutants in water

A visnie spectrometer
(Chemometic detection)
--> Food freshness
> Melanoma

Microfluidic casette

--> Cell counting
--> Blood analyses
(biomarkers, infectious diseases)

--> Interchangeble casettes
with varying assays

Figure 4

The Smartphones Biosensors:
1. Ambient light sensor: Cancer biomarkers; Toxic metals; Pathogens

Capillary inlet: (Air analysis). Airborne Pathogens; Aerosols

Capillary inlet: (Fluid analysis). Blood analysis; Biomarkers

Microfluidic cassette: Interchangeable cassettes with varying assays

VIS-NIR spectrometer: Food freshness; Melanoma

NNAP Electrodes: Toxic metals and Organic pollutants in water

Optical Waveguide: Pathogens in water and food

Back and front camera: Colorimetric analysis; Image analysis

oo ND wR wD

Microphone: Voice recording stress levels

29
Case Caser2430256-EGBoduntemtent 9 Ragei69 06/Fiéa3 09/84/2024! 85

Figure 5 list some of the same standard sensors illustrated in Figure 4. The

port on the smartphones is used for the CBRN plug-ins included in ATAK.

Accelerometer
L 7; 8; 15;

Gyroscope
ro Ea2: 7:
Proximity sensor Pressure sensor
Camera |
E23; 9; 10; 17-20; 22: 23: ed
OD atm rele: Humidity sensor
Image sensor sl amet tan)e <1 6-3 ?
E49; 20: elms tetelay
Vianivemee | ___-@ Temperature sensor
Ea.

“Lg Magnetometer
?

“Le Microphone
13; 14:

Fingerprint sensor
@  L

Ambient light sensor el
wa 16;
“Baggs Abe pin
Figure 5
ATAK is a digital application available to warfighters throughout the DoD. Built on the
Android operating system, ATAK offers warfighters geospatial mapping for situational
awareness during combat — on an end-user device such as a smartphone or a tablet. With
DTRA’s contribution, ATAK now includes chemical, biological, radiological, and nuclear
(CBRN) plug-ins.
Just having a plug-in is not all that’s involved. There has to be an app specific software to
sync the chemical, biological, radiological, and nuclear sensors to the smartphone plus the

Google Android Operating System.

30
Case G:2@r2490858-EGBodotument 9Aagéile@ 06/2Ild23 0% Ag2624f 85

Exhibit D

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Case Caser2432256-EGBoduntentient 9 Rageiad 06/Eileds 09/A4024f 85

Google Pixel 5 Smartphone and Apple iPhone 12 Smartphone Comparison

Apple iPhone 12
‘Smartphone

A monitoring
device, comprising:

A cell phone
comprising:

A communication
device of at least
one of a cell phone,
a smart phone, a
desktop, a
handheld, a PDA, a
laptop, ora
computer terminal
for monitoring
products,
interconnected to a
product for
communication
therebetween,
comprising:

CPU: Octa-core (1
x 2.4 GHz Kryo
475 Prime & | *

2.2 GHz Kryo 475
Gold & 6 * 1.8

GHz Kryo 475

CPU: Hexa-core
(2x3.1 GHz Firestorm
+ 4x1.8 GHz
Icestorm). System-on-
a-chip: Apple Al4
Bionic (5 nm). 10S

at least one central
processing unit
(CPU);

a central processing
unit (CPU) for
executing and

carrying out the
instructions of a

at least one of a
central processing
unit (CPU) for
executing and
carrying out the
instructions of a
computer program,
a network
processor which is
specifically
targeted at the

BUG) Sy Henn 14.1, upgradable to computer program; nemnans
a-chip: Qualcomm iOS 16.1 application
Snapdragon 765G . domain, or a front-
end processor for
communication
between a host
computer and other
devices;
Ambient Temperature sensors
Temperature located within; the
sensor supported sensors monitor the at least one
by the Android battery and processor's | temperature sensor
platform. Measures temperature. In In communication X x

the ambient room
temperature in
degrees Celsius

(°C). Monitoring

air temperatures.

extreme temperatures
(hot or cold), these
sensors shut down the
device to prevent
damage

with the at least one
CPU for monitoring
temperature;

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Case (aiec?-002b6-EGBodimcement 9-2adelech0G/EN628 0fage82 of 85

6-inch flexible

orientation so that it

Accelerometer
(gravity sensor)
Gravity sensor supported by the i0S
supported by the platform.
Android platform. | Accelerometer/Motion
Measures the force sensor: This sensor at least one motion
of gravity in helps the screen sensor in
m/s2 that is applied | automatically switch communication x xX
to a device on all from landscape to with the at least one
three physical axes portrait modes and CPU;
(x, y, z). Motion back again based on
detection (shake, whether you’re
tilt, etc.). holding the phone
vertically or
horizontally.
Light sensor Adjusts the screen
supported by the brightness for
Android platform. | current light conditions at least one viewin:
Measures the using the built-in fi §
ambient light level | ambient light sensor. onitori OF
(illumination) in 1x. Screen: 6.1” Super communication x x
Controlling screen | Retina XDR (OLED). .
: with the at least one
brightness. Screen: Lock the screen CPU:

OLED display at doesn’t change when
432 ppi the iPhone is retated.
at least one of a
ene at least one satellite
Bluetooth Blucto ee
Connectivity: connection, WiFi connection, WiFi
Connectivity: Wi-Fi 5 802 il connection, internet connection,
Wi-Fi 5 (a/b/g/n/ac) a/b/g/n/ac/6, dual- at least one global amen RE internet
2.4+ 5.0 GHz, band, hotspot. positioning system counae tio » eativlar connection, radio
Bluetooth 5.0 + Bluetooth 5.0. (GPS) connection conn ch frequency (RF)
LE, NFC, GPS NFC, GPS, in communication br adband connection, cellular
(GLONASS, GLONASS, with the at least one comes tion. lon connection,
Galileo, BeiDou), Galileo, QZSS Nano- CPU; > OnE broadband
eSIM capable SIM; range radio connection, long
eSIM or Dual SIM frequency (RF) | snd short-range
connection, short ‘0 fre
range radio radio quency
frequency (RF) (RF) connection, or
connection, or GPS GPS connection;
connection;

33

Case (aiec?4e256-EGBodDocamtent 9 ARageilet® OG/2DAZ8 OM AGLB24Hf 85

wherein the only
so, wherein at least type or types of
oe Connectivity: one of... WiFi communication
Connectivity: Wi-Fi 5 802.11 : .
ves at least one ofan | connection, internet | with the transmitter
Wi-Fi 5 (a/b/g/n/ac) a/b/g/n/ac/6, dual- : . , : :
internet connection | connection, radio and the receiver of
2.4 + 5.0 GHz, band, hotspot. + os ae
or a Wi-Fi frequency (RF) the communication
Bluetooth 5.0 + Bluetooth 5.0. . : .
connection in connection, cellular device and
LE, NFC, GPS NFC, GPS, + ae ; :
communication connection... transceivers of the
(GLONASS, GLONASS, . . :
: . . with the at least capable of signal | products is a type or
Galileo, BeiDou), Galileo, QZSS Nano- ” 8
. one CPU; communication types selected from
eSIM capable SIM; th th . h f
eSIM or Dual SIM with the transmitter the group... 0
or the receiver; satellite, Bluetooth,
WiFi...
. at least one ofa...
Connectivity:
Connectivity: Wi-Fi 5 802.11 at least one of a Bluetooth
. oe Bluetooth connection, WIF1
Wi-Fi 5 (a/b/g/n/ac) a/b/g/n/ac/6, dual- 4
: connection, a connection, internet
2.4 + 5.0 GHz, band, hotspot. . :
cellular connection, connection...
Bluetooth 5.0 + Bluetooth 5.0. or a satellite cellular x
LE, NFC, GPS NEC, GPS, connection in connection... short
(GLONASS, GLONASS, oo. “T
: . : communication range radio
Galileo, BeiDou), Galileo, OZSS Nano- -
: with the at least frequency (RF)
eSIM capable SIM; one CPU; connection, or GPS
eSIM or Dual SIM , connection:
Google's Android
operating system Apole’si :
pple’s iOS operating
features a loek system features a lock
mechanism to secure .
secure your phone, our phone at least one locking
known as pattern your paene. mechanism in whereupon the ceil
lock. To set, drag nee communication phone is
your finger along P with the at least one | interconnected to
lines on the screen unlock the phone, the CPU for locking the cell phone
° phone locks and 1s . ue : .
To unlock the disabled (made the communication | detection device to
phone, replicate unavailable) device, the atleast | receive signals or
the pattern drawn. . one locking send signals to lock
If you fail to solve mechanism or unlock doors, to
the pattern too . App le Home Key . configured to at activate or
many times, the digital security code is least one of engage | deactivate security x
phone locks and stored in AP ple Wallet (lock) the systems, to activate
cannot be unlocked ap p. Is based communication or deactivate multi-
without logging device, disengage sensor detection
into the associated technology. 2 modes (unlock) the systems, or to
Google account. of op eration: Express communication activate or
ee de: Bane “le device, or disable deactivate the cell
Googte Nest x Watch to the iP ik (make unavailable) phone detection
Yale rook is . Face ID or Passcode. the communication device;
Nest an, ¢ ° Must use Face ID / ,
“st apps you can Touch ID or enter
lock or unlock your a passcode
door from your P ,
phone.

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Case (ec200256-EGBoddoumment 9Aageiletl 06/2128 0Of/agee82Hf 85

Pixel phones use
USB-C with USB

USB-A to Lightning
cable or the newer
USB-C to Lightning

at least one power
source comprising
at least one ofa

2.0 power adapers cable with your battery, electrical
. iPhone. The MagSafe connection, or
charge your phone B k mak irel X x
with a USB- attery Pac! makes wireless
A power adapter on-the-go, wireless connection, to
USB-C to charging easy and provide power to
USB ‘A cabl reliable—just attach it | the communication
“an cane: to your iPhone device;
Apple’s iOS operating
system allows for wherein the
Face ID authentication communication
with the iPhone 12. device is equipped
The phone also with a biometric
features a lock wherein the cell lock disabler that
BIOMETRICS: mechanism to secure phowe is equipped meorporat at
Biometric factors your phone, with a biometric east one of a
allow for secure After multiple lock disabler that fingerprint
authentication on failed attempts to at least one incorporates at recognition, voice
be Ande | mlokthe tne | iometicsmsorin | aan oft | finan, fe
Android framework ° disabled (made communication reco enition, voice geometry, retina
: : with the at least es ..
includes face and unavailable). once CPU for recognition, face scan, iris scan and
Demette Apple Home Key providing biometric eect retina the communication
authentication. digital security code is authentication to scan, iris scan, or device that is at
Android be ] to din Apple Wallet access the ignatur h th t | least one of the cell
oid can be store im pele va e communication signs . suc ha 5 or the ce
customized to app. It is base device: é cell phone is phone, the sm
support other forms on NFC nonce py the prone, ne cate
of biometric technology. 2 modes iometric loc e handhe e
authentication of operation: Express disabler to prevent | PDA, the laptop or
(such as Iris). Mode: Bring an unauthorized use; the computer
iPhone or Apple and terminal is locked
Watch to the lock. by the biometric
Face ID or Passcode. lock disabler to
Must use Face ID, prevent
Touch ID, or enter unauthorized use
a passcode.

35

Case (2c200256-EGBoddanement 9-Aadeiiat O6/EM423 OMageEB4f 85

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) provides a
single interface for

iOS Team Awareness
Kit, iTAK (built on
the iOS 14.1, or later,
operating system)
provides an interface

the cell phone is at
least a fixed,

the communication
device is at least a
fixed, portable or

viewing and for viewing and tl portable or mobile bil
controlling different | controlling different at least one sensor communication moos
CBRN-sensing CBRN-sensing por chemeal device communication
technologies, technologies, whether TONOE ICA, OF interconnected to | . device
whether that is a that is a wearable human detection tn the cell phone Tne portable or
wearable smartwatch that . detection device, .
smartwatch that measures a with the at Jeast capable of wired or mobic products
measures a warfighter’s vitals one , wireless capable Of Wired OF
warfighter’s vitals (¢.g., heart rate) or a communication wireless :
(e.g., heart rate) ora | device mounted on a therebetween; and communication
device mounted on drone to detect therebetween...
a drone to detect chemical warfare
chemical warfare agents.
agents.
Android Team
Awareness Kit,
ATAK (built on the
Android operating | iOS Team Awareness
system) is a digital Kit, iTAK (built on
application the iOS 14.1, or later,
available to operating system) is a
warfighters digital application at least one of a
throughout the available to chemical sensor, 2 :
DoD. ATAK offers warfighters Vietectors in biological sensor, onesie
warfighters throughout the DHS / communication an explosive device receives a
Fee situational © | warfightrs geospatial | With theat east | “MED | signal via any of
awareness during mapping for one Cc PU for contraband ‘sensor one OF MOTE
combat — on an situational awareness detecting at least or a radiological "| products listed mn
end-user device during combat —- on one of chemical, sensor capable of any of the plurality
such as a an end-user device Pros ca being disposed of product
smartphone or a such as a smartphone Facrologica’, OF within, on, upon or STOUDINE
explosive agents; categories;

tablet. With
DTRA’s
contribution,
ATAK now
includes chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

or a tablet, With
DTRA’s contribution,
iTAK includes
chemical, biological,
radiological, and
nuclear (CBRN) plug-
ins.

adjacent the cell
phone;

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Case C2%c00856-EGBodDocumrent 9 Ragéileté 06/223 0fag@O2-f 85

Connectivity:
Connectivity: Wi-Fi 5 802.11 at least one radio-
Wi-Fi 5 (a/b/ e/nlac) a/b/g/n/ac/6, dual- frequency near-
2.4+5.0 GHz band, hotspot. field
Bluetooth 5 O+ Bluetooth 5.0. communication x
LE. NEC GPS NFC, GPS, (NFC) connection x
(GL ONASS GLONASS, in communication
: _ Galileo, QZSS Nano- with the at least
Galileo, BeiDou), SIM: one CPU ’
eSIM capable eSIM or Dual SIM
at least one ofa a transmitter for
transmitter or a transmitting signals
Apple Home Key transceiver in and messages to at
digital security code is communication least one of
stored in Apple Wallet | with the at least plurality product
app. It is based one CPU groups based on
Google Nest » vale on NFC configured to send the categories ofa
to the Nest app; you technology. 2 modes | signals to monitor multi-sensor
can lock or unlock of operation: Express at least one ofa detection device, a
door fr Mode: Bring an door, a vehicle, ora maritime cargo
your “he om iPhone or Apple building, send a transmitter for container, a cell
your paone. Watch to the lock. signals to lock or | transmitting signals | phone detection
Android Team Face ID or Passcode. unlock doors, send | and messagestoa | device, or a locking
Awareness Kit Must use Face ID / signals to control cell phone device;
ATAK (built on the Touch ID, or enter components of a detection device; a
Android operating a passcode. vehicle, send receiver for a receiver for
system) provides a signals to control receiving signals receiving signals,
single interface for iOS Team Awareness components ofa | fromthe cell phone | data or messages
viewing and Kit, iTAK (built on building, or... detection device; | from at least one of
controlling different the iOS 14.1, or later, | detect at least one plurality product
CBRN-sensing operating system) of a chemical groups based on
technologies provides an interface | biological... agent the categories of a
for viewing and such that the multi-sensor
controlling different communication detection device, a
CBRN-sensing device is capable of maritime cargo
technologies communicating, container, a cell
monitoring, phone defection
detecting, and device, or a locking
controlling. device;

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Case (2c200256-EGBoduacement 9Aadeilaty O6/EM428 OM ageE2Hf 85

Apple Home Key
digital security code is
stored in Apple Wallet
Google Nest x Yale app. It is based whereupon the
Lock is connected on NFC communication
to the Nest app; you | technology. 2 modes device, is
can lock or unlock | of operation: Express interconnected to a
your door from your Mode: Bring an product equipped to
phone. iPhone or Apple receive signals from
Watch to the lock. or send signals to
Android Team Face ID or Passcode. lock or unlock
Awareness Kit, Must use Face ID / x doors, activate or
ATAK (built on the Touch ID or enter deactivate security
Android operating a passcode. systems, activate or
system) provides a deactivate multi-
single interface for | iOS Team Awareness sensor detection
viewing and Kit, iTAK (built on systems, or to
controlling different | the iOS 14.1, or fater, activate or
CBRN-sensing operating system) deactivate cell
technologies provides an interface phone detection
for viewing and systems
controlling different
CBRN-sensing
technologies
Android Team
Awareness Kit,
‘Androl operating iOS Team Awareness wherein at least one
system) is a digital Kit, iTAK (built on satellite connection,
toe the iOS 14.1, or later, Bluetooth
application - . : wos
available to operating system) isa connection, WiFi
warfighters digital application connection, internet
throughout the available to connection, radio
DeD. ATAK offers warfighters a transmitter for frequency (RF)
throughout the DHS / ves connection, cellular
warfighiers DoD. iTAK offers transmitting signals connection,
geospatial mapping : : and messages to a
for situational warfigh ters geospatial cell phone broadband
awareness during apps for xX detection device; a connection... : short
combat —— on an situational awareness receiver for range radio
end-user device during compat on receiving signals frequency (RF)
such as a an end-user device from the cell phone connection 1s
smartphone or a such as a smartphone detection device; capable of signal
tablet. With or a tablet. With communication
DTRA’s DTRA’s contribution, with the transmitter
contribution, ATAK iTAK includes and the receiver of
now includes chemical, biological, the communication
chemical radiological, and device and
biological, nuclear (CBRN) plug- transceivers of the
radiological, and ms. products;
nuclear (CBRN)
plug-ins.

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Case C2c?-00856-EGBoddecement 9-fadelebOG/ANEB ofag@82of 85

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) is a digital
application
available to
wartighters
throughout the
DoD. ATAK offers
warfighters
geospatial mapping
for situational
awareness during
combat — on an
end-user device
such as a
smartphone or a
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

iOS Team Awareness
Kit, iTAK (built on
the 10S 14.1, or later,
operating system) is a
digital application
available to
wartighters
throughout.the DHS /
DoD. iTAK offers
watlighters geospatial
mapping for
situational awareness
during combat — on
an end-user device
such as a smartphone
or a tablet. With
DTRA’s contribution,
iTAK includes
chemical, biological,
radiological, and
nuclear (CBRN) plug-
ins.

whereupon a signal
sent to the receiver
of the cell phone
detection device
from at least one of
the chemical
sensor, the
biological sensor,
the explosive
sensor, the human
sensor, the
contraband sensor,
or the radiological
senscr, Causes a
signal that includes
at least one of
location data or
sensor data to be
sent to the cell
phone.

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Case Cas$r2430256-EGBodumentent 9 Rages 06/Filéas 09764/2024f 85

Figure 1 outline different ways the smartphone camera can be used for detecting
Chem/Bio agents. For each different way used it qualifies as an alternative to the

Google Android ATAK and Apple iOS iTAK.

fi Panache
Figure 1

The camera captures the image from the array of nanopores that uses fluid rather than bulky moving parts.
The sensors contained in one array is determined by the resolution phone camera. The resolution in cell

phone cameras; probe a million different spots on the sensor simultaneously. Tiny sensors tucked into cell
phones could map airborne toxins in real time. Source: https:// www.understanding nano.com/cell-phone-

sensors-toxins. htm]

Hyperspectral imaging scans for light frequencies that humans can't see in order to identify the unique
chemical signatures of different substances. They say their device, which can be mass produced, is
compatible with all standard smartphone cameras. These New Smartphone Cameras Could Tell You What
an Object Is Made of https://www.sciencealert.com/new-smartphone-cameras-could-tell-you-what-an-

object-is-made-of

40
Case CaSec242256-EGBoduntentent 9-Pagel005/Filée3 O9/eg2024Hf 85

Figure 2 describes how at least nine (9) standard “Native” sensors for the
smartphone can be used as “biosensors”. For each different way used it qualifies as

an alternative to the Google Android ATAK and Apple 10S iTAK.

Rubber joint » LFIA case

SS
Oe em and front camera

A --> Colorimetric analyses (LFIA readout)
--> bmage analyses
--» Photoplethysmography
> VIS-spectrometer
..% Microscopy

Microphone
--> Voice recording
(stress levels)

> Optical waveguide

(Direct SPR sensing array using MIPs)
+> Pathogens in water

--> Pathogens in food

Amtbient light sensor
(NP Aggregation tests and
colorimetrics in suspension)

--> Cancer biomarkers

--> Toxic metals

--> Pathogens ae NNAP Electrodes

vo {Electrochemical detection)
-> Toxic metals in water
--> Organic pollutants in water

Avisvie spectrometer
(Chemometic detection)
-» Food freshness

Capilary inlet <hem—

(Air analyses}
—> VOCs

Y pasts > Melanoma
--> Airborn Capilary inlet ’

Pathogens (Fiuid analyses) i : i
a eae Microfluidic casette

--> Cell counting
--> Blood analyses
(biomarkers, infectious diseases)

--> Interchangeble casettes
with varying assays

Figure 2
The Smartphones Biosensors:

1. Ambient light sensor: Cancer biomarkers; Toxic metals; Pathogens
Capillary inlet: (Air analysis). Airborne Pathogens; Aerosols
Capillary inlet: (Fluid analysis). Blood analysis; Biomarkers
Microfluidic cassette: Interchangeable cassettes with varying assays
VIS-NIR spectrometer: Food freshness; Melanoma
NNAP Electrodes: Toxic metals and Organic pollutants in water
Optical Waveguide: Pathogens in water and food

Back and front camera: Colorimetric analysis; Image analysis

ee P PS YS YP

Microphone: Voice recording stress levels

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Case Cas8ec242256-EG Bodunrenterit 9 Ragelcsil 06/Filéa3 09/ag#2024f 85

Figure 3 “Native” to the smartphone is a “port” for plug-ins that are at least:
embedded into, affixed to, placed upon; software based, or hardware based, wired

or wireless connection, for CBRNE detection.

Accelerometer
GPs i nee Gyroscope
Gi 2 7;
Proximity sense — _ es Pressure sensor
?
Camera inal) a
E23; 9; 10; 17-20; 22: 23; setae |
fey atoms rele Humidity sensor
Image sensor it Umea) scl e-) 2
Ea 9: 20; rey mes] e] 5) 0
Touch aenaee | __re Temperature sensor
:: ?
Fingerprint sensor | “Le Magnetometer
? ?
: ; Le Microphone
Ambient light sensor el Wn. 4a-
m6. 13; 14;
Bluetooth Le Plug-ins

a: 19-22:
Figure 3

Blueforce Plugin Series: CBRNE and HAZMAT Response (See also Figure 8)

BlueforceTACTICAL (CBRN purpose-built plugins for smartphones): The DuraForce Ultra 5G is Kyocera’s
toughest, most durable smartphone to date, certified to military standard 810H (MIL-STD-810H) to withstand drops

BlueforceTACTICAL (Google Android and Apple iOS): The ALTAIR 5X Gas Detector is capable of measuring up
to 6 gases simultaneously and is now available with integrated PID sensor for VOC detection. The 5X provide real -
time environmental awareness when paired via Bluetooth® with the BlueforceTACTICAL MSA Plugin.

BlueforceTACTICAL (Google Android and Apple iOS): The MSA Altair 4XR Multi-Gas Detector detects 02,
LEL, CO and H2S. Outfitted with rapid-response MSA XCell® sensors, the ALTAIR 4XR Gas Detector is the
toughest 4-gas monitor on the market and is backed by a 4-year warranty. The ALTAIR 4XR can also provide real-
time incident awareness when paired via Bluetooth® with the BlueforceTACTICAL MSA Plugin.

BlueforceTACTICAL (Google Android only): Detect and localize radiation sources generated by manmade devices
such as nuclear weapons, improvised nuclear devices (INDs) or radiological dispersal devices (RDDs) with the
Thermo Scientific™ RadEye™ PRD Personal Radiation Detector. The BlueforeeTACTICAL Plugin shares PRD
data with other responders and can simultaneously push readings to cloud databases for longitudinal analysis.

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Case (2c2-00256-EGBoddaenment 9Aadeiab0G/ENée3 OMage@daoft 85

Exhibit E

43
Case Casér2430256-EGBodndmentent 9 Ragei&3 06/FiMa3 09/84/20247 85

CLAIM CHART FOR THE SMARTPHONE COMPARISON BETWEEN
THE GOOGLE PIXEL 5 AND THE SAMSUNG GALAXY 821. THE
GOOGLE PIXEL 5 SPECIFICATIONS AND THE PATENT CLAIMS’
LIMITATIONS FOR THE ‘287, ‘439, & ‘189 PATENTS ARE THE SAME
AS IN LARRY GOLDEN y. GOOGLE LLC; CAFC CASE NO. 22-1267

Samsung Galaxy
S821 Smartphone

A monitoring

device, comprising:

A cell phone
comprising:

A communication

device of at least
one of a cell phone,
a smart phone, a
desktop, a handheld,
a PDA, a laptop, or
a computer terminal
for monitoring
products,
interconnected to a
product for
communication
therebetween,
comprising:

CPU: Octa-core (1
x 2.4 GHz Kryo 475
Prime & 1 x 2.2
GHz Kryo 475 Gold
& 6 x 1.8 GHz
Kryo 475 Silver)
System-on-a-chip:
Qualcomm
Snapdragon 765G

CPU: Octa-core
(1x2.84 GHz
Cortex-X1 &

3x2.42 GHz Cortex-
AT8 & 4x1.80 GHz

Cortex-A55) -

USA/China.
Chipset: Qualcomm
SM8350
Snapdragon 888 5G
(5 nm). OS: Google
Android 11,
upgradable to
Android 13 Modem:
Snapdragon® X60
5G Modem-RF
System.

at least one central
processing unit
(CPU);

a central processing
unit (CPU) for
executing and

carrying out the
instructions of a
computer program;

at least one of a
central processing
unit (CPU) for
executing and
carrying out the
instructions of a
computer program,
a network processor
which is specifically
targeted at the
networking
application domain,
or a front-end
processor for
communication
between a host
computer and other
devices;

44

Case (&bc200255-EGBoddacement 9 Rael OG/EN&23 OMaged3Hf 85

Ambient
Temperature sensor Ambient
supported by the Temperature sensor
Android platform. supported by the at least one
Measures the Android platform. temperature sensor
ambient room Measures the in communication
temperature in ambient room with the at least one
degrees Celsius temperature in CPU for monitoring
(°C). Monitoring air degrees Celsius temperature;
temperatures. (°C). Monitoring air
Monitoring air temperatures.
temperatures.
Gravity sensor Gravity sensor
supported by the supported by the
Android platform. Android platform. t least one motion
Measures the force | Measures the force | * i nen in
of gravity in of gravity in oe .
m/s2 that is applied | m/s2 that is applied Caer with
to a device on all to a device on all ° “CPU. one
three physical axes | three physical axes ,
(x, y, Z). Motion (x, y, Z). Motion
detection (shake, detection (shake,
tilt, etc.). tilt, etc.).

Light sensor
supported by the
Android platform.
Measures the
ambient light level
(illumination) in Ix.
Controlling screen
brightness. Screen:
6-inch flexible
OLED display at
432 ppi

Light sensor
supported by the
Android platform.
Measures the
ambient light level
(Illumination) in Ix.
Controlling screen
brightness. Screen:
6.2 inches flexible
OLED display at
421 ppi

at least one viewing
screen for
monitoring in
communication with
the at least one
CPU;

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Case (&r2-002855-EGBoddaaement 9Aadeilat O6/EN623 OM agLAB4F 85

at least one ofa

satellite connection, at least one satellite
Bluetooth connectio
connection, WiFi Bl Ms
. 8 uetooth
Connectivity: connection, internet connection, WiFi
Connectivity: Wi- Wi-Fi 802.11 connection, radio connectio * aternet
Fi 5 (a/b/g/n/ac) 2.4 | a/b/g/n/ac/6, dual- at least one global frequency (RF) connec on radio
+ 5,0 GHz, band, Wi-Fi Direct. | positioning system | connection, cellular fre. ener (RF)
Bluetooth 5.0 + LE, Bluetooth 5.0, (GPS) connection in connection, connee tio yet ular
NFC, GPS A2DP, LE. NFC, | communication with broadband vonnectio
GLONASS, GPS, GLONASS, the at least one connection, long n,
broadband
Galileo, BeiDou), BDS, GALILEO. CPU; range radio connection, lon
eSIM capable Nano-SIM and frequency (RF) n, ‘ong
. and short-range
eSIM or Dual SIM connection, short dio fre
range radio radio Trequency
frequency (RF) (RF) connection, or
quency GPS connection;
connection, or GPS
connection;
wherein the only
_ wherein at least one type or types of
Connectivity: was . oe .
Connectivity: Wi- Wi-Fi 802.11 ‘ Oe Ma net | ce mumication vain
Fi 5 (a/b/g/n/ac) 2.4 | a/b/g/n/ac/6, dual- _at least one of an connection, interne e transmitter an
+ 5.0 GHz ° band, Wi-Fi Direct internet connection connection, radio the receiver of the
Bluetooth 5.0+LE, | Bluetooth 5.0, or a Wi-Fi frequency (RF) communication
NEC GPS > A2DP. LE NEC connection in connection, cellular device and
GLON ASS GPS GLON ASS. communication with connection... transceivers of the
G “ B iDou) BDS G ALILEO. the at least one capable of signal | products is a type or
eSIM canabl > Nano SIM and . CPU; communication with | types selected from
° panic SIM : Dual SIM the transmitter or the group... of
e or the receiver; satellite, Bluetooth,
WiFi...
os at least one ofa...
Connectivity: Wi- ee at least one ofa Bluetooth
Fi5 (a/b/g/n/ac) 2.4 | a/b/p/n/aci6,dual- | | Piuetooth =| connection, Wit
+ 5.0 GHz, band, Wi-Fi Direct. 2
Bluetooth 5.0 + LE, Bluetooth 5.0, cellular ole oe ™ x
GLONASS af ore connection in connection... short
Galileo, BeiDou), | BDS, GALILEO. | Cmmuncalion vith range Tact
eSIM capable Nano-SIM and the at ‘east one eqnenty (RE)
SIM or Dual SIM CPU; connection, or GPS
¢ ory connection;

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Case (ac?-00858-EGBoddocement 9RadelebOG/EN8 Oage@é2of 85

Google's Android

Google’s Android :
operating system operating system
features a lock features a lock
mechanism to mechanism to .
secure your phone secure your phone, | at least one locking
known as attern known as pattern mechanism in whereupon the cell
lock, To set dra lock. To set, drag | communication with phone is
our Sneer "lone your finger along | the atleastone CPU | interconnected to
reg on nO screen lines on the screen. for locking the the cell phone
To unlock the ° To unlock the communication detection device to
hone replicate the phone, replicate device, the at least receive signals or
P a tem awn If the pattern drawn. one locking send signals to lock
P fail to solve the Ifyou fail to solve mechanism or unlock doors, to
et tern too matr the pattern too configured to at activate or
vemes the hone many times, the least one ofengage | deactivate security
locks an d we not be phone locks and (lock) the systems, to activate
unlocked without cannot be unlocked communication or deactivate multi-
loeeine into the without logging device, disengage sensor detection
acenviats 4 Goosle into the associated (unlock) the systems, or to
account g Google account. communication activate or
” device, or disable deactivate the cell
Google Nest x (make unavailable) phone detection
Google Nest aie Yale Lock is the communication device;
to the Nest app; you connected to the device;
can lock or unlock Nest app; you can
lock or unlock your
your door from your d
hone. oor from your
P phone.
Pixel phones use at least one power
USB-C with USB source comprising
2.0 power adapters Samsung USB-C at least one ofa
Cable lets you .
and cables. To charze vour USB- battery, electrical
charge your phone Bey connection, or x
; C device as well as . :
with a USB- wireless connection,
sync your data to .
A power adapter, our smartphone to provide power to
use a USB-C to y artp the communication
USB-A cable. device;

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Case (2%r240856-EGBoddocument 9Alageieay 06/2M423 0G7ege2dB4Ff 85

wherein the cell

wherein the
communication
device is equipped
with a biometric
lock disabler that

BICMETRICS: BIOMETRICS: : . .
Biometric factors Biometric factors phone 18 equippe d_ | incorporates at least
allow for secure allow for secure with a biometric one ofa fingerprint
authentication on authentication on at least one . lock disabler that recognition, voice
the Android the Android biometric sensor in Incorporates at least recognition, face
platform. The piatform. The communication with | °°° ofa fingerprint tecognition, hand
Android framework | Android framework the at least once recoguition, ‘taco geometry, a
includes face and includes face and CPU for providing recognition, hand scan, 1118 ech ih
fingerprint fingerprint biometric recognition, han: signature such that
biometric biometric authentication to geometry, retina the communication
authentication. authentication. access the Scan, 1118 Scan, OF device that is at
Android can be Android can be communication signature such that least one of the cell
customized to customized to device; the a a nth 1s Phone, the a
support other forms | support other forms bier eo oy ine phone, te cesktop,
of biometric of biometric iometric lock the handheld, the
authentication (such | authentication (such disabler to prevent PDA, the laptop or
as Iris). as Iris). unauthorized use; the computer
and terminal is locked
by the biometric
lock disabler to
prevent
unauthorized use
Android Team Android Team
Awareness Kit, Awareness Kit,
ATAK (built on the | ATAK (built on the
Android operating Android operating

system) provides a
single interface for
viewing and
controlling different
CBRN-sensing
technologies,
whether that is a
wearable
smartwatch that
measures a
warfighter’s vitals
(e.g., heart rate) or a
device mounted on
a drone to detect
chemical warfare
agents.

system) provides a
single interface for
viewing and
controlling different
CBRN-sensing
technologies,
whether that is a
wearable
smartwatch that
measures a
warfighter’s vitals
(e.g., heart rate) or a
device mounted on
a drone to detect
chemical warfare
agents

at least one sensor
for chemical,
biological, or
human detection in
communication with
the at least one
CPU;

the cell phone is at
least a fixed,
portable or mobile
communication
device
interconnected to
the cell phone
detection device,
capable of wired or
wireless
communication
therebetween; and

the communication
device is at least a
fixed, portable or
mobile
communication
device
interconnected to a
fixed, portable or
mobile product,
capable of wired or
wireless
communication
therebetween...

48

Case (2c?-10856-EGBodeacement 9-Aadeile806/ENE2B 0fagH49 Hf 85

dwareness ki, | Android Team
: > wareness Kit,
ATAK (built on the | aTaK (built on the
Android operating . .
ee Android operating
system) is a digital : vs
application system) is a digital
available to application
warfighters available to
throughout the warfighters at least one ofa
DoD. ATAK offers throughout the one or more chemical Sensor, a wherein the
warfighters DoD. ATAK offers detectors in biological sensor, an communication
eospatial mapping warfighters communication with | explosive sensor, a device receives a
& fi par tuational geospatial mapping | the at least one CPU human sensor, a signal via any of
awareness during for situational for detecting at least | contraband sensor, one or more
bat — on an awareness during one of chemical, or a radiological products listed in
cnd-user device combat — on an biological, sensor capable of | any of the plurality
such as a end-user device radiological, or being disposed of product grouping
smartphone ar a such as a explosive agents; within, on, upon or categories;
tablet, With smartphone ora adjacent the cell
DTRA’s tablet. With DTRA's phone;
contribution, ATAK. | Contibution, ATAK
now includes now includes
chemical ch emical,
biological biological,
radiological, and radiological, and
nuclear (CBRN) nuclear (CBRN)
plug-ins. plug-ins.
Connectivity:
Connectivity: Wi- Wi-Fi 802.11 at least one radio-
Fi 5 (a/b/g/n/ac) 2.4 | a/b/g/n/ac/6, dual- fr field
+ 5,0 GHz, band, Wi-Fi Direct, | T°duenty Teartle
Bluetooth 5.0+LE, | Bluetooth 5.0, FO) womvetion:
NEC, GPS A2DP, LE. NEC, | (NPC) connection th x x
(GLONASS, GPS, GLONASS, | “Cu mmunrabon wa
Galileo, BeiDou), | BDS, GALILEO. the Pu one
eSIM capable Nano-SIM and 7
eSIM or Dual SIM

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Case (2r2400856-EGBoddaaument 9Aageilad 06/2023 OF agL6OHf 85

Google Nest « Yale
Lock is connected
ta the Nest app; you
can lock or unlock
your door from your

Google Nest x Yale
Lock is connected
to the Nest app; you
can lock or unlock
your door from your

at least one of a
transmitter or a
transceiver in
communication with
the at least one CPU
configured to send
signals to monitor at
least one of a door,
a vehicle, or a
building, send
signals to lock or

a transmitter for

a transmitter for
transmitting signals
and messages to at

| least one of plurality

product groups
based on the
categories ofa
multi-sensor
detection device, a
maritime cargo
container, a cell

phone. phone. unlock doors, send | transmitting signals phone detection
‘onal 1 d device, or a locking
Android Team Android Team signals to contro and messages to a device;
Awareness Kit Awareness Kit components of a cell phone detection ,
ATAK (built on the | ATAK (built on the vehicle, send signals device; a receiver a receiver for
. : . . to control for receiving signals as
Android operating Android operating components ofa from the cell phone | °°e!¥ing signals,
system) providesa | system) provides a bul din or detection device: data or messages
single interface for | single interface for d B, OF. -- , from at least one of
. _ etect at least one of :
viewing and viewing and a chemical plurality product
controlling different | controlling different . . groups based on the
. . biological... agent .
CBRN-sensing CBRN-sensing such that the categories of a
technologies technologies communication multi-sensor
os detection device, a
device is capable of we
communicating maritime cargo
monitorin ° container, a cell
detectin ie» d phone detection
B device, or a locking
controlling. device:
evice;
Google Nest x Yale | Google Nest * Yale Whereupon the
Lock is connected Lock is connected device. is
to the Nest app; you | to the Nest app; you in terconnecte dtoa
can lock orunlock | can lock or unlock roduct equipped to
your door from your | your door from your product eq ep fr
hone phone. receive signals from
P , , or send signals to
Android Team Android Team foe Orne
Awareness Kit, Awareness Kit, x xX deac tivate security
ATAK (built on the | ATAK (built on the svstems, activate or
Android operating Android operating Teac tivate multi-
system) providesa | system) provides a sensor detection
single interface for | single interface for systems, or to
viewing and viewing and yr fivate or
controlling different | controlling different deactivate cell
CBRN-sensing CBRN-sensing hone detection
technologies technologies P

systems

50

Case (aec?0855-EGBoddorement 9 Radelaw 06/2023 0fageb24f 85

Android Team Android Team
: , Awareness Kit,

ATAR (built on the ATAK (built on the wherein at least one

system) cn digi i Android operating satellite connection,
¥ applicatio © system) is a digital Bluetooth

a lable to application connection, WiFi
warfishters available to connection, internet
throu Put the warfighters connection, radio

DoD AT ‘AK offers throughout the frequency (RF)

wa rfighters DoD. ATAK offers a transmitter for connection, cellular
eosnatial mappin warfighters transmitting signals connection,

& fox situation P I 8 geospatial mapping and messages to a broadband
awareness durin for situational cell phone detection | connection... short
combat — on a . awareness during device; a receiver range radio
end-user device combat — on an for receiving signals frequency (RF)

such as a end-user device from the cell phone connection is
smartphone or a such as a detection device; capable of signal
ee t. With smartphone or a communication with
DTRA’s tablet. With DTRA’s the transmitter and
contribution, ATAK contribution, ATAK the receiver of the
now incht des now includes communication
chemical _ chemical, device and
biolo ical biological, transceivers of the
radiolo sical an d radiological, and products;
nuclear (CBRN) nuclear (CBRN)
plug-ins. plug-ins.
Android Team .
Awareness Kit, android eam
ATAK (built on the | jTaK (built on the
Android operating . .
: . Android operating .
system) is a digital : os whereupon a signal
+ gs system) is a digital .
application a: sent to the receiver
: application
available to : of the cell phone
‘available to : ”
warfighters warfighters detection device
throughout the throughout the from at least one of
DoD. ATAK offers D € the chemical sensor,
oD, ATAK offers : :
warfighters warfighters the biological
geospatial mapping : : sensor, the
vas geospatial mapping :
for situational for situati explosive sensor,
: or situational
awareness during the human sensor, x

combat — on an
end-user device
such a5 a
smartphone or a
tablet, With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

awareness during
combat — on an
end-user device
such as a
smartphone or a
tablet. With DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

the contraband
sensor, or the
radiological sensor,
causes a signal that
includes at least one
of location data or
sensor data to be
sent to the cell
phone.

Case (2r240856-EGBodDouument 9Aageiiad 06/29é23 07 agf2524f 85

Exhibit F

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Case Casec242256-EGBoduntentent 9 Ragelg@P06/Filée3 09/eg2b24f 85

CLAIM CHART FOR THE SMARTPHONE COMPARISON BETWEEN
THE GOOGLE PIXEL 5 AND LG V60 ThinQ 5G. THE GOOGLE PIXEL 5
SPECIFICATIONS AND THE PATENT CLAIMS’ LIMITATIONS FOR
THE ‘287, ‘439, & ‘189 PATENTS ARE THE SAME AS IN LARRY
GOLDEN vy. GOOGLE LLC; CAFC CASE NO. 22-1267

cS)

MEP ey

aM ltetee Ly

A monitoring

device, comprising:

A cell phone
comprising:

A communication
device of at least
one of a cell phone,
a smart phone, a
desktop, a handheld,
a PDA, a laptop, or
a computer terminal
for monitoring
products,
interconnected to a
product for
communication
therebetween,
comprising:

CPU: Octa-core (1
x 2.4 GHz Kryo 475
Prime & | x 2.2
GHz Kryo 475 Gold
& 6 x 1.8 GHz
Kryo 475 Silver)
System-on-a-chip:
Qualcomm
Snapdragon 765G

Chipset: Qualcomm
SM8250
Snapdragon 865 5G
(7 nm+). CPU:
Octa-core (1x2.84
GHz Cortex-A77 &
3x2.42 GHz Cortex-
ATT & 4x1.80 GHz
Cortex-A55). OS:
Google Android 10,
upgradable to
Android 13
Modem:
Qualcomm’s
Snapdragon X55
5G modem

at least one central
processing unit

(CPU),

a central processing
unit (CPU) for
executing and

carrying out the
instructions of a
computer program;

at least one of a
central processing
unit (CPU) for
executing and
carrying out the
instructions of a
computer program,
a network processor
which is specifically
targeted at the
networking
application domain,
or a front-end
processor for
communication
between a host
computer and other
devices;

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Case CASC2-10258-EGBoddeaument 9Alagéileak O6/EM23 OM agLEAHT 85

Ambient
Temperature sensor
supported by the
Android platform.
Measures the
ambient room
temperature in
degrees Celsius
(°C). Monitoring air

Ambient
Temperature sensor
supported by the
Android platform.
Measures the
ambient room
temperature in
degrees Celsius
(°C). Monitoring air

at least one
temperature sensor
in communication
with the at least one
CPU for monitoring
temperature;

(illumination) in 1x.
Controlling screen
brightness. Screen:
6-inch flexible
OLED display at
432 ppi

temperatures.
Monitoring air temperatures
temperatures.
Gravity sensor Gravity sensor
supported by the supported by the
Android platform. Android platform. at least one motion
Measures the force | Measures the force :
of gravity in of gravity in communication with
m/s2 that is applied | m/s2 that is applied the at least one
to a device on all to a device on all CPU:
three physical axes | three physical axes ,
(x, y, z). Motion (x, y, 2). Motion
detection (shake, detection (shake,
tilt, etc.). tilt, etc.).
Light sensor Light sensor
supported by the supported by the
Android platform. Android platform. at least i.
Measures the Measures the cast one fo
ambient light level | ambient light level sereen 10
monitoring in

(illumination) in Ix.
Controlling screen
brightness. Screen:
6.8 inches, 109.8
cm2 OLED display
at 395 ppi density

communication with
the at least one
CPU;

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Case (2c2008b5-EGBoddovnment 9-Ragelad O6/ERé28 OMagee53 Hf 85

Connectivity: Wi-Fi
802.11 a/b/g/n/ac/6,

at least one ofa
satellite connection,

connection, WiFi
connection, internet
connection, radio

Bluetooth

at least one satellite

connection, internet

connection,
Bluetooth
connection, WiFi

Connectivity: Wi- nat pan
Fi 5 (a/b/g/n/ac) 2.4 , ° at least one global frequency (RF) : .
Bluetooth 5.1, wee : connection, radio
+ 5.0 GHz, positioning system | connection, cellular
A2DP, LE, aptX we . frequency (RF)
Bluetooth 5.0 + LE, (GPS) connection in connection, ”
HD. NFC, GPS, . . connection, cellular
NFC, GPS communication with broadband .
GPS, GLONASS, : connection,
(GLONASS, Galileo, BDS the at least one connection, long broadband
Galileo, BeiDou), : ; . CPU; range radio :
eSIM capable Single SIM (Nano- frequency (RF) connection, long
P SIM) or Hybrid queney and short-range
connection, short :
Dual SIM (Nano- range radio radio frequency
SIM, dual stand-by) e (RF) connection, or
frequency (RF) ane
: GPS connection;
connection, or GPS
connection;
Connectivity: Wi-Fi wherein the only
802.11 a/b/g/n/ac/6, wherein at least one type or types of
Connectivity: Wi- dual-band, Wi-Fi of... WiFi communication with
: ty: Wi Direct, DLNA. at least one of an connection, internct | the transmitter and
Fi 5 (a/b/g/n/ac) 2.4 BI th 5.1 . . . di h : fth
+ 5.0 GHz, uetooth 5.1, internet connection connection, radio the receiver of the .
Bluetooth 5.0+LE A2DP, LE, aptX ora Wi-Fi frequency (RF) communication
NEC GPS , HD. NFC, GPS, connection in connection, cellular device and
GPS, GLONASS, | communication with connection... transceivers of the
(GLONASS, Gali . :
: : alileo, BDS. the at least one capable of signal | products is a type or
Galileo, BeiDou), Single SIM CPU: as ith lected fr
eSIM capable ingle (Nano- 3 communication with | types selected from
SIM) or Hybrid the transmitter or the group... of
Dual SIM (Nano- the receiver; satellite, Bluetooth,
SIM, dual stand-by) WiFi...
Connectivity: Wi-Fi
802.11 a/b/g/n/ac/6, at least one ofa...
Connectivity: Wi- dual-band, Wi-Fi at least one ofa Bluetooth
ty: Direct, DLNA. Bluetooth connection, WiFi
Fi 5 (a/b/g/n/ac) 2.4 : .
Bluetooth 5.1, connection, a connection, internet
+ 5.0 GHz, : ;
A2DP, LE, aptX cellular connection, connection...
Bluetooth 5.0 + LE, :
NEC. GPS HD. NFC, GPS, ora satellite cellular XK
(GL ON ‘ASS GPS, GLONASS, connection in connection... short
; Galileo, BDS. communication with range radio
- the at least one frequency (RF)

eSIM capable

Galileo, BeiDou),

Single SIM (Nano
SIM) or Hybrid
Dual SIM (Nano-

SIM, dual stand-by)

CPU;

connection

connection, or GPS

?

55
Case C2r2400256-EGBoddanument 9 Aageiiad 06/2Mé23 Off eg@684Hf 85

Google’s Android
operating system
features a lock
mechanism to
secure your phone,

Google's Android
operating system
features a lock
mechanism to
secure your phone,
known as pattern

at least one locking
mechanism in

whereupon the cell

in k To set, deag lock. To set, drag | communication with phone is
our finer alon your finger along | the atleastone CPU | interconnected to
tos on ie one lines on the screen, for locking the the cell phone
To unlock th : To unlock the communication detection device to
Oo mmocs the phone, replicate device, the at least receive signals or
phone, replicate the the pattern drawn. one locking send signals to lock
pattem drawn. If If you fail to solve mechanism or unlock doors, to
you fail to solve the the pattern too configured to at activate or
pa ttern too many many times, the least one of engage | deactivate security
times, the phone phone locks and (lock) the systems, to activate
Hooks “ki d ae be cannot be unlocked conununication or deactivate multi-
unlloce wit out without logging device, disengage sensor detection
loggin g into the into the associated (unlock) the systems, or to
associated Google Google account. communication activate or
account. device, or disable deactivate the cell
Google Nest (make unavailable) phone detection
Google Nes Yar Yale Lock is the communication device;
connected to the device;
to the Nest app; you Nest app; you can
can lock or unlock | ,
ock or unlock your
your door from your door from your
phone. phone.
Pixel phones use at least one power
USB-C with USB em ee fo source comprising
2.0 power adapters USB-C Male to , at least one ofa
and cables. To USB-A Female battery, electrical
charge your phone Uses USB OTG connection, or x
with a USB- Technology wireless connection,
A power adapter, Cc . aL, to provide power to
ompatible with LG » as
use a USB-C to V60 ThinQ 5G the communication
USB-A cable. device;

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Case (2@r2400256-EGBodDotument 9Aageilad 06/2128 07 ag2624f 85

wherein the
communication
device is equipped
with a biometric

BIOMETRICS: BIOMETRICS: wherein the cell lock disabler that
: : ‘ : . . phone is equipped | incorporates at least
Biometric factors Biometric factors : : . :
with a biometric one of a fingerprint
allow for secure allow for secure 1 : ws :
wo ws ock disabler that recognition, voice
authentication on authentication on at least one incorporates at least recognition, face
the Android the Android biometric sensor in 'P enon,
. one ofa fingerprint | recognition, hand
platform, The platform. The communication with recognition, voice eometry, retina
Android framework | Android framework the at least once oe Beomeny>
. . wat recognition, face scan, iris scan and
includes face and includes face and CPU for providing “ .
. : : . recognition, hand signature such that
fingerprint fingerprint biometric : ss
: . . : 1 gs geometry, retina the communication
biometric biometric authentication to ns : :
. oe os scan, iris scan, or device that is at
authentication. authentication. access the :
: ; oe signature such that | least one of the cell
Android can be Android can be communication .

: : . the cell phone is phone, the smart
customized to customized to device; locked by th h he deskt
support other forms | support other forms ocked by the phone, the desktop,

of biometric of biometric biometric lock the handheld, the
a gs disabler to prevent | PDA, the laptop or
authentication (such | authentication (such : : th
as Iris) as Iris) unauthorized use; e computer
, . and terminal is locked
by the biometric
lock disabler to
prevent
unauthorized use
Android Team Android Team
Awareness Kit, Awareness Kit,
ATAK (built on the | ATAK (built on the
Android operating Android operating the communication
system) providesa | system) provides a the cell phone is at device is at least a
single interface for | single interface for least a fixed, fi bl
viewing and viewing and portable or mobile ixed, portable or
controlling different | controlling different at least one sensor communication mobile
CBRN-sensing CBRN-censing for chemical, device communication
technologies technologies biologi cal, or . interconnected to . device
whether that is a whether that is a human detection in the cell phone interconnected to a
wearable wearable communication with detection device fixed, portable or
smartwatch that smnartwatch that the at least one capable of wired or mobile product
measures a measures a CPU; wireless capab eo foes or
wartighter’s vitals warfighter’s vitals communication communication
(e.g., heart rate) ora | (e.g., heart rate) ora therebetween; and therebetween...

device mounted on
a drone to detect
chemical warfare
agents.

device mounted on
a.drone to detect
chemical warfare
agents

57

Case (asé-024008456-EGBoddaaument 9Aageilay 06/723 0 agL5B4f 85

SIM, dual stand-by)

Android Team .
Awareness Kit, Android T Rit
ATA (out on he | ATAK (built on the
oid operating . .
eo aes Android operating
system) is a digital : vs
application system) is a digital
available to application
warfighters available to
throughout the wartighters at least orie ofa
DoD. ATAK offers throughout the one or more chemical sensor, a wherein the
warfighters DoD. ATAK offers detectors in biological sensor, an communication
geospatial mapping warfighters communication with | explosive sensor, a device receives a
for situational geospatial mapping the at least one CPU human sensor, a signal via any of
awareness during for situational for detecting at least | contraband sensor, one or more
combat — on an awareness during one of chemical, or a radiological products listed in
end-user device combat — onan biological, sensor capable of | any of the plurality
such as a end-user device radiological, or being disposed of product grouping
smartphone or a such asa explosive agents; within, on, upon or categories;
tablet. With smartphone ora adjacent the cell
DTRA’s tablet. With DTRA’s phone;
contribution, ATAK. contribution, ATAR
now includes now includes
chemical, ch eImc al,
biological, biological,
radiological, and radiological, and
nuclear (CBRN) nuclear (CBRN)
plug-ins. plug-ins.
Connectivity: Wi-Fi
802.11 a/b/g/n/ac/6,
eo yas dual-band, Wi-Fi
3 (abyinc) 24 Direct, DLNA. at least one radio-
+ 5.0 GHz Bluetooth 3.1, frequency near-field
Bluetooth 5.0 + LE A2DP, LE, apt* communication
NFC. GPS ; HD. NFC, GPs, (NFC) connection in X X
(GLON ASS GPS, GLONASS, communication with
Galileo, BeiDou) Galileo, BDS. the at least one
eSIM capable , Single SIM (Nano- CPU...
SIM) or Hybrid
Dual SIM (Nano-

58

Case (.attc24902856-EGBoddoaument 9Aageiias 06/1423 097 eg6240f 85

Google Nest x Yale
Lock is connected
to the Nest app; you

Google Nest x Yale
Lock is connected
to the Nest app; you

at least one of a
transmitter or a
transceiver in
communication with
the at least one CPU
configured to send
signals to monitor at
least.one of a door,
a vehicle, ora

a transmitter for
transmitting signals
and messages to at
least one of plurality
product groups
based on the
categories ofa
multi-sensor
detection device, a

canlock or unlock | can lock or unlock building. send maritime cargo
your door from your | your door from your : & . container, a cell
hone hone signals to lock or a transmitter for hone detection
phone. phone. unlock doors, send | transmitting signals Pp
. device, or a locking
Android Team Android Team signals to control and messages to a device;
Awareness Kit Awareness Kit components ofa cell phone detection ;
ATAK (built on the ATAK (built on the vehicle, send signals device; a receiver a receiver for
Android operating | Android operating to control for receiving signals receiving signals
system) provides a | system) provides a components ofa from the cell p hone data or messages
’ ’ : : building, or... detection device;
single interface for | single interface for from at least one of
viewing and viewing and detect at least one of plurality product
controlling different | controlling different if ch emical groups based on the
CBRN-sensing CBRN-sensing biological... agent categories of a
ti - : such that the go
echnologies technologies communication multi-sensor
+t detection device, a
device is capable of we
communicating maritime cargo
monitoring ° container, a cell
detecting an d phone detection
controllin device, or a locking
& device;
Google Nest x Yale | Google Nest x Yale whereup on he
Lock is connected Lock is connected oedevice. is on
to the Nest app; you | to the Nest app; you interconnected to a
can lock or uniock can lock or unlock :
product equipped to
your door from your | your door from your vo
hone phone. receive signals from
Phone. or send signals to
Android Team Android Team ne oro
Awareness Kit, Awareness Kit, X x denctiva te securi
ATAK (built on the | ATAK (built on the systems oe
Android operating | Android operating deactivate multi-

system) provides a
single interface for
viewing and
controlling different
CBRN-sensing
technologies

system) provides a
single interface for
viewing and
controlling different
CBRN-sensing
technologies

sensor detection
systems, or to
activate or
deactivate cell
phone detection
systems

59

Case Ca}72400854-EGBo@omntient SAagelad 06 /2zida3 0WA42 6PR4of 85

android Team Android Team
: > Awareness Kit,
ATAK (built on the ATAK (built on the wherein at least one
Android operating Android . Hi .
tem) is 2 digital droi operating satellite connection,
sys application system) is a digital Bluetooth
Pr lable to application connection, WiFi
warfighters available to connection, internet
throu eat the wartighters connection, radio
DoD AT AK offi throughout the frequency (RF)
° Ww arfi ters “TS | - DoD. ATAK offers a transmitter for connection, cellular
ti ° . wartighters transmitting signals connection,
eee a" tation P D & geospatial mapping and messages toa broadband
a ren ess dun for situational cell phone detection | connection... short
w what ae awareness during device; a receiver tange radio
cod. devi combat — on an for receiving signals frequency (RF)
“n cuchosa end-user device from the cell phone connection is
such as a detection device; capable of signal
smartphone or a smartphone or a communication with
a tablet. With DTRA’s the transmitter and
contribution, ATAK contribution, ATAK the receiver of the
now woh des now includes communication
chemical chemical, device and
biolo ical biological, transceivers of the
radiolo el an. d radiological, and products;
nuclear (CBRN) nuclear (CBRN)
plug-ins. plug-ins.
android Tea Android Team
ATAK (built on the Awareness Kit,
: : ATAK (built on the
Android operating Android operatin
system) is a digital Operanng. whereupon a signal
as system) is a digital :
application as sent to the receiver
: application
available to : of the cell phone
available to : .
warfighters detection device
warfighters
throughout the from at least one of
throughout the :
DoD. ATAK offers the chemical sensor,
DoD. ATAK offers : .
wartighters warfighters the biological
geospatial mapping . . sensor, the
for situati geospatial mapping :
or situational oe explosive sensor,
. for situational
awareness during the human sensor, x

combat — on an
end-user device
such as a
smartphone or a
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

awareness during
combat — on an
end-user device
such as a
smartphone or a
tablet. With DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

the contraband

sensor, or the
radiological sensor,
causes a signal that
includes: at least one
of location data or

sensor data to be
sent to the cell
phone.

CaseCh8-@4- G28 -EGicDoeumént Fag FilRO006/FUES OPayEanP of 85

Exhibit G

61
CaseCasé: 24422561 -E Ddclimentngnt Pagé:ilt0106/ Files: O8MAd202 47 85

CLAIM CHART FOR THE SMARTPHONE COMPARISON BETWEEN
THE GOOGLE PIXEL 5 AND THE ASUS / QUALCOMM. THE GOOGLE
PIXEL 5 SPECIFICATIONS AND THE PATENT CLAIMS’ LIMITATIONS
FOR THE ‘287, ‘439, & ‘189 PATENTS ARE THE SAME AS IN LARRY
GOLDEN vy. GOOGLE LLC; CAFC CASE NO. 22-1267

Asus /
Qualcomm

Snapdragon
Insiders

Smartphone for

A monitoring

device, comprising:

A cell phone
comprising:

A communication
device of at least
one of a cell phone,
a smart phone, a
desktop, a handheld,
a PDA, a laptop, or
a computer terminal
for monitoring
products,
interconnected to a
product for
communication
therebetween,
comprising:

CPU: Octa-core (1
x 2.4 GHz Kryo 475
Prime & 1 x 2.2
GHz Kryo 475 Gold
& 6 x 1.8 GHz
Kryo 475 Silver)
System-on-a-chip:
Qualcomm
Snapdragon 765G

Chipset:
Qualcomm SM8350
Snapdragon 888 5G
(5 nm) CPU: Octa-

core (1x2.84 GHz
Cortex-X1 &
3x2.42 GHz Cortex-
A78 & 4x1.80 GHz
Cortex-A55). OS:
Google Android 11.

Modem:
Snapdragon® X60

5G Modem-RF

System.

at least one central
processing unit
(CPU);

a central processing
unit (CPU) for
executing and

carrying out the
instructions of a
computer program;

at least one of a
central processing
unit (CPU) for
executing and
carrying out the
instructions of a
computer program,
a network processor
which is specifically
targeted at the
networking
application domain,
or a front-end
processor for
communication
between a host
computer and other
devices;

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CaseCa86:@4. 00536 -EGRcDvuenment Fbg FiledD6/FHas. OWsAbe aR St 85

Ambient
Temperature sensor
supported by the
Android platform.
Measures the
ambient room
temperature in

Ambient
Temperature sensor
supported by the
Android platform.
Measures the
ambient room

at least one
temperature sensor
in communication
with the at least one

degrees Celsius temperature in CPU for monitoring
(°C). Monitoring air degrees Celsius temperature;
temperatures. (°C). Monitoring air
Monitoring air temperatures.
temperatures.
Gravity sensor Gravity sensor
supported by the supported by the
Android platform. Android platform. at least one motion
Measures the force | Measures the force sensor in
of gravity in of gravity in a .
m/s2 that is applied | m/s2 that is applied oe ncn with
to a device on all to a device on all ° “CRU. one
three physical axes | three physical axes °
(x, y, Z). Motion (x, y, Z). Motion
detection (shake, detection (shake,
tilt, etc.). tilt, etc.).
Light sensor Light sensor
supported by the supported by the
Android platform. Android platform. t least wo.
Measures the Measures the at least one ton
ambient light level | ambient light level screen Tor
(illumination) in 1x. | (llumination) in Ix. monitoring 10
. . communication with
Controlling screen | Controlling screen the at least one
brightness. Screen: | brightness. Screen: CPU:
6-inch flexible 6.78 inches, 109.5 ,
OLED display at em? OLED display
432 ppi at 395 ppi density

63

CaseCa26:-24 0nd -EGRcDoeumént bg éiled06/Aek OWA ADP ST 85

Connectivity: Wi-Fi

Bluetooth

at least one ofa
satellite connection,

at least one satellite

connection, WiFi connection,
ot Bluetooth
802,11 a/b/g/n/ac/ connection, internet connection, WiFi
Connectivity: Wi- 6e, dual-band, Wi- connection, radio connectio internet
Fi 5 (a/b/g/n/ac) 2.4 | Fi Dir, Bluetooth: at least one global frequency (RF) mM .
ves : connection, radio
+ 5,0 GHz, 5,2, A2DP, LE, positioning system | connection, cellular frequency (RF)
Bluetooth 5.0 + LE, aptX HD, aptX (GPS) connection in connection, connen tion cell ular
NFC, GPS Adaptive. NFC, communication with breadband connection,
(GLONASS, GPS, GLONASS, the at least one connection, long broadband
Galileo, BeiDou), BDS, Galileo, CPU; range radio connection, lon
eSIM capable QZSS, Dual SIM frequency (RF) &
: and short-range
(Nano-SIM, dual connection, short .
: radio frequency
stand-by) range radio (RF) connection, or
frequency (RF) GPS connection;
connection, or GPS >
connection;
aa os wherein the only
om tt atleftfael wherein at least one type or types of
oe wags ; : of... WiFi communication with
ne Mi °° Guat Band, we at least one ofan | connection, internet | the transmitter and
1 ¢ 5 ene ) 2. 5 3 ADDP. LE ° internet connection connection, radio the receiver of the
Bluetooth 50 + LE ar +X HD i tX or a Wi-Fi frequency (RF) communication
NEC GPS > aia ti . Nec connection in connection, cellular device and
, pive. 2 communication with connection... transceivers of the
GLONASS GPS, GLONASS.
G 4 B Dor ) BDS Galileo , the at least one capable of signal products is a type or
“SIM “ ble > QZSS Dual SIM CPU; communication with | types selected from
° capa , SIM, dual the transmitter or the group... of
(Nano- d-by ua the receiver; satellite, Bluetooth,
stand-by) WiFi...
°° 0. ll agin! at least one ofa...
Connectivity: Wi- | 6e, dual-band, Wi- | least one of a so Fi
Fi 5 (a/b/g/n/ac) 2.4 | Fi Dir, Bluetooth: connection. a connection internet
BI : ) 207 LE oD. oe cellular connection, connection...
NEC GPS , ay ti , NFC or a satellite cellular x
(GLON ‘ASS GPS GLON ASS connection in connection... short
Galileo, BeiDou), BDS, Galileo, | Conmuncaon with fremves radio
eSIM capable QZSS, Dual SIM ¢ at least one equency (RF)
, SIM, dual CPU; connection, or GPS
(Nano-s d-by) ua connection;

64
CaseCa88: A4 Cob -EGbcDoeumént Fag &ile0406/FUES ObAgE a Sf 85

Google’s Android
operating system
features a lock
mechanism to
secure your phone,
known as pattern

Google's Android
operating system
features a lock
mechanism to
secure your phone,
known as pattern

at least one locking
mechanism in

whereupon the cell

lock, To set, drag lock. To set, drag | communication with phone is
our finger along your finger along | the atleastone CPU | interconnected to
Ines on screen lines on the screen. for locking the the cell phone
To unlock the ° To unlock the communication detection device to
hone. replicate the phone, replicate device, the at least receive signals or
phone, ata If the pattern drawn. one locking send signals to lock
oa ‘lve th If you fail to solve mechanism or unlock doors, to
you tet ° solve me the pattern too configured to at activate or
vemes. the, ‘hone many times, the least one of engage | deactivate security
locks an de ee ot be phone locks and (lock) the systems, to activate
unlocked without cannot be unlocked communication or deactivate multi-
logging into the without logging device, disengage sensor detection
associated Google into the associated (unlock) the systems, or to
Google account. communication activate or
account. device, or disable deactivate the cell
Google Nest (make unavailable) phone detection
Google Nes Yale Lock is the communication device;
to the Nest app; you connected to the device;
can lock or unlock Nest app; you can
lock or unlock your
your door from your d
hone oor from your
P , phone.
ASUS / Qualcomm
: Smartphone for
estates | sapdagon sider | es ome pos
Dual Port 32GB
2.0 power adapters USB Type C at least one of a
and cables. To Memory Stick: battery, electrical
charge your phone 32GB Use T e C connection, or xX
with a USB- Al YP wireless connection,
A dapter, ash drive, Features to provide power to
Power a¢aprel, USB Type-C P owe!
use a USB-C to the communication
USB-A cable connector and a device;
, traditional USB ,
connector.

65

CaseC28:@4 GBBL-EGEycMveumant Pag Filees0G/FWAE OPAL ARR Of 85

BIOMETRICS:

BIOMETRICS:

wherein the cell

wherein the
communication
device is equipped
with a biometric
lock disabler that

: ° . : hone is equipped | incorporates at least
Biometric factors Biometric factors pac : . :
allow for secure allow for secure with a biometric one ofa fingerprint
authentication on authentication on at least one . lock disabler tha t recognition, ‘eco
the Android the Android biometric sensor in eee a o ont recoenit oe hand
platform, The platform. The communication with recomni iow eee sobre try retina
Android framework | Android framework the at least once veo itio , face a iris scan and
includes face and includes face and CPU for providing en VE d . h that
fingerprint fingerprint biometric recognition, han tec ature such tha
biometric biometric authentication to om. tie coan, of sevice that canon
aot entication. authentication. con on signature such that | least one of the cell
customized to customized to device; me on tiythe hone, jhe desitop
suppor ones sup n ort other fonins biometric lock the handheld, the
oe » oe i t the lapt
authentication (such | authentication (such disabicr to P awe re 6 tap fe Por
Iris) as Iris) unauthorized use; ¢ computer
as , ° and terminal is locked
by the biometric
lock disabler to
prevent
unauthorized use
Android Team Android Team
Awareness Kit, Awareness Kit,
ATAK (built on the | ATAK (built on the
Android operating Android operating the communication
system) provides a | system) provides a the cell phone is at

single interface for
viewing and
controlling different
CBRN-sensing
technologies,
whether that is a
wearable
smartwatch that
measures a
warfighter’s vitals
(e.g., heart rate) or a
device mounted on
a drone to detect
chemical warfare
agents.

single interface for
viewing and
controlling different
CBRN-sensing
technologies,
whether that is a
wearable
smartwatch that
measures a
wartighter’s vitals
(e.g., heart rate) or a
device mounted on
a drone to detect
chemical warfare
agents

at least one sensor
for chemical,
biological, or
human detection in
communication with
the at least one
CPU;

least a fixed,
portable or mobile
communication
device
interconnected to
the cell phone
detection device,
capable of wired or
wireless
communication
therebetween; and

device is at least a
fixed, portable or
mobile
communication
device
interconnected to a
fixed, portable or
mobile product,
capable of wired or
wireless
communication
therebetween...

66

CaseCh8é:@/4 000561 -EGclineumant Phy Filed6/FWAE ODAYEALOF 85

Android Team Android Team
Awareness Kit, Awareness Kit.
ATAK (built onthe | ATaK (puilt on the
Android operating : .
. . Android operating
system) is a digital ig a digital
application system) is a digita
available to oP ble on
rfichters available to
thr a oh t the warfighters at least one ofa
DoD nA AK offers throughout the one or more chemical sensor, a wherein the
“ rfighters DoD. ATAK offers detectors in biological sensor, an communication
ati Imavpi warfighters communication with | explosive sensor, a device receives a
oe a ta fi PP g geospatial mapping | the at least one CPU human sensor, a signal via any of
a arenes dodn for situational for detecting at least | contraband sensor, one or more
comnba t—on ae awareness during one of chemical, or a radiological products listed in
deuser device combat — on an biological, sensor capable of any of the plurality
on wich asa end-user device radiological, or being disposed of product grouping
tok s such as a explosive agents; within, on, upon or categories;
oe wi th a smartphone or a adjacent the cell
DIRA’s tablet. With DTRA’s phone;
As contribution, ATAK
contribution, ATAK. :
: now includes
now includes chemical
chemical, : ._
: . biological,
biological, . :
: : radiological, and
radiological, and nuclear (CBRN)
nuclear (CBRN) fui
plug-ins. Plug-ins.
Connectivity: Wi-Fi
802.11 a/b/g/n/ac/
Connectivity: Wi- 6e, dual-band, Wi- -
Fi 5 (a/b/g/n/ac)2.4 | FiDir. Bluetooth: | seast one radio" ‘
+ 5,0 GHz, 5.2, A2DP, LE, a motication
Bluetcoth 5.0 + LE, aptX HD, aptX -
NFC, GPS Adaptive. NFC, (NFO) connection x x
(GLONASS, _ GPS, GLONASS, the at least one
Galileo, BeiDou), BDS, Galileo, CPU
eSIM capable QZSS, Dual SIM ™
(Nano-SIM, dual
stand-by)

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CaseCa26@:@4 00554 -EGEcDoeumént bg &iled06/FOES: (BAYH AEEST 85

Google Nest x Yale
Lock is connected
to the Nest app; you

Google-Nest * Yale
Lock is connected
to the Nest app; you

at least one ofa
transmitter or a
transceiver in
communication with
the at least one CPU
configured to send
signals to monitor at
least one of a door,
a vehicle, or a

a transmitter for
transmitting signals
and messages to at
least one of plurality
product groups
based on the
categories of a
multi-sensor
detection device, a

can lock or unlock | can lock or unlock building, send maritime cargo
your door from your | your door from your signals to lock or a transmitter for container, a cell
phone. phone. sats phone detection
unlock doors, send | transmitting signals devi lock
: : signals to control and messages to a “— OF a Tocming
Android Team android Team components of a cell phone detection evice,
: ? : > vehicle, send signals |} device; a receiver :
ATAK (built on the ATAK (built on the to control for receiving signals a Tecelver for -
Android operating Android operating components ofa from the cell phone receiving signals,
system) providesa | system) provides a b po : Pr : data or messages
: : : : uilding, or... detection device;
single interface for | single interface for from at least one of
- +e detect at least one of .
viewing and viewing and a chemical plurality product
controlling different | controlling different biolosical... agent groups based on the
CBRN-sensing CBRN-sensing seh that ae categories ofa
technologies technologies 5 nication multi-sensor
d commu ble of detection device, a
evice Is scat eo maritime cargo
oe nonitorin NE» container, a cell
detecti B d phone detection
e vara an device, or a locking
controlling. device;
th
Googie Nest x Yale | Google Nest x Yale whereupon we
: . communication
Lock is connected Lock is connected device. is
to the Nest app; you | to the Nest app; you interconnecte dtoa
can lock orunleck | can lock or unlock product equipped to
your door from your | your door from your receive signals from
phone. phone. or send signals to
Android Team Android Team sock or unlock
. . oors, activate or
Awareness Kit, Awareness Kit, Xx x deactivate security
ATAK (built on the | ATAK (built on the systems, activate or
Android operating Android operating deac tiva te multj-
system) provides a system) provides a sensor detection
single interface for | single interface for systems. or to
viewing and viewing and ee tiva te or
controlling different | controlling different deactivate cell
CBRN-sensing CBRN-sensing hone detecti
hnologies technologies phone cerecnon
tec systems

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CaseCa8@- 24.0084 -EGRcDueument Fag FileaOe/FWAE OPALE BP SF 85

Android Team .
Awareness Kit, Android Tear
‘android operating ATAK (built on the wherein at least one
system) is a digital Android operating satellite connection,
aplication system) is a digital Bluetooth
aoe table to application connection, WiFi
warfighters available to connection, internet
throughout the warfighters connection, radio
DoD. ATAK offers throughout the frequency (RF)
arfighters DoD. ATAK offers a transmitter for connection, cellular
war . warfighters transmitting signals connection,
eee ae hon P 1" 8 geospatial mapping and messages to a broadband
awareness duting for situational cell phone detection connection... short
combat — on an awareness during device; a receiver range radio
end-user device combat — on an for receiving signals frequency (RF )
hasa end-user device from the cell phone - connection is
“teh s such as a detection device; capable of signal
me wv h a smartphone or a communication with
TRAY. tablet. With DTRA’s the transmitter and
tribution, ATAK contribution, ATAK the receiver of the
comb k d now includes communication
e hemical es chemical, device and
biological biological, transceivers of the
radiological an 4 radiological, and products;
nuclear (CBRN) nuclear (CBRN)
plug-ins. plug-ins.
Android Team Android Team
Awareness Kit, Awareness Kit,
ATAK (built on the | ATAK (built on the
Android operating Android operating
system) is a digital | system) is a digital whereupon a signal
application application sent to the receiver
available to available to of the cell phone
warfighters warfighters detection device
throughout the throughout the from at least one of
DoD. ATAK offers | DoD. ATAK offers the chemical sensor,
wartighters warfighters the biological
geospatial mapping | geospatial mapping sensor, the
for situational for situational explosive sensor,
awareness during awareness during the human sensor, x

combat — on an
end-user device
such as a
smartphone or a
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biclogical,
radiological, and
nuclear (CBRN)
plug-ins.

combat — on an
end-user device
such asa
smartphone or a
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

the contraband

sensor, or the
radiological sensor,
causes a signal that
includes at least one
of location data or

sensor data to be
sent to the cell
phone.

' CaseC 88: QA CHESEL-EGacineumant PagEileOO0G/ FURS OPAMP Of 85

Exhibit H

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CaseCasé: @4422561-E@Mociimentnént Pageé:iitt00s6/ File O8MAE20R 4f 85

PLAINTIFF’S ILLUSTRATIVE CLAIM CHART
FOR PATENT INFRINGEMENT

Below, is an illustrative claim chart of how the Samsung Galaxy Book? Pro 360 PC /

Tablet directly infringes claim 5 of Plaintiff's ‘287 patent, and claim | of Plaintiff's “189 patent.
Also, the chart illustrates how Intel® Core™ 15-1235U / Intel® Core™ 17-1255U CPU

contributes to the infringement of the Samsung Galaxy Book? Pro 360 PC / Tablet, and has “no

substantial non-infringing use”. Plaintiff's CPU is referenced in 12 limitations of claim 5 of

Plaintiff's ‘287 patent. Every claim limitation is covered.

Samsung Galaxy Book2 Pro 360
[PC Mode or Tablet Mode]

Patent #:
10,163,287; Indep.
Claim 5

Patent #: 9,096,189;
Independent Claim 1

This “doctrine of equivalent’ element performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claim.

A monitoring device,
comprising:

A communication device of at
least one of a cell phone, a smart
phone, a desktop, a handheld, a

PDA, a laptop, or a computer

terminal for monitoring

products, interconnected to a

product for communication
therebetween, comprising:

CPU: Intel® Core™ 15-1235U / Intel® Core™ 17-
1255U. Processor Speed 1.3GHz / 1.7 GHz. Clock
900 - 4400 MHz / 1200 - 4700 MHz. L1 Cache
928 KB / 928 KB. Cores 10/10. Threads 12 / 12.
Preinstalled Operating System Windows 11 Home

This “doctrine of equivalent’ element performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claims.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one central
processing unit (CPU);

at least one of a central
processing unit (CPU) for
executing and carrying out the
instructions of a computer
program, a network processor
which is specifically targeted at
the networking application
domain, or a front-end processor
for communication between a
host computer and other devices;

Ad

CaseCh2é-e4G25hl-EGRciboeumént Pagéileti0G/FURE OPage2n2 of 85

Technical Specifications: CPU Temperature Sensor
reached 99° C. Surface temperature: W,A,S,D
Keys - 42.1 °C, Keyboard Middle - 44.1 °C, Palm
Rest - 37.0 °C

Literal Infringement, When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology,

Contributory infringement. This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one temperature
sensor in
communication with
the at least one CPU for
monitoring
temperature;

With the infrared sensor the device can detect
motion by measuring the infrared (IR) light
radiating from objects in its field of view

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one motion
sensor in
communication with
the at least one CPU;

Available in two screen sizes (13.3” and 15.6”).
Plus, the screen automatically adapts to any
lighting environment, so it’s easy on the eyes,
thanks to a 1MM:1 contrast ratio

Literal Infringement. When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one viewing
screen for monitoring in

communication with

the at least one CPU;

GPS: If you turn on satellite-based GPS, your
tablet can find your exact position. Microsoft
Windows 11 has added a location services feature
that uses IP addresses and Wi-Fi positioning to
predict your location.

This “doctrine of equivalent’ clement performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claim.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book? Pro 360

at least one global

positioning system
(GPS) connection in
communication with
the at least one CPU;

at least one satellite connection,
Bluetooth connection, WiFi
connection, internet connection,
radio frequency (RF)
connection, cellular connection,
broadband connection, long and
short-range radio frequency (RF)
connection, or GPS connection;

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CaseCh86:@4 0056 -EGRcDneumnént Gag &ilet6/FOWAR OPAgR AR Sf 85

High speed internet and Microsoft account
required for Windows 11 Home and Windows 11
Pro. Networking: 802.11ax (Wi-Fi 6E), Bluetooth
Standard: Bluetooth 5.0

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one of an
internet connection or a
Wi-Fi connection in
communication with
the at least one CPU;

wherein the only type or types of
communication with the
transmitter and the receiver of
the communication device and
transceivers of the products is a

Networking: Bluetooth Standard: Bluetooth 5.0.
802.1lax (Wi-Fi 6E),

Literal Infringement, When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one ofa
Bluetooth connection, a
cellular connection, or a
satellite connection in
communication with
the at least one CPU;

Galaxy Book2 Pro 360 Specs: The Galaxy Book2
Pro keyboard has an NFC connection spot. Tapped
the Galaxy phone on the spot to make contact;
then used the Samsung Flow phone software to
lock and unlock the tablet using the phone’s
fingerprint scanner.

Windows Hello face authentication utilizes a
camera specially configured for near infrared (IR)
imaging to authenticate and unlock.

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one locking
mechanism in
communication with
the at least one CPU for
locking the
communication device,
the at least one locking
mechanism configured
to at least one of engage
(lock) the
communication device,
disengage (unlock) the
communication device,
or disable (make
unavailable) the
communication device;

type or types selected from the
group... of satellite, Bluetooth,
WiFi...
X
Xx

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CaseCa86:- A406 -EGEcDoeuinent Pag &iletc6/FWaS OPAYEZOR Sf 85

Samsung’s Super-Fast Charging-enabled 65W AC
adapter in the box. It can deliver “8 hours” of
battery life in just 30 minutes of charging. The
Galaxy Book2 Pro 360 averaged around 10 hours
30 minutes on a full charge.

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: The CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360 and is

capable of carrying out the functional and
operational instructions of the PC.

at least one power
source comprising at
least one of a battery,
electrical connection, or
wireless connection, to
provide power to the
communication device;

Samsung’s Biometric Sensors. Fingerprint Reader,
Windows Hello face authentication utilizes a
camera specially configured for near infrared (TR)
imaging to authenticate and unlock.

Literal Infringement. When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element, '
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

at least one biometric
sensor in
communication with
the at least once CPU
for providing biometric
authentication to access
the communication
device;

wherein the communication
device is equipped with a
biometric lock disabler that
incorporates at least one ofa
fingerprint recognition, voice
recognition, face recognition,
hand geometry, retina scan, iris
scan and signature such that the
communication device that 1s at
least one of the cell phone, the
smart phone, the desktop, the
handheld, the PDA, the laptop or
the computer terminal is locked
by the biometric lock disabler to
prevent unauthorized use

Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
compatible with the Galaxy Book2 Pro 360

This “doctrine of equivaient’ element performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claim.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

Induced infringement: requires not ‘only
knowledge of the patent’ but also ‘proof the
defendant knew the [induced] acts were
infringing.’” DSU Med. Corp. v. JMS Co., 471
F.3d 1293, 1305 (Fed. Cir. 2006) Notice to Appear
sent to Samsung in Golden v. USA Case 13-307C

at least one sensor for
chemical, biological, or
human detection in
communication with
the at least one CPU;

communication therebetween. ..

the communication device is at
least a fixed, portable or mobile
communication device
interconnected to a fixed,
portable or mobile product,
capable of wired or wireless

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CaseCh86:A4(2561-EGcDoeumant Pag Filet40G/FUAE OPALEAR ST 85

Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
compatible with the Galaxy Book2 Pro 360

This “doctrine of equivalent’ clement performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claim.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the

one or more detectors in
communication with

the at least one CPU for

detecting at least one of
chemical, biological,

wherein the communication
device receives a signal via any
of one or more products listed in
any of the plurality of product

allegedly infringing Galaxy Book2 Pro 360 cplocie aes grouping categories;
Induced infringement: requires not ‘only
knowledge of the patent’ but also ‘proof the
defendant knew the [induced] acts were
infringing.” DSU Med. Corp. v. JMS Co., 471
F.3d 1293, 1305 (Fed. Cir. 2006) Notice to Appear
sent to Samsung in Golden v. USA Case 13-307C
The Galaxy Book2 Pro keyboard has a Near Field
Communications (NFC) connection spot. Briefly
tapped the Galaxy phone on the spot to make
contact .
at least one radio-
Literal Infringement. When there is a direct frequency near-field
° communication (NFC)
correspondence between the words in the patent connection in X
claims and the infringing product or device or os :
technology. communication with
the at least one CPU...

Contributory infringement. This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
compatible with the Galaxy Book2 Pro 360

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

Induced infringement: requires not ‘only
knowledge of the patent’ but also ‘proof the
defendant knew the [induced] acts were
infringing.’ DSU Med. Corp. v. JMS Ca., 471
F.3d 1293, 1305 (Fed. Cir. 2006). Notice to Appear
sent to Samsung in Golden v. USA Case 13-307C

at least one of a
transmitter ora
transceiver in
communication with
the at least one CPU
configured to send
signals to monitor at
least one of a door, a
vehicle, or a building...
or... detect at least one
of a chemical
biological... agent such
that the communication
device is capable of
communicating,
monitoring, detecting,
and controlling.

a transmitter for transmitting
signals and messages to at least
one of plurality product groups

based on the categories of a
multi-sensor detection device, a
maritime cargo container, a cell

phone detection device, ora

locking device;

a receiver for receiving signals,
data or messages from at least

one of plurality product groups
based on the categories of a

multi-sensor detection device, a

maritime cargo container, a cell
phone detection device, ora

locking device;

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The Galaxy Book2 Pro keyboard has a Near Field
Communications (NFC) connection spot. Briefly
tapped the Galaxy phone on the spot to make
contact; then used the Samsung Flow phone
software to lock and unlock the Galaxy Book2 Pro

tablet using the phone’s fingerprint scanner from whereupon the communication
across the room. device, is interconnected to a
product equipped to receive
Intel’s Lothi Neuromorphic Chip to Learn and signals from or send signals to
Recognize the Scents of 10 Hazardous Chemicals lock or unlock doors, activate or
. : x . .
compatible with the Galaxy Book2 Pro 360 deactivate security systems,
activate or deactivate multi-
This “doctrine of equivalent’ element performs sensor detection systems, or to
substantially the same function; in substantially the activate or deactivate cell phone
same way; and, produces substantially the same detection systems

result, as the element as expressed in the claim.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360

High speed internet and Microsoft account wherein at least one satellite
required for Windows 11 Home and Windows 11 connection, Bluetooth
Pro. Networking: 802.1lax (Wi-Fi 6E), Bluetooth connection, WiFi connection,
Standard: Bluetooth 5.0 internet connection, radio
frequency (RF) connection,
Literal Infringement: When there is a direct cellular connection, broadband
correspondence between the words in the patent x connection... short range radio
claims and the infringing product or device or frequency (RF) connection is
technology. capable of signal communication
with the transmitter and the
Contributory infringement: This CPU element, receiver of the communication
provided by Intel, is a material component of the device and transceivers of the
allegedly infringing Galaxy Book2 Pro 360 products;

Intel contributed to the infringement of Plaintiff’s patented new and improved upon PC

Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals.
Below: Intel Labs’ Nabil Imam holds a Loihi neuro-
morphic chip in his Santa Clara, California, neuro-
morphic computing lab. (Walden Kirsch/Intel Corp)

Intel and Cornell trained Intel’s Loihi neuromorphic
chip to learn and recognize the scents of 10 hazardous
chemicals ... the activity of 72 chemical sensors in
response to these smells and configured the circuit
diagram of biological olfaction on Loihi. The chip
quickly learned the neural representation of each of
the smells and each odor. Intel’s Loihi 2 Neuromorphic Chip

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Exhibit I

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PLAINTIFF’S ILLUSTRATIVE CLAIM CHART
FOR PATENT INFRINGEMENT

Below, is an illustrative claim chart of how the HP ZBook PC directly infringes claim 5

of Plaintiff's ‘287 patent, and claim | of Plaintiffs 189 patent.
Also, the chart illustrates how Intel’s 11th Generation Intel® Xeon® W-11955M vPro®

CPU contributes to the infringement of the HP ZBook PC, and has “no substantial non-infringing

use”. Plaintiff's CPU is referenced in 12 limitations of claim 5 of Plaintiff's ‘287 patent. Every

claim limitation is covered.

_ HP ZBook Fury 15.6 Inch G8 Mobile | 4 oo dep. | Patent #: 9,096,189;
a Workstation PC 0 oaims | ieneedent Cahn 1

A communication device of at
least one of a cell phone, a smart
phone, a desktop, a handheld, a
PDA, a laptop, or a computer

A monitoring device,
terminal for monitoring

comprising:
products, interconnected to a
product for communication
therebetween, comprising:
This “doctrine of equivalent’ element performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claim.
CPU: 11" Generation Intel® Xeon® W-11955M
vPro® with Intel® UHD Graphics (2.6 GHz base
frequency, up to 5.0 GHz with Intel® Turbo Boost at least one of a central
Technology, 24 MB cache, 8 cores; 16 threads). processing unit (CPU) for
executing and carrying out the

instructions of a computer
This “doctrine of equivalent’ element performs program, a network processor
substantially the same function; in substantially the which is specifically targeted at
same way; and, produces substantially the same the networking application
result, as the element as expressed in the claims. domain, or a front-end processor
for communication between a

host computer and other devices;

Preinstalled operating system - Windows 11 Pro2
at least one central
processing unit (CPU);

Contributory infringement: This CPU element,
provided by Intel, is a material component of the

allegedly infringing HP ZBook PC

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Technical Specifications Temperature Sensor—
Operating is 14° to 158° F (-10° to 70° C).

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement. This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one temperature
sensor in
communication with
the at least one CPU for
monitoring
temperature;

HP CoolSense Technology uses a motion sensor to
sense when the computer is being used in a
stationary or mobile setting

Literal Infringement. When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement. This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one motion
sensor in
communication with
the at least one CPU;

15.6” diagonal UHD (3840 x 2160) IPS eDP1.4 +
PSR2 WLED-backlit touch screen with Corning®
Gorilla® Glass 5

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one viewing
screen for monitoring in

communication with

the at least one CPU;

GPS: Standalone, A-GPS (MS-A, MS-B). GPS
Bands: 1575.42 MHz + 1.023 MHz, GLONASS
1596-1607MHz, Beidou 1561.098 MHz

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one global

positioning system
(GPS) connection in
communication with
the at least one CPU;

at least one satellite connection,
Bluetooth connection, WiFi
connection, internet connection,
radio frequency (RF)

connection, cellular connection,
broadband connection, long and
short-range radio frequency (RF)
connection, or GPS connection;

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High speed internet and Microsoft account
required for Windows 11 Pro and Windows 11 Pro
for Business

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one of an
internet connection ora
Wi-F1 connection in
communication with
the at least one CPU;

wherein the only type or types of
communication with the
transmitter and the receiver of
the communication device and
transceivers of the products isa
type or types selected from the
group... of satellite, Bluetooth,
WiFi...

WLAN: Intel® Wi-Fi 6 AX201 (2x2) and
Bluetooth® 5.2 wireless card, vPro™

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one ofa
Bluetooth connection, a
cellular connection, or a
satellite connection in
communication with
the at least one CPU;

HP ZBock PC Specs: HP Tamper Lock. Nano
Security Lock. Windows Hello face authentication
utilizes a camera specially configured for near
initared (IR) imaging to authenticate and unlock.

Literal Infringement. When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one locking
mechanism in
communication with
the at least one CPU for
locking the
communication device,
the at least one locking
mechanism configured
to at least one of engage
(lock) the
communication device,
disengage (unlock) the
communication device,
or disable (make
unavailable) the
communication device;

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CaseCa28:-a40frnd -EGHcDoeumént 9Phg éiled6/7023: (WARE ARat 85

HP chipset requires a Windows cperating system,
network hardware and software, connection with a
power source, and a direct corporate network

connection which is either cable or wireless LAN.
at least one power

source comprising at
least one of a battery,

electrical connection, or xX
wireless connection, to
provide power to the
communication device;

Literal Infringement. When there is a direct
correspondence between the words in the patent
claims and the inftinging product or device or
technology.

Contributory infringement: The CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC and is capable
of carrying out the functional and operational
instructions of the PC.

wherein the communication
device is equipped with a
biometric lock disabler that
incorporates at least one of a
fingerprint recognition, voice

HP Fingerprint Sensor. Windows Hello face
authentication utilizes a camera specially

configured for near infrared (IR) imaging to at least one biometric

authenticate and unlock. .
sensorin recognition, face recognition,
Literal Infringement: When there is a direct co cation with hand geometry, retina scan, iris
: the at least once CPU .
correspondence between the words in the patent vas . : scan and signature such that the
for providing biometric . : :
communication device that is at

least one of the cell phone, the
smart phone, the desktop, the
handheld, the PDA, the laptop or
the computer terminal is locked
by the biometric lock disabler to
prevent unauthorized use

authentication to access
the communication
device;

claims and the infringing product or device or
technology.

Contributory infringement. This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

Intel’s Lothi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
compatible with the HP ZBock PC

This “doctrine of equivalent’ element performs
substantially the same function; in substantially the
same way; and, produces substantially the same

the communication device is at
least a fixed, portable or mobile

at least one sensor for

result, as the element as expressed in the claim.

Contributory infringement; This CPU element,

chemical, biological, or
human detection in
communication with
the at least one CPU;

communication device
interconnected to a fixed,
portable or mobile product,
capable of wired or wireless

provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

induced infringement: requires not ‘only
knowledge of the patent’ but also ‘proof the
defendant knew the [induced] acts were
infringing.’” DSU Med. Corp. v. JMS Co., 471
F.3d 1293, 1305 (Fed. Cir. 2006)

communication therebetween...

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Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
compatible with the HP ZBook PC

This “doctrine of equivalent’ element performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claim.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

Induced infringement: requires not ‘only
knowledge of the patent’ but also ‘proof the
defendant knew the [induced] acts were
infringing.” DSU Med. Corp. v. JMS Co., 471
F.3d 1293, 1305 (Fed. Cir. 2006)

one or more detectors in
communication with
the at least one CPU for
detecting at least one of
chemical, biological,
radiological, or
explosive agents;

wherein the communication
device receives a signal via any
of one or more products listed in
any of the plurality of product
grouping categories;

Near Field Communication (NFC) module. NFC
RF standards ISO/IEC 14443 A

Literal Infringement. When there is a direct |
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement. This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

at least one radio-
frequency near-field
communication (NFC)
connection in
communication with
the at least one CPU...

Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
compatible with the HP ZBock PC

Literal Infringement. When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

Induced infringement: requires not ‘only
knowledge of the patent’ but also ‘proof the
defendant knew the [induced] acts were
infringing.” DSU Med. Corp. v. JMS Co., 471
F.3d 1293, 1305 (Fed. Cir. 2006)

at least one of a
transmitter or a
transceiver in
communication with
the at least one CPU
configured to send
signals to monitor at
least one of a door, a
vehicle, or a building...
or... detect at least one
of a chemical
biological... agent such
that the communication
device is capable of
communicating,
monitoring, detecting,
and controlling.

a transmitter for transmitting
signals and messages to at least
one of plurality product groups

based on the categories of a
multi-sensor detection device, a
maritime cargo container, a cell

phone detection device, ora

locking device;

a receiver for receiving signals,

data or messages from at least

one of plurality product groups
based on the categories of a

multi-sensor detection device, a

maritime cargo container, a cell
phone detection device, ora

locking device;

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HP ZBook PC Specs: HP Tamper Lock. Nano
Security Lock.

Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
compatible with the HP ZBook PC

This “doctrine of equivalent’ element performs
substantially the same function; in substantially the
same way; and, produces substantially the same
result, as the element as expressed in the claim.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

whereupon the communication
device, is interconnected to a
product equipped to receive
signals from or send signals to
lock or unlock doors, activate or
deactivate security systems,
activate or deactivate multi-
sensor detection systems, or to
activate or deactivate cell phone
detection systems

High speed internet and Microsoft account
required for Windows 11 Pro and Windows 11 Pro
for Business. WLAN: Intel® Wi-Fi 6 AX201 (2x2)

and Bluetooth® 5.2 wireless card, vPro™

Literal Infringement: When there is a direct
correspondence between the words in the patent
claims and the infringing product or device or
technology.

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC

wherein at least one satellite
connection, Bluetooth
connection, WiFi connection,
internet connection, radio
frequency (RF) connection,
cellular connection, broadband
connection... short range radio
frequency (RF) connection is
capable of signal communication
with the transmitter and the
receiver of the communication
device and transceivers of the
products;

Intel contributed to the infringement of Plaintiff’s patented new and improved upon PC

Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals.
Below: Intel Labs’ Nabil Imam holds a Loihi neuro-
morphic chip in his Santa Clara, California, neuro-
morphic computing lab. (Walden Kirsch/Intel Corp)

Intel and Cornell trained Intel’s Loihi neuromorphic

chemicals ... the activity of 72 chemical sensors in
response to these smells and configured the circuit
diagram of biological olfaction on Loihi. The chip
quickly learned the neural representation of each of
the smells and each odor, demonstrating a future for
neuroscience and AI.

chip to learn and recognize the scents of 10 hazardous

Intel’s Loihi 2 Neuromorphic Chip

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Sincerely,

s/ Larry Goldew

Larry Golden, Pro Se Plaintiff
740 Woodruff Rd., #1102
Greenville, SC 29607

(H) 8642885605

(M) 8649927104

Email: atpg-tech@charter.net

CascCh?3-24005b1-EGSciinenumént PAgdéilke406/FURE OR Mga of 85

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 19" day of June, 2023, a true
and correct copy of the foregoing “Plaintiff’s Motion for Summary Judgement”,

was served upon the following Defendant via email and by priority “express” mail:

Grant D. Johnson
Trial Attorney
Commercial Litigation Branch
Civil Division
Department of Justice
Washington, DC 20530
Grant.D.Johnson@usdoj.gov
(202) 305-2513

s/ Larry Goldew

Larry Golden, Pro Se

740 Woodruff Rd., #1102
Greenville, South Carolina 29607
atpg-tech@charter.net
864-288-5605

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Case: 24-2256 Document:7 Page:125 Filed: 09/04/2024

Exhibit
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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

LARRY GOLDEN,

Mi

Plaintiff, pro se,

THE UNITED STATES,

Defendant.

No. 13-307 C

Senior Judge Eric G. Bruggink

DEFENDANT UNITED STATES’ MOTION FOR NOTICE

The United States of America (“the Government”) moves for the Court to issue notice

pursuant to Rule 14(b) of the Rules of the Court of Federal Claims (“RCFC”) that pursuant to

Rule 14(c), if they so desire, the following entities may appear and defend any interests that they

may have:

L.

The Boeing Company
c/o Corporation Service
Company

251 Little Falls Drive
Wilmington, DE 19808
(302) 636-5401

Lockheed Martin Corporation
c/o Corporation Service
Company i

251 Little Falls Drive
Wilmington, DE 19808

(302) 636-5401

Northrop Grumman
Corporation

c/o Corporation Trust
Company

Corporation Trust Center
1209 Orange St.
Wilmington, DE 19801
(302) 658-7581

Oshkosh Corporation

‘c/o CT Corporation System

301 S. Bedford Street
Suite 1
Madison, WI 53703-3691

_Raytheon Company

c/o Corporation Trust
Company

Corporation Trust Center
1209 Orange St.
Wilmington, DE 19801

(302) 658-7581

Kratos Defense & Security
Solutions, Inc.
c/o Corporation Service

_Company

251 Little Falls Drive
Wilmington, DE 19808
(302) 636-5401
Qualcomm Ine. . 9.
c/o The Prentice-Hall

Corporation System, Inc.

251 Little Falls Drive

Wilmington, DE 19808

(302) 636-5400

Cas@4sb3-29-22807-EGScubasurient Pabe Filad OSAIe6209REyede of 7

1Control, Inc.

c/o Corporation Service
Company

251 Little Falls Drive
Wilmington, DE 19808

- (302) 636-5401

Integrated Device 10. Eureka Aerospace, Inc.
Technology, Inc. c/o Dr. James Tatoian
c/o Corporation Trust 3800 Shadow Grove Rd.
Company , Pasadena, CA 91107
Corporation Trust Center

1209 Orange St.- 11. DreamHammer Inc.

c/o Nelson Paez
11835 W. Olympic
Boulevard
. Suite 285E
Los Angeles, CA 90064

Wilmington, DE 19801.
(302) 658-7581

Although the Government was under no obligation to do so, on March 15, 2019, the
Government inquired via e-mail whether or not Plaintiff would oppose the Government’s Motion
For Notice so that the Government could indicate Plaintiff's position in this Motion. On
March 17, 2019, Plaintiff responded simply with “Yes.” Accordingly, although the Government
does not believe Plaintiff has sufficient grounds to oppose notifying the above-identified third

parties of this litigation, Plaintiff's response suggests that he will oppose on some basis.

STATEMENT IN SUPPORT OF MOTION
Plaintiff's Final Complaint (Dkt. 120) alleges infringement of numerous patents under 28
U.S.C. § 1498(a) by dozens of projects allegedly involving the Government. After the majority
of these allegations were dismissed (Dkt. 130), the Court provided Plaintiff with an opportunity
to voluntarily dismiss any remaining patent infringement allegations pursuant to RCFC 41.

Dkt. 151 at 4. To date, however, Plaintiff does not appear to have filed such a voluntary
Cas@4sb3.24-22367-EGScuberuntent Pabe Filed OSAIBEI09Rayed? of 7

dismissal. Accordingly, the case is proceeding on the various patent infringement claims that
remain. See id.

The chart below lists the eleven (11) products/projects that are accused of inffinging
Plaintiff? s various patents. See Dkt. 143 at Appx | (blue highlighting) and Dkt. 149 at 2. The

chart also includes third parties with potential interest in the allegedly infringing projects and/or

systems,
156-157 Panasonic Toughbook + K- | °891 Patent: Boeing, which acquired
Max Helicopter (AACUS) | claims 44, 45, 48, AACUS Principle
52, 53, and 55 Investigator, Aurora Flight
Sciences!
Lockheed Martin
171-172 iPad + Boeing MH-6 Little | °891 Patent: Boeing, which acquired
Bird (AACUS)  .- claims 23, 27, 30, Aurora Flight Sciences
and 31
214-215 Cell-All Synkera *497 Patent: Integrated Device
MikroKera Ultra claims 1, 2, 4 Technologies (“IDT”),
which acquired Synkera
Technologies Inc. in July
2016?
Qualcomm
370-371 Eureka Aerospace High *891 patent: Eureka Aerospace
Powered Electromagnetic claims 11, 15, 19,
System (HPEMS) and 21

| See Press Release, Aittps: ‘boeing. mediaroom, com/2017-11-08-Boeing-completes-acquisition-
of-Aurora-Flight-Sciences.
? See IDT Website, Attps://www.idt.com/synkera-now-idt.

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375-376

Laser Weapons System °891 Patent: Kratos Defense & Security
(Laws) claims 11, 15, 19, Solutions
21
Lockheed Martin
Northrop Grumman
380-381 ATHENA *891 Patent: Lockheed Martin
(Advanced Test High claims 11, 15, 19, °
Energy Asset) 21
385-386 CHAMP . °891 Patent: Boeing
(Counter-Electronics High- | claims 11, 15, 19,
Powered Microwave 21 Raytheon
Advanced Missile Project)
390-391 Northrop Grumman X-47B | *891 Patent: ‘Northrop Grumman
UCAS Control Display Unit | claims 11, 15, 19,
(CDU) , 21
395-396 Oshkosh Defense 891 Patent: Oshkosh Defense
Autonomous Unmanned claims 44, 55
Ground Vehicle UGV)
“TerraMax”
400-401 DreamHammer’s “Ballista” | °891 Patent: DreamHammer Inc.
Software for Computer, claims 44, 55
Tablet or Smartphone .
405-406 iControl Inc. “M-Lock” °990 Patent: iControl (d/b/a Intelyt*)

claims 125, 135

These projects vary widely in subject matter, including chemical sensing technology

(e.g., Synkera MikroKera Ultra), autonomous vehicle systems (e. g., AACUS, X-47B UCAS,

TerraMax, DreamHammer Ballista software), electronic conveyance locks (e.g., mLOCK), and

even energy weapons systems (e.g., HPEMS, ATHENA, CHAMP, LaWS). Unsurprisingly,

3 See Intelyt Website, Attp://intelyt.com/blog/201 6/l/icontrol-incorporated-is-now-intelyt.

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these disparate projects/systems implicate a number of third parties that are either alleged to have
' been, or understood by the Government (based on its investigation to date) to have been,
involved in the development, manufacture and/or sale of the accused systems.

Based on the numerous and varied allegations of the Final Complaint, the allegedly
infringing projects or systems may have been designed, manufactured, and/or sold by the
companies identified above. As a result, these companies may have an interest in appearing and
defending its rights. See, o.g., Allied Oil & Supply, Inc. v. United States, 60 Fed. Cl, 223, 225-26
(2004) (noting that the interest requirement of Rule 14(b)(1) is broad, and that “an apparent
interest is sufficient for notice to issue ‘[e]ven in those situations where an alleged third party
interest in the suit is uncertain.’” (quoting Del—Rio Drilling Programs, Inc. v. United States, 17
Cl. Ct, 844, 849 (1989)), The issuance of the requested notice for each of the above-named
entity conforms to the established practice of the United States Court of Federal Claims. See,
¢.g., Carrier Corp. v. United States, 534 F.2d 250, 251-52 (Ct. Cl. 1976); Bowser, Inc. v. United
States, 420 F.2d 1057, 1060 (Ct. cl. 1970); Rockwell Int'l Corp. v. United States, 31 Fed. Cl.
536, 539-40 (1994); see also Inre UUSI, LLC, 549 Fed. Appx. 964 (Fed. Cir. 2013).

Recognizing that the Court previously suspended the Government’s deadline to file this
notice (Dkt. 149 at 3), the Government files this motion with its Answer pursuant to
RCFC 14(b)(2)(B)(ii) based on its investigation to date of Plaintiff's remaining allegations of

patent infringement.
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CONCLUSION
For the above reasons, the Government respectfully requests that this motion be granted
and the requested notices be issued.

Respectfully submitted,

JOSEPH H. HUNT
Assistant Attorney General

GARY L. HAUSKEN

March 18, 2019

Civil Division

Department of Justice
Washington, DC 20530
Nicholas. J. Kim@usdoj.gov
T: (202) 616-8116

F: (202) 307-0345

Attorneys for the United States
Cas@4sb324-22567-EDScumentnent Page His2 OSFiled:-[09/o4720247 7

CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing “DEFENDANT UNITED STATES’
MOTION FOR NOTICE” was deposited with Federal Express on March 18, 2019, postage pre-
paid, to:

Larry Golden
740 Woodruff Road
#1102
Greenville, SC 29607

Plaintiff, pro se

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Nicholdst. Kit"

Department of Justice
Case: 24-2256 Document:7 Page:133 Filed: 09/04/2024

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LARRY GOLDEN,

THE UNITED STATES,

IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Plaintiff, pro se,
No. 13-307 C

Senior Judge Erie G. Bruggink

Defendant.

DEFENDANT UNITED STATES’ REPLY IN SUPPORT OF ITS
MOTION FOR NOTICE

The Government’s Motion for Notice (Dkt. 162) should be granted, because it was timely

filed under RCFC 14(b)(2)(B)(ii), and Plaintiff's response fails to identify any issues that should

prevent interested parties from having the opportunity of being notified of Plaintiff's allegations

in this case and deciding whether they will appear and defend any interests that they may have.

In opposition, Plaintiff contends that the Government’s Motion for Notice is “untimely”

for several reasons, none of which relate to RCFC 14:

1.

“Plaintiff has not received all of the requested discovery documentation from the
Government.”

“Plaintiff has not received the requested list of alleged infringing products that ‘does’
and ‘does not’ have jurisdiction from the Claims Court.”

“Plaintiff does not agree with the Government having the option to pick and choose
which alleged infringing device to litigate.”

“Count | ‘Takings’ elutine before Count 2 ‘Infringement’ claims. Who authorized the

Government to pick the direction of this case?”

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Dkt. 164 (Plaintiff's Response to the Government’s Motion for Notice in Case Number 13-107C,
“Response”) at 1. Plaintiff does not provide any support for these timing arguments. Instead,
the majority of Plaintiff's paper is devoted to voicing continued displeasure over the Court's
March 29, 2018 Order (Dkt..130) dismissing a majority of Plaintiff's patent infringement claims,
none of which is relevant to whether the Government’s Motion for Notice should be granted.
Resp. at 1-7. Plaintiff also suggests that notice has already been provided to several parties,
including Qualcomm. Jd. at 7, Finally, Plaintiff appears to condition grant of the Motion for
Notice on non-parties answering Plaintiffs “FOIA request.” Jd. at 7. Taken separately or
together, none of these reasons supports denial of the Governments Motion for Notice.

Beginning with the timing issue, Plaintiff’s allegation that the Government’s Motion for
Notice is untimely is entirely unsupported under RCFC 14(b)(2)(B) (ii), the operative timing
requirement of the Rule. The Government's Motion for Notice was filed on March 18, 2019, the
same day that the Government filed its Answer (Dkt. 162} to the remaining allegations in
Plaintiff's Final Complaint (Dkt. 120). See RCFC 14(b)(2)(B)(ii) (“The United States must file
for notice on or before the date the answer is required to be filed.”); see also Dkts. 130, 151
(dismissing certain allegations of Plaintiff's Final Complaint). Thus, the Government’s Motion
for Notice was timely.

As to the substantive requirements of RCFC 14, “[t]he key factor in every determination
regarding the propriety of issuing notice is—-whether the third party to whom notice is directed
‘appears’ to have an interest in the subject matter of the proceedings.” Del-Rio Drilling
Programs v. United States, 17 Ch. Ct. 844, 849 (1989). And “[e]ven in those situations where an
alleged third party interest in the suit is uncertain, an apparent interest is legally sufficient to

support an issuance of notice.” Jd. The parties named in the Government’s Motion for Notice

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correspond to the third party developers/suppliers named in the remaining allegations of
Plaintiff's complaint. Therefore, the Government’s Motion for Notice should be granted bécause
it satisfies the requirements of RCFC 14.

Plaintiffs four enumerated “untimeliness” arguments are unpersuasive at least because
they are entirely untethered to the réquirements of RCFC 14. These are addressed in furn below.

First, RCFC 14 does not condition grant of the Goverriment’s motion on the start of
“discovery.”! In fact, by requiring such a motion be filed with the Complaint (by Plaintiff) or
with the Answer (by Defendant), RCFC 14 clearly contemplates that the party would move prior
to the start of discovery. See RCFC 14(b)(2)(B). Second, Plaintiff cannot prevent issuance of
notice based on unreasonable, repeated demands that the Government provide a “list of alleged
inftinging products [over which the Court] ‘does’ and ‘does not’ have jurisdiction.” This Court
directed both parties to submit status reports identifying what, if any, patent infringement claims
remained in this case. In response, Plaintiff repeatedly insisted that all of his patent infringement
claims were dismissed. Yet at the same time, Plaintiff declined to move under RCFC 41 to
dismiss any remaining claims'to permit a prompt appeal of the Court’s March 29, 2018 Order.
Moreover, this Court’s November 28, 2018 Order has set a path forward on the remaining
claims, thereby mooting any vestige of Plaintiff's demand. Third, aside from being irrelevant to
whether the Motion for Notice should be granted, Plaintiff cannot be heard to complain that the
Government gets “the option to pick and choose which alleged infringing device to litigate,”
which is inaccurate and overlooks the fact that Plaintiff abdicated his right to influence the

course of this litigation by repeatedly insisting that all of his patent infringement allegations had

} Discovery has not opened in this case. Prior to the Government’s Partial Motion to
Dismiss the Final Complaint (Dkt. 123), this Court permitted limited jurisdictional discovery,
which has now concluded.

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' already been dismissed. Fourth, Plaintiffs unclear reference to his takings claims, which mirror
the allegations in Plaintiff's patent infringement claims, actually supports granting the Motion :
for Notice.

Turning to Plaintiff's allegation that he “has already given notice to Qualcomm, Apple,
Samsung, and LG because the [sic] Judge Braden has dismissed my patent(s) for lack of-
jurisdiction,” Plaintiff has never filed any RCFC 14 notice in this case (see Dkt. 120, which was
not accompanied by motion for notice under RCFC 14(b)(2)). Also, it is entirely unclear how
the Court’s March 29, 2018 Order would have provided such notice to Qualcomm or the other
parties? Similarly, Plaintiff's mere.intent to file a complaint in the International Trade
Commission cannot plausibly constitute notice under RCFC 14 of parties” potential interest in
this case.

Lastly, Plaintiff cannot condition the grant of the Motion for Notice on companies
answering his unidentified “FOIA request.” To start, Freedom of Information Act (“FOIA”)
requests cannot be used to seek information from private entities like Raytheon, Boeing,
Synkera, etc. And even when directed to the Government, the use of FOIA in litigation against
the government is disfavored by the Court. See Baldridge v. Shapiro, 455 U.S. 345, 360 n.14
(1982) (“The primary purpose of the FOIA was not to benefit private litigants or to serve as a

substitute for civil discovery.”); NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978)

2 The Government’s Motion for Notice did not seek notice to be sent to Apple, Samsung or
LG at this time, because the patent infringement allegations involving these three entities were
understood to have been dismissed. See Dkts. 130, 151. Moreover, based on the Government’s
investigation to date, the Department of Homeland Security (“DHS”) never entered into
Cooperative Research and Development Agreements (CRADAs) with Qualcomm, Apple, ~
Samsung and LG regarding the CELL-ALL project, which alleged. agreements form the basis for
Plaintiff's cell-phone-related infringement allegations. See, e.g., Dkt. 162 (Gov’t Answer) {{50-
51 (denying that the Government entered into the alleged CRADAs).

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(“FOIA was not intended to function as a private discovery tool.”) (emphasis in original).
Moreover, nothing in RCFC 14 contemplates conditioning notice on the receipt of information
by the non-requesting litigant. In fact, the operation of RCFC 14 makes it more likely that
Plaintiff will eventually receive information from third parties relevant to this case. Therefore,
the Motion for Notice should be granted without Plaintiffs requested condition.
CONCLUSION
For the above reasons, the Government respectfully requests that its motion for notice be
granted and the requested notices be issued.
Respectfully submitted,

JOSEPH H. HUNT
Assistant Attorney General

GARY L. HAUSKEN
Director > :

April 3, 2019 f —
ial Attorney

Commercial Litigation Branch
Civil Division

Department of Justice
Washington, DC 20530
Nicholas.J. Kim@usdoj. gov

T: (202) 616-8116

F: (202) 307-0345

Attorneys for the United States
Cas@dse3 24-2256 7-EDécumeninrent Page:-AB9l O4Fi1Ied:{09/oage0241 6

CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing “DEFENDANT UNITED STATES’
REPLY IN SUPPORT OF ITS MOTION FOR NOTICE” was deposited with Federal Express
on April 3, 2019, postage pre-paid, to:

Larry Golden
740 Woodruff Road

#1102
_ Greenville, SC 29607

Plaintiff, pro se

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Department of Justice
Case: 24-2256 Document:7 Page:140 Filed: 09/04/2024

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In the Gnited States Court of Federal Claims

LARRY GOLDEN,
No. 13-307 C

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UNITED STATES ( O PY

NOTICE

To: Qualcomm Inc.
c/o The Prentice Hall
Corporation System, Inc.
251 Little Falls Drive
Wilmington, DE 19808
(302) 636-5400

Pursuant to Rule 14 of the Rules of the United States Court of Federal Claims, you are hereby
notified of the above-captioned case in which you may have an interest in the subject matter. If you have
an interest in the subject matter of this case, within forty-two (42) days after service of this Notice upon
you, you may file a complaint or answer herein in accordance with Rule 14. For your information, this
Notice is accompanied by copies of the following pleadings that have been filed herein: Plaintiff's
Complaint, Amended Complaint, and Defendant’s Motion to Provide Notice to Interested Parties.

In testimony whereof, I have hereunto set my hand and
affixed the Seal of said Court at Washington, DC, this
22nd day of April, 2019.

Lisa L. Reyes
U.S. Court of Federal Claims

By: Ba log ——

Deputy Clerk

RETURN OF SERVICE

Service of the above Notice was accomplished by forwarding same to the above named at the
address indicated by registered or certified mail, return receipt requested. See return receipt attached
showing service on

(Date)

Attorney of Record
Case: 24-2256 Document:7 Page: 142 Filed: 09/04/2024

Exhibit
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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

LARRY GOLDEN,

Plaintiff, pro se,
No. 13-307 C
Vv.
Senior Judge Eric G. Bruggink
THE UNITED STATES,

Defendant.

CERTIFICATE OF SERVICE ON QUALCOMM

Pursuant to Rule 14(b) and the Court’s April 16, 2019 order (Dkt. 166), the United States
(“the Government”) files with the Clerk its return of service on Qualcomm Inc., indicating
completion of the required service of the Clerk’s RCFC 14 Notice (see Dkt. 169). With the
Notice, the Government also served Plaintiffs’ Original Complaint (Dkt. 1), Plaintiffs Final
Amended Complaint (Dkt. 120), and Defendant’s Motion to Provide Notice to Interested Parties
(Dkt. 161). A copy of the return receipt evidencing service of the original copy of the Notice is

also filed with this certificate. See Exhibit 1.

Received - USCFC

MAY 30 2019
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Respectfully submitted,

JOSEPH H. HUNT
Assistant Attorney General

GARY L. HAUSKE

Director i

May 30, 2019

NICHOLAS JUKE

Trial Attorney

Commercial Litigation Branch
Civil Division

Department of Justice
Washington, DC 20530
Nicholas.J. Kim@usdoj.gov

T: (202) 616-8116

F: (202) 307-0345

Attorneys for the United States
Cas@4sb3.24-22567-ED&cuimeninent Page Hi45 OSFiled-c09/o4720241 6

CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing “CERTIFICATE OF SERVICE ON
QUALCOMM?” was deposited with Federal Express on May 30, 2019, postage pre-paid, to:
Larry Golden
740 Woodruff Road
#1102
Greenville, SC 29607

Plaintiff, pro se

Nighdtes J. Kim
epartment of Justice
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‘Exhibit 1

CERTIFICATE OF SERVICE
CASE No. 13-307
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Jn the Anited States Court of Federal Claims

LARRY GOLDEN,
No. 13-307 C

v.
UNITED STATES

NOTICE

To: Qualcomm Inc.
c/o The Prentice Hall
Corporation System, Inc.
251 Little Falls Drive
Wilmington, DE 19808
(302) 636-5400

Pursuant to Rule 14 of the Rules of the United States Court of Federal Claims, you are hereby
notified of the above-captioned case in which you may have an interest in the subject matter. If you have
an interest in the subject matter of this case, within forty-two (42) days after service of this Notice upon
you, you may file a complaint or answer herein in accordance with Rule 14, For your information, this
Notice is accompanied by copies of the following pleadings that have been filed herein; Plaintiff’s
Complaint, Amended Complaint, and Defendant’s Motion to Provide Notice to Interested Parties.

In testimony whereof, I have hereunto set my hand and
affixed the Seal of said Court at Washington, DC, this
22nd day of April, 2019.

Lisa L. Reyes
U.S. Court of Federal Claims

By:__é 4.
Deputy Clerk O

RETURN OF SERVICE

Service of the above Notice was accomplished by forwarding same to the above named at the
address indicated by registered or certified mail, return receipt requested. See return receipt attached
showing service on Min 13> 2oFg

({Date) © ' fh C) LIF |

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Case: 24-2256

Document: 7 Page: 148 Filed: 09/04/2024

Postage & Fees Paid
USPS

UniteD States PostTat SERVICE | | | | First-Class Mail
Pernit No. G-10

* Sender: Please print your name, address, and ZIP+4 in this box *

Nicholas J. Kim
1100 L St. NW
Washington DC 20005
Room 8508

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co) ot NB) cere ar!

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Qualcomm Inc. S cence — re
c/o The Prentice-Hall Corporation System, O Certified Mat eouae aes”
Inc. | CO Registered CJ Return Receipt for Merchandise |
251 Little Falls Drive Cl Insured Mail «= 1 G.0.D. i
Wilmington, DE 19808 4. Restricted Delivery? (Extra Fee) Cl Yes
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In the Anited States Court of Federal Claims

No. 13-307C
(Filed: March 29, 2021)

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LARRY GOLDEN,

Plaintiff,
v.
THE UNITED STATES,

Defendant.

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ORDER

Before the court is defendant’s March 12, 2021 motion (ECF No. 216)
to issue notice to Apple Inc. (“Apple”), LG Electronics, Inc. and LG
Electronics U.S.A., Inc. (collectively, “LG”), and Samsung Electronics Co.
and Samsung Electronics America, Inc. (collectively, “Samsung”) that these
entities may file appropriate pleadings if so desired and assert whatever
interest each may have in this action. Also pending is plaintiff's March 15,
2021 motion (ECF No. 218) for a more definite statement filed in response
to defendant’s motion, and defendant’s March 26, 2021 reply (ECF No. 219)
to plaintiffs response.

The government argues that notice should be issued to Apple,
Samsung, and LC because these entities may have an interest to assert in this
case pursuant to plaintiff's sixth amended complaint. ECF No. 195 (Sixth
Am. Compl.). In support of its argument, defendant cites to plaintiff’s sixth
amended complaint, which suggests that government use of various
consumer electronic devices developed, manufactured, and sold by Apple,
Samsung, or LG infringes the patents asserted in plaintiffs sixth amended
complaint.! Accordingly, defendant argues the need for notice to Apple,

1 Defendant’s motion to cites to ECF No. 195 at 132 (Sixth Am. Compl.);
see also, e.g., ECF No. 195 at 5 (referring to “261 million CMDC devices
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Samsung, and LG to appear, if they so desire, as parties and assert whatever
interest they may have.

In response, plaintiff requests a more definite statement, arguing that
defendant’s motion is “so vague and ambiguous” that plaintiff cannot
respond (ECF No. 218 at 1) and further that plaintiff “has patent claims that
covers a communicating, monitoring, detecting, and controlling (CMDC)
device that he believes antedates the release date of the Ceil-All initiative
that solicits the consumer devices of Apple, Samsung, and LG used as an
inventive process in the development and manufacture of the Cell-All
devices.” ECF No. 218 at 4.

In reply, defendant opposes plaintiff's motion on two grounds. First,
defendant argues that plaintiff's response is procedurally improper pursuant
to Rule 12(e) of the Rules of the United States Court of Federal Claims,
which permits a motion for a more definite statement of a pleading, but not
a motion. Second, defendant contends that plaintiff's allegations regarding
Apple, Samsung, and LG are factually inaccurate.

We treat plaintiff's motion for a more definite statement as opposition
to defendant’s motion to notice interested third parties. As to defendant’s
claim that plaintiffs allegations are factually accurate, we need not reach a
conclusion at this stage. We are satisfied that good cause has been shown
to issue notice based on the allegations made in plaintiff’s sixth amended
complaint. Specifically, plaintiff alleges that his “communicating,
monitoring, detecting, and controlling (“CMDC”) device is commercialized
in the form of an improved cell phone, smartphone, smartwatch, laptop, or
tablet .. . the specifications and capabilities of the CMDC devices that were
developed for, manufactured and commercialized by third-party government
contractors, Apple, Samsung, and LG, are significantly the same as the
Plaintiff's CMDC devices.” Sixth Am. Compl. ff 6, 12. Attached to the
sixth amended complaint is a claim chart that purports to identify features of
devices alleged to be part of the DHS Cell-All initiative that infringe claims
of the patents asserted in the current complaint. /d. Ex. 7 (claim charts for

(i.e. smartphones)” as infringing products), 85-93 (discussing alleged
general government use of commercially available Apple, Samsung, and LG
consumer smartphone and tablet devices under the heading “Government’s
‘use’ of Plaintiff's CMDC device”). ECF No. 216 at 3 (Def.’s Third Mot. to
Notify Interested Party).
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the DHS Cell-All initiative), As such, Apple, Samsung, and LG may be
- noticed in order to assert whatever interest they may have.

Previously, we granted the government’s first motion to issue notice
to IDT because IDT was identified as having an interest in the Cell-All
Project,” a project which allegedly infringes plaintiff's 7,385,497 patent. On
March 30, 2019, IDT was acquired by Renesas and began operating under
the name Renesas on January 1, 2020. ECF No. 198. We granted the
government’s second motion to issue notice to Renesas because on March
30, 2019, IDT was acquired by Renesas and began operating under the name
Renesas on January 1, 2020. ECF No. 198. Based on the representations
made in the government’s third motion (ECF. No. 216), the court grants the
government’s motion to issue notice and denies plaintiff's motion for a more
definite statement (ECF No. 218). The Clerk of Court is directed, pursuant
to Rule 14(b)(3) of the Rules of the United States Court of Federal Claims,
to issue notice to Apple, Samsung, and LG to assert whatever interest the
companies may have in this action.

s/Eric G. Bruggink
ERIC G. BRUGGINK

Senior Judge

2 Plaintiff alleges the Department of Homeland Security’s project named
“Cell-All” (Cell-All Project) infringes plaintiffs ‘497 patent. ECF No. 195
at 7-8 ({10-12).

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Case: 24-2256 Document:7 Page:153 Filed: 09/04/2024

Exhibit
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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

LARRY GOLDEN,
Plaintiff, 1:13-cev-307-EGB
¥. Senior Judge Eric G. Bruggink
UNITED STATES,
March 27, 2021
Defendant.

PLAINTIFF’S STATUS REPORT AND LEAVE OF THE COURT TO
FILE A MOTION FOR DEFAULT JUDGEMENT

Pursuant to this Court’s order, filed 02/26/2021 in this Case No. 13-307C; Dkt. No. 215,
Plaintiff (“Larry Golden”) is filing this “Status Report”.

The Court of Federal Claims follows the precedent of the Court of Claims and of the
United States Court of Appeals for the Federal Circuit, of determining if there is infringement
before allowing a challenge to the validity of a patent. See South Corp. v. United States, 690 F.2d
1368, 1369, 215 U.S.PQ. (BNA) 657 (Fed. Cir. 1982). Compare Gargoyles, Inc. v. United States,
26 Cl. Ct. 1367, 1369 (1992) (stating “[T]his court need consider the [patent] validity arguments
only if infringement is found” See Barrett v. United States, 405 F.2d 502, 510, 160 U.S.P.Q.2
(BNA) 224 (Ct. Cl. 1968) (“Since there is no infringement, it is unnecessary to decide
validity.””); Autogiro Co. v. United States, 384 F.2d 391, 415 (Ct. Cl. 1967) (“Only on claims
found infringed is it necessary to reach a decision on validity.”).

Following the Court of Claims’ rationale, however, the Federal Circuit developed the
practice of vacating validity findings upon an affirmance of noninfringement, citing the rationale
that a court need not consider validity if no infringement exists. See, e.g., Vieau v. Japax, Inc.,
823 F.2d 1510, 1517, 3 U.S.P.Q.2d (BNA) 1094 (Fed. Cir. 1987) (dismissing cross-appeal on
invalidity as moot); Orthokinetics, Inc. v. Safety Travel Chairs, Inc., 806 F.2d 1565, 1571, 1

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U.S.P.Q.2d (BNA) 1881 (Fed. Cir. 1986) (criticizing custom of proving validity prior to deciding
infringement). See Unette Corp. v. Unit Pack Co., 226 U.S.P.Q. (BNA) 715, 717 (D.N.J. Mar. 8,
1985) (rendering validity issue moot upon finding of noninfringement)

District courts, as well as the Court of Federal Claims, have adopted this practice on the
trial level as well. See Gargoyles, 26 Cl. Ct. at 1369 (rendering validity issue extraneous upon
finding of noninfringement); Unerte Corp. v. Unit Pack Co., 226 U.S.P.Q. 715, 717 (D.N.J.
1985) (rendering validity issue moot upon finding of noninftingement), affd, 785 F.2d 1026, 228
U.S.P.Q. (BNA) 933 (Fed. Cir. 1986). In contrast to making the validity of a patent moot
following a finding of noninfringement, the sole issue at the trial level is whether a court should
review validity at the trial level upon a finding of noninfringement. See Howard T. Markey, On
Simplifying Patent Trials, 116 F.R.D. 369, 370-71, 380-81 (1987) (considering role of trial
courts as fora for validity determinations in absence of infringement).

For the reasons stated above and in accordance with the well-established precedent of this
Court of Federal Claims and the Federal Circuit Court, Plaintiff is asking this Court to adopt and
follow the schedule below for future proceedings. Plaintiff finds the Government proposed
schedule as being very deceptive. First, Plaintiff has satisfied the “preliminary disclosure of
infringement contentions; second, there is no call for an infringement analysis; and third, the
Government is asking for five months to cover claim construction, when the Court has not
decided if there’s anything left to construe. ,

In the first step of the infringement analysis... a court determines what is patented. In the
second step of the analysis... the court ascertains whether the accused device embodies every
element of the claim. Even if the accused device fails to embody every literal detail of a claimed
invention, however, it may infringe the patent if it constitutes a substantially equivalent
embodiment of the patented invention. Deuterium Corp., 16 Cl. Ct. at 461. The classic “doctrine
of equivalents” asks whether the accused process “performs substantially the same function in
substantially the same way to obtain the same result” as the patent claim. Graver Tank & Mfg.
Co. v. Linde Air Prods. Co., 339 U.S. 605, 608, 85 U.S.P.Q. (BNA) 328 (1950) (quoting
Sanitary Refrigerator Co. v. Winters, 280 U.S. 30, 42 (1929)).

The basis for Plaintiff to file this status report at this time is to first, conform with history
in which the Court of Federal Claims follows the precedent; second, to reduce the amount of

time and cost of repeating the same challenges to the same subject matter specifications that was
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covered in ordinary patent examinations; re-issue patent examinations; and infer partes review

(IPR). Below is Plaintiff's proposed schedule:

Event

Date

Government’s Response to Plaintiff's Preliminary
Disclosure of Infringement Contentions—Claim
Charts (Exhibit 7 of Amended Complaint)

April 19, 2021 (21 days after filing Status
Report)

Plaintiff’s Reply to the Government’s Response to -

Plaintiffs Preliminary Disclosure of Infringement

Contentions as a Final Disclosure of Infringement
Contentions

May [0, 2021 (20 days after Government
files its Response)

Government’s Response to Plaintiff's Final Disclosure
of Infringement Contentions

May 31, 2021 (21 days after Final
Disclosure of Infringement Contentions

Plaintiff's Reply to the Government’s Response to
Plaintiff’s Final Disclosure of Infringement
Contentions

June 21, 2021 (21 days after Government
files its Response)

Court issues an Opinion on Infringement and/or Non-

soa: .
Infringement Court’s discretion

TITLE V. SETTLEMENT; Rule 16 — Mandatory

Settlement Discussions Within 7 days after the Court’s Opinion

According to the Order filed 02/26/2021 in Case No. 13-307C; Dkt. No. 215, “In alleging
infringement of his patented CMDC technology, plaintiff attached a lengthy series of “claim
charts” illustrating allegations of how the government, and third parties at the government’s
behest, are infringing certain of his patents’ claims, Sixth Am. Compl. Ex. 7 at 100-108.
Defendant’s motion has not attempted to wrestle with that chart or otherwise explain with any
detail why those claims fail as a matter of law.” Plaintiff has included as Exhibit A, a copy of
Exhibit 7 of the Sixth Amended Complaint.

The Government explains its position in an e-mail correspondence with the Plaintiff,
stating:

“Further, given your statements below, it does not appear that further e-mail
correspondence on these issues will be productive at this point. Having said that, I would
like to correct some of the statements in your e-mail below for the record. To be clear,

there were no “new and improved cell phones” developed or manufactured as part of the

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Department of Homeland Security’s “CELL-ALL” project. Nor did the Government
“impliedly enter into a contract” with any of Apple, Samsung, or LG as part of the
CELL-ALL project. As explained in our Answers filed in this case, the CELL-ALL
project culminated in a September 28, 2011 demonstration in Los Angeles, at which two
separate prototype units were exhibited—one developed by NASA, and another
developed by Qualcomm. Those two prototype units were the only devices developed as
part of the CELL-ALL project, which concluded nearly a decade ago. The Government
has moved for notice to be issued to Apple, Samsung, and LG not because they were
contractors on the CELL-ALL project (they were not), but because you have alleged

that any Government use of these companies’ consumer electronics devices infringes

your asserted patents (Exhibit B)

Included in the e-mail correspondence is the Government’s proposed schedule. A copy of

the schedule is illustrated below.

Event Date
Government’s Answer March 12, 2021
Plaintiff's Preliminary Disclosure of Infringement May 7, 2021 (56 days after filing of
Contentions (Patent Rule 4) Answer)
Government’s Preliminary Disclosure of Invalidity July 2, 2021 (56 days after Preliminary
Contentions (Patent Rule 6) Infringement Contentions)
Parties exchange list of claim terms proposed for August 13, 2021 (42 days after Preliminary
construction (Patent Rule 9) Invalidity Contentions)
Parties exchange proposed constructions (Patent Rule September 10, 2021 (28 days after
10) exchange of list of proposed claim terms)
Parties file joint claim construction chart, appendix, October 15, 2021 (35 days after exchange
and prehearing statement (Patent Rule 11) of proposed constructions)
Parties file respective opening claim construction December 10, 2021 (56 days after filing of
briefs (Patent Rule 15(b)(1)) joint claim construction chart)
Parties file respective responsive claim construction January 7, 2022 (28 days after filing of
briefs (Patent Rule 15(b)(2)) opening claim construction briefs)
Claim Construction Hearing, if requested At the Court’s convenience
by the Court

Plaintiff believes the Defendant’s deceptive schedule is designed to do nothing more than
continue wasting this Court’s time. Example: “56 days for Plaintiff to submit Plaintiff's
preliminary infringement contentions.” The Government should have responded to Plaintiff's

preliminary infringement contentions in its Motion to Dismiss. Even after this Court cautioned

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the Government in the Court’s order, “Defendant’s motion has not attempted to wrestle with that
chart”, the Government elected not to respond to the chart when the Government submitted its
answer (Dkt. 217) to Plaintiffs complaint. But yet, the Government wants the Plaintiff to spend
another 56 days doing something Plaintiff has already done, and according to the Government’s
proposed schedule, the Government doesn’t plan to respond after Plaintiff submits another, or
the same, “preliminary infringement contentions”.

Plaintiff is seeking leave of this Court to file a “Motion for Default Judgement”. “Default
Judgment — Failure to take action can result in this binding judgment by a court in favor of the
other party. Example: If the defense fails to respond to a complaint and does not provide an
answer in a certain timeframe, the plaintiff may take an additional step: filing a motion for
default judgment. Once the motion is filed, the court may then choose to issue a default judgment

in favor of the plaintiff, since the defense failed to take the required actions.”

GOVERNMENT DESIGNED “CONSUMER DEVICES” FOR 260
MILLION CONSUMERS

Three main changes to the 2007 cell phone or smartphone that makes it a new and
improved cell phone or smartphone, made available for CBRN&E detection are: the central
processing unit (cpu) that is considered by many as the “brain” of the devices; the operating
systems that are considered by many as the “mind” of the devices; and, the wireless protocols
(i.c., Bluetooth, cellular, Wi-Fi, radio-frequency (RF))

“In order for the Cell-All public safety sensing and alerting system to be complete, four
links must be forged and joined together: the sensor and computing hardware, the sensing
application for mobile phones, a centralized server and network operations center, and the end
consumer, whether individuals, emergency operations centers, first responders, government
agencies, or private companies. Both Synkera and NASA are independently producing sensors—
with Synkera developing a stand-alone sensing card and NASA creating a nanosensor-embedded
“‘sieeve’’ for phones—that will detect chemicals in the immediate environment and
communicate those readings via Bluetooth, or other protocols, to phones (Li, 2011; Synkera
Technologies, 2011).”
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Therefore, connecting a Synkera stand-alone sensing card is accomplished the same as
connecting a smartwatch to a smartphone. Which means the smartphones are ready for
connecting 260 million smartphone users to a detection device. “To use a smartwatch (i.e., stand-
alone detection device), you need a smartphone. On your smartphone, you install the app that
comes with the smartwatch (i.e., stand-alone detection device), such as Android Wear
(Wear OS—operating system from Samsung's Tizen software) or Watch from Apple (i.e., watchOS
7—operating system). By opening the accompanying app on your smartphone and turning on

Bluetooth, you can synchronize the watch (i.e., stand-alone detection device) with your phone.”

Smartphones Could Form Chemical Detection Networks (By Jeremy Hsu, Nov. 2009)

The chemical sensing prototype plugged into an iPhone 30-pin dock connector with
the display-side up. (Image credit: Dominic Hart/NASA) Smartphones... double as chemical
sensors that can transmit alerts to first responders about the release of dangerous chemicals. A
NASA scientist has unveiled a postage-stamp-sized sensor that can plug into an iPhone and
convert Apple's... product into a mobile chemical detector. The tiny device can sniff out low
amounts of ammonia, chlorine gas and methane, and send alerts to other phones or computers
over regular phone networks or a Wi-Fi connection. "Ours is the smallest in the world that

can do complete sensing work," said Jing Li, a physical scientist at NASA's Ames Research
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Center in California. Li and other researchers developed the proof of concept for the Department
of Homeland Security's Cell-All program. Homeland Security hopes to eventually see
such sensing chips embedded in everybody's cell phone, so that the mobile devices could
form a huge chemical-alert network wherever people go. Having continuous use with the
sampling jet cuts the battery endurance down to around 20 hours; convert the sensing chip's
electronic signal from voltage to frequency, so that the iPhone's wave recorder could register
the sensor data. They even plan on the data including pinpoint locations of the chemical
events, courtesy of GPS on the iPhone. (Everything in bold above means an adaptation or
modification was made to the 2007 cell phone or smartphone to make it a new and improved cell
phone or smartphone that is available to 260 million users for CBRN&E detection).

The Government requested the development and manufacture for the Government, 260
million new and improved cell phones or smartphones (i.e., my CMDC devices), “capable
of’ CBRN&E detection. It doesn’t matter that the Cell-All project only produced two prototypes.
What matters now is the 260 million new and improved cell phones or smartphones that
ate “capable of” and currently ready to be used as chemical detectors, as a result of the Cell-All

initiative that reads on the 28 claims of my CMDC device asserted in this case.

IMPROVEMENT PATENTS

Most of the patent claims Plaintiff has asserted in this case falls into the category of a
“new and improved” invention over that of a regular utility invention. Most of the improvement
patent claims are stated as:
“A communication device of at least one of a cell phone, a smartphone, a desktop,
a handheld, a personal digital assistant (PDA), a laptop, or a computer terminal for
monitoring products, interconnected to a product for communication therebetween,
comprising:” or, “Monitoring equipment of at least one of the products grouped together
by common features in a product groupings category of design similarity comprising of a
computer terminal, personal computer (PC), laptop, desktop, notebook PC, handheld, cell
phone, personal digital assistant (PDA) or smart phone interconnected to a product for

communication therebetween, the monitoring equipment comprising:”
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An improvement patent is one that’s sought by an inventor who has not invented
something that is completely original but rather builds upon an existing invention. Most patents
are classified as improvement patents. When patenting an improvement to an existing invention,
the patent office looks at whether the improvement to an existing invention is meaningful, new,
non-obvious, and useful. If an inventor is able to patent his improvement, he will be able to stop
everyone, including the inventor of the original invention from making, selling, and importing
the invention as improved to the United States.

An individual would apply for an improvement patent the same way they would apply for
any patent. An improvement patent is applied for using a regular utility patent application. To
obtain an improvement patent, the invention must satisfy the patenting requirements set forth by
the USPTO. During the 20-year patent term, the patent holder will be able to stop others from
using, making, selling, and importing the patented invention to the United States without first
obtaining the patent holder’s expressed permission.

As equally important, Plaintiff has asserted regular utility patent claims in this case. A
regular utility patent is one that sought for an original invention that has never been patented nor
has been publicly disclosed. Plaintiff’s communicating, monitoring, detecting, and controlling
(CMDC) device has never been patented nor has been publicly disclosed, and is stated in
Plaintiff's patent claims as:

“A communication device comprising: at least one central processing unit (CPU);
at least one motion sensor in communication with the at least one CPU; at least one
viewing screen for monitoring in communication with the at least one CPU; at least one _
global positioning system (GPS) connection in communication with the at least one CPU;
at least one of an internet connection Wi-Fi connection in communication with the at
least one CPU; at least one of a Bluetooth connection, a cellular connection, or a satellite
connection in communication with the at least one CPU; at least one locking mechanism
in communication with the at least one CPU for locking the communication device, the at
least one locking mechanism configured to at least one of engage (lock) the
communication device, disengage (unlock) the communication device, or disable (make
unavailable) the communication device; at least one power source comprising of at least
one of a battery, electrical connection, or wireless connection, to provide power to the

communication device; at least one biometric sensor in communication with the at least
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one CPU for providing biometric authentication to access the communication device; at
least one or more detectors in communication with the at least one CPU for detecting at
least one of a chemical, biological, radiological, or explosive agents; at least one radio-
frequency near-field communication (NFC) connection in communication with the at
least one CPU: and at least one of a transmitter or a transceiver in communication with
the at least one CPU configured to send signals to monitor at least one of, a door, a
vehicle, or a building, send signals to lock or unlock doors, send signals to control
components of a vehicle, send signals to control components of, a building, or send
signals to detect at least one of a chemical biological, radiological, or explosive agent
such that the communication device is capable of communicating, monitoring,

detecting, and controlling.”

Plaintiff's “new and improved” cell phone, smartphone, desktop, handheld, personal
digital assistant (PDA), laptop, or computer terminal, are not recognized in the above quoted
patent claim because the communication device (CMDC device) stands on its own as an original
utility invention.

Therefore, the argument is not whether Plaintiff has a “new and improved” cell phone,
smartphone, etc. The argument is whether the products manufactured for or used by the
Government infringes each and every patent claim limitation of at least one of Plaintiff's
independent patent claims asserted in this case. But, because the Defense can’t see this, makes it
impossible to work with the Defendant on a status report going forward. Plaintiff recommends
going forward with determining if there is infringement or non-infringement. If there’s no

infringement, a challenge to Plaintiff's patent(s) validity and claim construction is not necessary.

THE GOVERNMENT IMPLIEDLY ENTERED INTO CONTRACTS WITH
APPLE, SAMSUNG, AND LG

Judge Braden. Memorandum Opinion and Order Denying the Government's Motion to Dismiss:
Larry Golden v. The United States; Case 1:13-cv-00307-SGB Document 94 Filed 11/30/16.

“Moreover, “authorization or consent of the Government,” does not need to be
expressly stated. See TVI Energy Corp. v. Blane, 806 F.2d 1057, 1060(Fed. Cir. 1986)
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(“[a]uthorization or consent by the Government can be express [or] [t]n proper
circumstances, Government authorization can be implied.”), Indeed, “authorization or
consent... may be given in many ways other than by . .. direct form of
communication—e.g., by contracting officer instructions, [or] by specifications . . . which
impliedly sanction and necessitate infringement[.]” Hughes Aircraft co, 534 F.2d at 901.”
“Based on the alleged facts, the court can reasonably infer that iControl is a
government contractor and that the manufacture and use of M-Lock was “for the benefit
of [DHS].” see Advanced Software Design Corp., 583 F.3d at 1378. In light of the
allegation that the inventions disclosed in patents ‘752 and ‘990 were designed to prevent
terrorist activity, it is plausible that iControl manufactured an infringing device for the
benefit of DHS to promote national security, see, e.g., Hughes Aircraft Co., 534 F.2d at
898 (finding that the government's participation in a satellite program was “for the
Government,” because the program was vital to the military defense and security of the

United States). Moreover, under section 1498({a), “Government authorization or consent”

can be implied by circumstances. See TVI Energy Corp, 806 F.2d at 1060.”

“In light of these allegations, the court can reasonably infer that Eureka
Aerospace’s manufacture and use of the HPEMS advances the military defense and
security of the United States ‘and is thus... “for the benefit of the Government.” see, e.g,
Hughes Aircraft co., 534 F.2d at 898. Moreover, construed in the light most favorable to
Plaintiff, the February 12, 2016 Amended Complaint alleges that USAF contracted with
Eureka Aerospace to develop and commercialize the HPEMS—sufficient facts to support

a reasonable inference that USAF implicitly authorized the manufacture and use of the

infringing device. See TVI Energy Corp., 806 F.2d at 1060,”

“The February 12, 2016 Amended Complaint’s NSF claims also allege sufficient
facts to plausibly establish that the use of the accused devices was “with the authorization
or consent of the Government.” Authorization or consent can be implied from the
circumstances— “e.g., by contracting officer instructions, [or] specifications or drawings
which impliedly sanction and necessitate infringement.” Hughes Aircraft Co., 534 F.2d at
901. For example, in TV Energy Corp., the United States Court of Appeals for the

Federal Circuit held that the Government impliedly sanctioned the use of a patented
invention when it issued a solicitation that required bidders to submit for inspection, and

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perform live demonstrations of, the accused device. See TVI Energy Corp., 806 F.2d at
1060.”

“In this case, the relevant NSF grants anticipate that the awardees will develop
and test the devices proposed in their applications. See, ¢.g., NSF Award No. 1444240
(“Annual and Final project reports, as required in the NSF Grant Conditions, should

document all efforts and outcomes, whether or not they are successful.”). Government

funding of research that will lead to the development and testing of an accused device
supports a reasonable inference that the Government impliedly sanctioned infringing
activity.”

MOBILE DEVICE SECURITY FOR “GOVERNMENT USERS”

Message:

“I am pleased to submit the following report, ‘Study on Mobile Device Security,’
which was prepared by the Department of Homeland Security (DHS) in consultation with
the National Institute of Standards and Technology (NIST). This report was prepared
pursuant to Section 401 of the Cybersecurity Act of 2015 (Consolidated Appropriations
Act of 2016, Div. N, § 401, Pub. L. 114-113, 129 Stat. 2244, 2977-78 [2015]). Pursuant
to congressional requirements, this report is being provided to the following Members of
Congress: The Honorable Orrin Hatch, President Pro Tempore of the Senate; and, The
Honorable Paul Ryan, Speaker of the House.” Department of Homeland Security / “Study
on Mobile Device Security” | Message from the Under Secretary (Acting) for Science
and Technology, Apri! 2017. (Exhibit C)

Executive Summary:

“Threats to the Government’s use of mobile devices are real and exist across all
elements of the mobile ecosystem... the typical use of the devices outside the agency’s
traditional network boundaries requires a security approach that differs substantially from
the protections developed for desktop workstations... For the purposes of this study, the
term “mobile device” refers to smartphones and tablets running mobile operating
systems, as defined in NIST Special Publication 800-53, Revision 4. Mobile phones and

the subclass of smartphones represent one of the greatest advances in human

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communication in history... According to the Global System for Mobile Alliance
(GSMA), the professional body composed of most carriers, mobile network operators and
equipment makers, penetration in 2015 reached 4.7 billion unique subscribers globally.
By 2020 that number is expected to reach 5.6 billion, meaning that over 70 percent of the
world’s population will have a mobile subscription... The stakes for government users
are high. Government mobile devices... represent an avenue to attack back-end systems
containing data on millions of Americans in addition to sensitive information relevant to
government functions... Threats range from advanced nation state attacks, to organized
crime using advanced fraud technologies, to simple theft of mobile phones. The threats to
government users of mobile devices include the same threats that target consumers, e.g.,
call interception and monitoring, user location tracking, attackers seeking financial gain
through banking fraud, social engineering, ransomware, identity theft, or theft of the
device, services, or any sensitive data... This report addresses each element of the
ecosystem with sections providing a detailed summary of the greatest threats in each area
as well as current mitigations and defenses. The threat model is examined in detail with
further delineation in the newly published draft NIST Interagency Report 8144, Assessing
Threats to Mobile Devices & Infrastructure: The Mobile Threat Catalogue... The
Government should select mobile devices and enterprise mobility management products
that have been evaluated to meet a minimum level of security, e.g., the NIAP Product
Compliant List or other Government approved product lists. NIAP approved products
must be considered in the context of the environment of use, including appropriate risk
analysis and system accreditation requirements. Customers must ensure that the products
selected will provide the necessary security functionality for their architecture... These
solutions will require collaboration between the public and private sectors to address the
needs of the Government for increased mobile security but the solutions wiil not solely
benefit the Government... The Department of Homeland Security is responsible for
safeguarding the American people, our homeland, and our values, The threats detailed in
this paper to cybersecurity in general and mobile security in particular pose serious
challenges to the security and resilience of the Nation.

Security features for DHS’s new and improved mobile devices:

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“Mobile devices generally use an isolated execution environment such as a
Trusted Execution Environment (TEE) (on Android and some other devices) and Apple’s
Secure Enclave (on Apple iOS devices) that runs independently from the main operating
system (e.g., Android or iOS). These environments provide security-critical capabilities
such as storing cryptographic keys, including the keys used to encrypt sensitive data
stored on the mobile device. Moving security-critical capabilities to an isolated execution
environment provides resilience against attacks that successfully exploit the main
operating system.” “Security requires integrity from individual components and also how
they work together as an integrated system. DHS Study on Mobile Device Security - April
2017 - FINAL https://www.dhs.gov/sites/default/files/publications
/DHS%20Study%200n%20Mobile%20Device%20Security%20-%20A pril%202017-
FINAL.pdf

“Table 2. Available Defenses to Mitigate Attacks Against Device Components:
Acquire only devices that meet security criteria—Seek commitments from the device
vendor or mobile carrier at procurement to provide security updates in a timely manner
and continue security update support for a set period. Use strong authentication
mechanisms—even when. available—for cloud services on which the device depends for
secure functionality. Only purchase devices with secure boot capabilities and other
critical security features, e.g., as defined in NIAP’s Mobile Device Fundamentals
Protection Profile.” DHS Study on Mobile Device Security - April 2017 - FINAL
https://www.dhs.gov/sites/default/files/publications/DHS%20Study%200n%20
Mobile%20Device%20Security%20-%20A pril%202017-FINAL.pdf

. “Google has implemented a version of this strategy with Smart Lock, which uses
information about trusted Bluetooth devices, trusted places, and on-body detection to
reduce the number of required manual screen unlocks. Google had previously determined
that many users avoid use of a passcode for screen lock due to the number of times the
sereen had to be unlocked throughout the day...” “The recent addition of fingerprint
sensors to many mobile devices has encouraged users to set a screen lock passcode since
having a passcode is required for enabling the fingerprint sensor. Adrian Ludwig of
Google’s Android Security Team reported that the use of the lock screen has increased

from around 50 percent to 90 percent on Android devices with a fingerprint sensor.

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Apple’s Touch ID has likely had similar effects on iOS devices. Apple and Google have
added activation lock capabilities to their mobile devices that prevent lost or stolen
devices from being factory reset...” DHS Study on Mobile Device Security - April 2017 -
FINAL https://www.dhs.gov/sites/default/files/publications/DHS%20Study”200n
%20Mobile%20Device%20Security%20-%20A pril%202017-FINAL.pdf

“To combat USB attacks, iOS and Android devices now require the mobile device
user to explicitly trust any new PC to which the device has not previously connected. The
device screen must be unlocked to establish the trust... The most important action to
defend against physical threats is to ensure that mobile devices always have a screen lock
PIN or password. If there is not a screen lock, it is easy for an attacker to access the data
or functionality of a lost or stolen mobile device. Enrolling devices into an EMM system
provides an enterprise the ability to enforce use of a screen lock... On iOS devices,
Apple’s Device Enrollment Program can be used to automatically enroll enterprise-
owned devices into enterprise management and ensure the devices cannot be removed
from management.” DHS Study on Mobile Device Security - April 2017 - FINAL
https://www.dhs.gov/sites/default/files/publications/DHS%20Study%200n
%20Mobile%20Device%20Security%20-%20A pril%202017-FINAL.pdf

“[JI.1 Approach to Mobile Security: As depicted in Figure 2, these unique
attributes include their almost always powered-on state, ubiquitous network connectivity,
multiple radio interfaces (cellular, Wi-Fi, NFC, Bluetooth), and inclusion of a wide
variety of sensors including biometric, GPS, compass, gyroscope, barometer, camera, and
microphone array. These properties mean a desktop approach to security is not
sufficient...” “There is a need for additional efforts and education to encourage users to
enable screen lock on their devices regardless if a PIN, gesture, or biometric is used to
protect it. Existing strong authentication solutions are not designed to complement the
mobile form factor. More research is needed that incorporates the unique sensor data
(motion sensor/ accelerometer, gyroscope, GPS, force sensor, capacitive sensor and
camera) captured by the device to uniquely identify the registered device user.” DHS
Study on Mobile Device Security - April 2017 - FINAL https://www.dhs.gov
/sites/default/files/publications/DHS%20Study%200n%20Mobile%20Device“20Securit
¥%20%20A pril%202017-FINAL.pdf

14
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“The ‘RAN? is the part of the mobile network that connects mobile subscribers to
their service provider network using Radio Frequency (RF) signaling over an “air
interface,” i.e., wirelessly. The RAN typically includes tower antennas, RF transceivers
and RF controllers. To protect the privacy of callers, this part of the service is typically
encrypted, although the level of encryption varies from network type to network type and
by decisions the carrier makes in implementing this capability. Different levels of
protection exist and vary widely by country...” “Near Field Communication Forum (NFC
Forum). NFC is a set of communication protocols developed by the NFC Forum. It is
designed to enable data exchanges at extremely close ranges (less than 3 inches). The
integration of NFC technology into mobile devices is increasing because it enables an
expanding number of capabilities. NFC is designed such that security can be integrated at
multiple points in the protocol stack.” DHS Study on Mobile Device Security - April 2017
- FINAL
https://www.dhs.gov/sites/default/files/publications/DHS%20Study%20o0n%20Mobile
%20Device%20Security%20-%20A pril%202017-FINAL.pdf
Security features for Apple, Samsung, LG, and Qualcomm’s new and improved
mobile devices:

As described in Section IV.2.1, mobile device vendors have taken novel
approaches to security architectures beyond the traditional approaches of desktop
personal computers (PCs). Additionally, the National Information Assurance Partnership
(NIAP) has had great success collaborating with the mobile industry through its Mobility
Technical Community to develop technology-specific security requirements for mobile
devices and mobile device management solutions, Numerous vendors, including Apple,
Boeing, LG, Microsoft, Mobilelron, and Samsung have successfully taken mobility
products through Common Criteria evaluations against these requirements. For more
information concerning NIAP and the security requirements documentation, refer to
Section III.2. DHS Study on Mobile Device Security - April 2017 - FINAL
https://www.dhs.gov/sites/default/files/publications/DHS%20Study%200n%20
Mobile%20Device%20Security%20-%20A pril%202017-FINAL.pdf

These security architecture improvements across all the mainstream mobile and

PC operating systems (Google’s Android and Apple’s iOS as well as Microsoft’s

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Windows and other operating systems) are to be encouraged and applauded because they
increase resilience to attack and raise the level of difficulty and the cost for attackers to
discover vulnerabilities and develop exploits. DHS Study on Mobile Device Security -
April 2017 - FINAL https://www.dhs.gov /sites/default/files/publications
/DHS%20Study%200n%20Mobile%20Device%20Security%20-%20A pril%202017-
FINAL. pdf

Some individual Android vendors have incorporated their own security features in
addition to what Google provides. For example, many of Samsung’s Android devices
feature additional security capabilities such as their Real-time Kernel Protection (RKP)
feature and TrustZone-based Integrity Measurement Architecture (TIMA) to detect and
respond to indications of device compromise... DHS Study on Mobile Device Security -
April 2017 - FINAL .
https://www.dhs.gov/sites/default/files/publications/DHS%20Study%200n%20Mobile%
20Device%20Security%20-%20A pril%202017-FINAL.pdf

Security requires integrity from individual components and also how they work
together as an integrated system. Without a secure platform, you cannot have privacy—it
would be possible to have a secure device that does not address privacy, but not the other
way around. Qualcomm / DHS Study on Mobile Device Security - April 2017 - FINAL
https://www.dhs. gov/sites /default/files/publications
/DHS%20Study%200n%20Mobile%20Device%20Security%20-%20A pril%202017-
FINAL. pdf

Rogue base stations can also interfere with network-assisted location services by
failing to interoperate with the service correctly. GPS units in smartphones need this
service to quickly and reliably determine their location. This would mean both the mobile
phone and the emergency call center would lack adequate location information to
dispatch services. DHS Study on Mobile Device Security - April 2017 - FINAL
https://www.dhs.gov/sites/default/files /publications/DHS%20 Study%200n%20Mobile%
20Device%20Security%20-%20A pril%202017-FINAL.pdf

GOVERNMENT INITIATIVES FOR A “NEW _ AND IMPROVED
“CELL PHONE, SMARTPHONE, TABLET

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(i.e., PLAINTIFF’S CMDC DEVICES)

1. The U.S. Government Accountability Office: According to the most recent OMB
estimate, the federal government spends about $1.2 billion annually on about 1.5 million mobile
devices and associated services. View GAO-15-431. For more information, contact Carol R. Cha
at (202) 512-4456 or chac@gao.gov.

2. Beginning in year 2008 and continuing, the “Government” has given
authorization and consent through contracts, agreements, grants, and procurements, to at least the
mobile device manufacturers and developers of Apple, Samsung, Qualcomm, LG, Motorola, and
Panasonic for the development and manufacture of mobile devices to be used by and for the
“Government”. All contracts, agreements, and procurements were made with the mobile device
manufacturers Apple, Samsung, Qualcomm, LG, Motorola, and Panasonic after the Patent
Owner gave notice to the “Government” between the years 2006 and 2007. See Plaintiff's
discovery production at Section VII., A-E; and Docket No. 101 for the following:

3. 2008: “DHS S&T is pursuing what’s known as cooperative research and
development agreements with four cell phone manufacturers: Qualcomm, LG, Apple, and
Samsung. These written agreements, which bring together a private company and a government
agency for a specific project, often accelerate the commercialization of technology developed for
government purposes.” Quote taken directly from the Department of Homeland Security’s
website.

4, 2008: “During the demonstration, chemical readings captured from the simulated
scenarios as well as location data are transmitted to the test network. The cell phone number is
also transmitted; however, this information is scrubbed by the cell phone provider (per
agreements with S&T) and is not displayed in the final output.”

5. 2012: “The U.S. Department of Defense expects in coming weeks to grant two
separate security approvals for Samsung's Galaxy smartphones, along with iPhones and iPads
running Apple's latest operating system—moves that would boost the number of U.S.
government agencies allowed to use those devices. An approval by the Pentagon is considered as
the highest standards in security.”

6. 2013: Smartphones and Handheld Devices for Defense and Homeland Security
Strategies, Plans, Challenges & Opportunities Symposium:

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a. “U.S. Coast Guard Smartphones Needs, Challenges & Opportunities”
Rear Admiral Robert E. Day, Jr., Assistant Commandant for Command, Control,
Communications, Computers & Information Technology, (C4IT) & Director, Coast
Guard Cyber Command, Pre-Commissioning Detachment, U.S. Coast Guard.

b, “DoD Mobile Strategy” Mr. Mark Norton, Senior Engineer, Department
of Defense, Office of the Chief Information Officer, Office of the Under Secretary of
Defense (CIO/OSD).

c. “Update on Spectrum Sharing for Mobile Devices at the Tactical Edge”
Mr. Julius Knapp, Chief Engineer, Office of Engineering and Technology, Federal
Communications Commission (FCC).

d. “Secure Smartphone Computing, Needs and Opportunities for a Secure yet
Mobile Platform” Mr. Keith Trippie, Executive Director, Enterprise System
Development, Office of the Chief Information Officer, Department of Homeland Security
(DHS).

€. “DISA’s Strategic Mobility Vision” Mr. Gregory Youst, Chief Mobility
Engineer, Technology and Integration Division, Chief Technology Officer, Defense
Information Systems Agency (DISA) (invited),

f. “Content-Based Mobile Edge Networking (CBMEN)” Dr. Keith
Gremban, PhD., Program Manager, Content Based Mobile Edge Networking (CBMEN),
Defense Advanced Research Project Agency (DARPA).

g. “Transformative Apps Program” Mr. Doran Michaels, Program Manager,
Transformative Apps, DARPA.

h. “Windshear II Update” Mr. John-Isaac Clark, Chief Innovation Officer,
Thermopylae Sciences & Technology & Mr. Lenwood Washington, Senior Systems
Engineer, Mission Integration Directorate, Acquisition and Engineering, National
Reconnaissance Office (NRO).

i. “Advancements in Mobile Devices for Chem-Bio Detection and
Characterization” Dr. Calvin CHUE, PhD., Research Biologist, U.S. Army Research,
Development and Engineering Command (RDECOM).

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j. “ADAPT Unattended Ground Sensor Using Android Operating System
and Original Design Manufacturers” Mr. Mark Rich, Program Manager, Strategic
Technology Office, DARPA.

7. 2013: “The U.S. Department of Defense confirmed in a statement on Friday
that Apple's iOS 6 mobile operating system is secure enough to connect to secure Pentagon
networks.”

8. 2013: “Samsung's potential government deal signals new era for mobile security:
Samsung may be ready to sign deals with the FBI and the U.S. Navy. Analysts say the news is
proof that mobile in the enterprise has arrived. Samsung is close to inking a deal with the FBI
and the U.S. Navy for mobile devices.”

9. 2013: “National Institute of Standards and Technology (NIST), which examines
and tests mobile devices and technologies for security clearance, granted the Apple software
FIPS 140-2 certification (Level 1) last Friday. This approves iPhones and iPads running the
software in conjunction with the U.S. government's lowest level of national security clearance.”

10. 2013: “The U.S. Department of Defense announced today that it was further
dropping its exclusive BlackBerry contract and opening all of its mobile communications
networks to Apple, Google, and other device makers. ‘The Department of Defense is taking a
leadership role in leveraging mobile device technology by ensuring its workforce is empowered
with mobile devices,’ Defense Department Chief Information Officer Teri Takai said in
a statement today.”

11. 2013: “Samsung recently received the nod from the Pentagon for any Samsung
device protected by the Knox security software, which includes the Galaxy $4 and other
compatible tablets.”

12. 2013: “For the first time, Apple's push into federal use opens up the U.S.
government and military to competition for device procurement in the mobile space.”

13. 2014: “The mobile device management system—MDML-began operating Jan. 3 las
a control system through which approved devices must operate to get access to Defense
Department networks. The MDM enforces security policies by blocking or permitting certain
functions on smartphones and tablets.”

14. 2014: “By opening its networks to Samsung and Apple devices, Defense
Information Systems Agency (DISA) intends to broaden the variety of mobile computers that

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troops and civilian Defense Department employees can use in the field, on bases, in offices and
elsewhere to receive and send information and work almost anywhere at any time.”

15. 2014: “Samsung has announced that five of its Galaxy devices have been
approved for the U.S government's Defense Information System Agency (DISA) products list.
The devices include the Galaxy S4, Galaxy S4 Active, Galaxy Note 3, the Galaxy Note Pro 12.2
and the Galaxy Note 10.1 2014 Edition. All of them are using Android 4.4 (KitKat) along
with Samsung's KNOX secure workspace platform, which includes system-level encryption for
enterprise-based apps.”

16. 2014: “The United States Air Force is replacing 5000 legacy BlackBerry
smartphones with Apple's iPhone, and eventually all of their BlackBerry users will have to make
the changeover. The announcement, reported by Defense News, comes as the future of
BlackBerry within the Department of Defense is debated, with the chips seeming to fall on the
side of transitioning away from a network supporting a mish-mash of BlackBerry 6 and 7
devices to a mix of modern devices — though apparently without BlackBerry 10 in that mix.”

17. 2015: “Navy Plans for Android and iOS Devices. The Navy Enterprise Networks
(NEN) Program Office is making progress on plans to transition to more modern mobile devices.
Early users will be able to choose between the iPhone Sc and 5s, but the Navy wants to be as
flexible as possible and allow users to pick the devices that will work best for them, and plans to
approve a wider range of devices. Approval to use the iPhone 6 and iPad Air is expected in Jan.
or Feb. 2015, and approval to use Samsung Android phones and tablets is expected in March.”

18. 2016: “This fiscal year Marines will receive Samsung smart phones that make
calling for fire support easier, quicker and more accurate. The Target Handoff System Version 2,
or THS V.2, is a portable system designed for use by dismounted Marines to locate targets,
pinpoint global positioning coordinates and call for close air, artillery and naval fire support
using secure digital communications.”

19. 2016: “Both the LG Electronics G5 and V10 received a security certification from
the U.S. Defense Information Systems Agency, as well as a certification by the National
Information Assurance Partnership, which administers independent tests to see if the devices are
reliable and secure. The two newer LG smartphone models have joined the select list of official
devices that can be used by Department of Defense employees, according to the handset
manufacturer and a DOD website. LG’s older models, the G3 and G4 also received DISA

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certifications. The phones come equipped with LG’s encryption technology from 2013, LG
GATE. The advanced tech has secure email options, supports Virtual Private Network (VPN),
and can remotely wipe the phone’s memory.”

20. 2016: “Use of Mobile Technology for Information Collection and
Dissemination”: A DACS Technology Assessment Report: The Data & Analysis Center for
Software (DACS) was one of several United States Department of Defense (DoD)
sponsored Information Analysis Centers (IACs), administered by the Defense Technical
Information Center (DTIC). It was managed by the U.S. Air Force Research Laboratory (AFRL)
and operated by Quanterion Solutions Inc. under a long-term DoD contract. The website is no
longer available and was replaced by https://www.csiac.org/ DACS Report Number 518055:
Contract FA1500-10-D-0010; Prepared for the Defense Technical Information Center; Prepared
By: Chet Hosmer, Chief Scientist; Carlton Jeffcoat, Vice President, Cyber Security Division;
Matt Davis, Malware Analyst; Wetstone/Allen Corporation of America; 10400 Eaton Place;
Fairfax, VA 22030; Thomas McGibbon, DACS Director; Quanterion Solutions Inc. 100
Seymour Road Utica, NY 13502. (Paragraphs a-f below were taken from the Report)

a. Mobile technology is increasingly being utilized as a tool for information
dissemination and collection across the Government. The Department of Defense (DoD),
Department of Homeland Security (DHS), Intelligence communities, and law
enforcement are among those agencies utilizing mobile technology for information
management. The primary mobile devices being utilized are the iPad®, iPhone®,
Android™, and Windows Mobile™. The open architecture of these devices is
advantageous for rapid application development and release.

b. New mobile technologies such as the iPhone®, iPad®, Android™ and
similar devices have revolutionized the way information can be distributed. In the past,
mobile devices such as Personal Data Assistants (PDAs) primarily focused on data
storage and display. Today, an increasingly large number of devices are focusing not only
on data storage and display, but also on communication and processing. As a result,
organizations have begun leveraging mobile technology as a means of information
dissemination. These organizations include, but are not limited to, Government

organizations such as the Department of Defense (DoD), the United States Army, the

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Department of Homeland Security (DHS), and a number of critical infrastructure
organizations.

c. Significant advancements in mobile technology have occurred since
September 11, 2001, both in the advancement of the devices and the infrastructures that
support them. For example, mobile devices like the Android™ and iPad® can now
operate equally and seamlessly via traditional cellular networks, as well as with
infrastructure/ad hoc wireless networks.

d. The Defense Advanced Research Projects Agency (DARPA) has launched
a program known as the Transformative Apps Program. The purpose of this program is to
place the correct mobile applications into the hands of warfighters. To facilitate this, a
military application store is being created to promote collaboration between developers
and users in the field.

é. Another DoD initiative is Connecting Soldiers to Digital Applications
(CSDA), sponsored by the Army Capabilities Integration Center (ARCIC) and the Army
CIO/G6, with support from the Army Training and Doctrine Command (TRADOC)
deputy commanding general! for Initial Military Training, and other Army organizations.
The purpose of this initiative is to determine the value of giving soldiers applications on
mobile devices [ARMY]. During Phase One of the initiative the Army experimented with
several types of smart phones to evaluate the effectiveness and usefulness of various
mobile applications in the field. Devices tested included the Apple iPhone®, Google
Android™ devices, and Microsoft Windows Mobile™ phones [C4ISR]. On these
devices, applications were tested which covered a wide range of functions.

f. DoD is also starting to integrate chemical and biological sensors into
mobile devices. Researchers from the University of California, San Diego have
developed a miniature chemical sensor which can detect harmful gas in the air and
automatically send the information about the type and transmitting range of the gas. The
chemical sensor is a silicon chip with hundreds of independent miniature sensors. These
can identify the molecule of specific toxic gas and then report on it.

21. The Bayh-Dole Act's coverage is not limited to procurement contracts governed
by the Federal Acquisition Regulation but extends to all "funding agreements" for research and

development. "Funding agreements" include contracts, grants, and cooperative agreements.”

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Only "subject inventions" are covered by the Bayh-Dole Act's provisions, so it is important to
understand the definition of this term. "Subject invention" is "any invention of the
contractor conceived or first actually reduced to practice in the performance of work under a
funding agreement.”

22. The statute is implemented in the “FAR” through the mandatory "Authorization
and Consent" clause for solicitations and contracts:"

(a) The Government authorizes and consents to all use and manufacture, in
performing this contract or any subcontract at any tier, of any invention described in and
covered by a United States patent (1) embodied in the structure or composition of any
article the delivery of which is accepted by the Government under this contract or (2)
used in machinery, tools, or methods whose use necessarily results from compliance by
the Contractor or a subcontractor with (i) specifications or written provisions forming a
part of this contract or (ii) specific written instructions given by the Contracting Officer
directing the manner of performance. The entire liability to the Government for
infringement of a patent of the United States shall be determined solely by the provisions
of the indemnity clause, if any, included in this contract or any subcontract hereunder
(including any lower-tier subcontract), and the Government assumes liability for all other
infringement to the extent of the authorization and consent herein above granted.

(b) The Contractor agrees to include, and require inclusion of, this clause, suitably
modified to identify the parties, in all subcontracts at any tier for supplies or services
(including construction, architect-engineer services, and materials, supplies, models,
samples, and design or testing services expected to exceed the simplified acquisition
threshold); however, omission of this clause from any subcontract, including those at or

below the simplified acquisition threshold, does not affect this authorization and consent.

CONTINUED GOVERNMENT INITIATIVES FOR A “NEW AND

IMPROVED “CELL PHONE, SMARTPHONE, TABLET (LE..,
PLAINTIFF’S CMDC DEVICES).

23. Plaintiff has included the alleged infringement of independent patent claims (13,
14, 15, 16, 17, 18, 19, & 20) of Plaintiff's ‘439 patent.

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Patent #: 9,589,439; Independent Claim 13

"TOUGHBOOK 31" Laptop
K-Max Self-flying Helicopter

Patent #:

9,589,439; Independent Claim
13

"TOUGHBOOK 31" Laptop
Passport Systems Inc. Base Control Unit
(BCU)

Patent #:

9,589,439; Independent Claim
13

Apple iPAD Tablet
Boeing MH-6 Little Bird Helicopter

Patent #:

9,589,439; Independent Claim
13

Navy Marine Corps Intranet (NMCI)
Network - Apple iPad

Patent #:

9,589,439; Independent Claim
13

Smartphone-Based Rapid Diagnostic
Tests

Patent #:

9,589,439; Independent Claim
13

Variable’s “NODE+Oxa’” for the Apple
(iPhone) Smartphone

Patent #:

9,589,439; Independent Claim
13

“COINS” Nano-Embedded Sensors for
Smartphones

Patent #:

9,589,439; Independent Claim
13

Samsung Galaxy s6 "BioPhone"

Patent #:

9,589,439; Independent Claim
13

"Biotouch" Samsung Galaxy s6

Patent #:

9,589,439; Independent Claim
13

PositivelD / "Firefly DX"
Samsung Galaxy s6 Smartphone

Patent #:

9,589,439; Independent Claim
13

Patent #: 9,589,439; Independent Claim 14

"Cell-All": Samsung Galaxy s6

Patent #:

9,589,439; Independent Claim
14

Navy Marine Corps Intranet (NMCI)
Network - Samsung Galaxy s6

Patent #:

9,589,439; Independent Claim
14

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1”x2” Detection Device (DD) Samsung
Galaxy s6 Smartphone

Patent #:

9,589,439; Independent Claim
14

NetS? SmartShield G500 Radiation
Detector Samsung Galaxy s6 Smartphone

Patent #:

9,589,439; Independent Claim
14

"Kromek D3S-ID”: A Standalone Isotope
ID

Patent #:

9,589,439; Independent Claim
14

Patent #: 9,589,439; Independent Claim 15

MIT: "NFC" Samsung Galaxy s6
Smartphone Sensor

Patent #:

9,589,439; Independent Claim
15

Navy Marine Corps Intranet (NMCI)
Network - Samsung Galaxy s6

Patent #:

9,589,439; Independent Claim
15

Patent #: 9,589,439; Independent Claim 16

NRL: SIN-VAPOR / Smartphone System

Patent #:

9,589,439; Independent Claim
16

iPhone "Biodetector" Smartphone

Patent #:

9,589,439; Independent Claim
16

FLIR: identiF _NDER R300 / Smartphone
System

Patent #:

9,589,439; Independent Claim
16

Patent #: 9,589,439; Independent Claim 17

"VOCket System" / "Nett Warrior"
Smartphone System

Patent #:

9,589,439; Independent Claim
Lf

GammapPix for Android Smartphones

Patent #:

9,589,439; Independent Claim
17

"Biotouch System" / "Nett Warrior"
Smartphone System

Patent #:

9,589,439; Independent Claim
17

MultiRae Pro Wireless Portable Multi
Threat Radiation and Chemical Detector

Patent #:

9,589,439; Independent Claim
17

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Patent #: 9,589,439; Independent Claim 19

EAGER: Mobile-Phone Based Single
Molecule Imaging for DNA

Patent #:

9,589,439; Independent Claim
19

INSPIRE Track 2: Public Health
Nanotechnology and Mobility (PHeNoM)

Patent #:

9,589,439; Independent Claim
19

PFI:BIC Human-Centered Smart-
Integration of Mobile Imaging and
Sensing

Patent #:

9,589,439; Independent Claim
19

EFRI-BioFlex: Cellphone-Based Digital
Immunoassay Platform

Patent #:

9,589,439; Independent Claim
19

“Multimode Smartphone Biosensor”

Patent #:

9,589,439; Independent Claim
19

EAGER: Lab-in-a-Smartphone

Patent #:

9,589,439; Independent Claim
19

PFI-BIC "Pathtracker: Smartphone-based
for Mobile Infectious Disease Detection

Patent #:

9,589,439; Independent Claim
19

I-Corps: Ultra-Sensitive Lateral Flow
Reporters / Lab-on-Phone Platform

Patent #:

9,589,439; Independent Claim
19

Smartphone (iPhone) Microscope

Patent #:

9,589,439; Independent Claim
19

Smartphone (iPhone) Biosensor "Cradle"

Patent #:

9,589,439; Independent Claim
19

AOptix Stratus MX Peripheral for the
Apple (iPhone) Smartphone

Patent #:

9,589,439; Independent Claim
19

PositivelD - Boeing / M-Band
Apple (iPhone) Smartphone

Patent #:

9,589,439; Independent Claim
19

Samsung Galaxy s6 "Microscope"
Smartphone

Patent #:

9,589,439; Independent Claim
19

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Cas€as?-24-22567-E@Scuiimsntrent PayeFiled OSkwalogreaecyof 35

Patent #: 9,589,439; Independent Claim 20

Patent #: 9,589,439; Independent Claim

"Cell-All": Apple iPhone 70

Patent #: 9,589,439; Independent Claim

"Kromek D3S-NET”: Apple iPhone 70

Biomeme “two3” Mobile Thermocycler: Patent #: 9,589,439; Independent Claim

Apple iPhone 20
Smartphone-operated “LAMP box”: Patent #: 9,589,439; Independent Claim
Apple iPhone 20

Alluviam LLC HazMasterG3: Apple Patent #: 9,589,439; Independent Claim
iPhone 20

Patent #: 9,589,439; Independent Claim

FePhone Point-of-Care: Apple iPhone 50

Patent #: 9,589,439; Independent Claim

NutriPhone Lab-on-a-Chip: Apple iPhone 20

Patent #: 9,589,439; Independent Claim

FeverPhone: Apple iPhone 70

Patent #: 9,589,439; Independent Claim

Solar Thermal PCR Test: Apple iPhone 0

Patent #: 9,589,439; Independent Claim

Lab-on-a-Drone: Apple iPhone 70

PLAINTIFF’S PROGRESSIVE SETTLEMENT OFFER

In the parties’ e-mail correspondence, (Exhibit D), Plaintiff presented to the Government
a progressive settlement offer. The District Court has in place incentives to encourage

Defendant’s not to engage in stall tactics, such as the one the Government has presented in its

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Case Gaké-c2492286-EGBocDonument 2Pag&ilegi03/FHed: (BAUER af 35

proposed scheduling order, by issuing preliminary injunctive relief and/or awarding triple

damages for willful infringement.

The Court of Federal Claims is barred from granting preliminary injunctive relief and/or

awarding triple damages for willful infringement. This Court is limited to awarding a reasonable

royalty. Plaintiff therefore introduced to the Government a progressive settlement offer that is

described as follows:

“Plaintiff believes this case should be settled between the Parties, Plaintiff also
believes the Defendant should be held accountable if he/she continues to force needless,
unnecessary, and redundant litigation. Plaintiff is proposing a settlement of one billion
dollars tax free or one billion, four hundred million dollars taxable.

Since 2002, DHS has awarded nearly $54 billion in preparedness grants to
strengthen our nation’s ability to prevent, protect against, mitigate, respond to and
recover from terrorist attacks, major disasters, and other emergencies in support of the
National Preparedness Goal and the National Preparedness System. Plaintiff started his
projects of terrorist prevention in 2002.

To this day, Plaintiff has received “zero” dollars for what could be consider the
most effective means of preventing, protecting against, mitigating, responding to and
recovering from terrorist attacks this Nation has seen. Equipping 240M participants (to
form a network of ubiquitous sensing) with the ability to detect for CBRNE-H is without
parallel. Calculation: $54 billion dollars divided by 18 years equals $3 billion dollars
per/year. For Plaintiffs contribution to our Nation’s security, Plaintiff is willing to settle
for $1 billion tax-free.

Provided the DHS was appropriated $8 billion dollars for SBI-Net and $3 billion
dollars for Bio-Watch 3, I’m sure the Government can see the value of a non-exclusive
license for the rights to manufacture and use technology to prevent, protect against,
mitigate, respond to and recover from terrorist attacks on a mass scale for only $1 billion
dollars tax-free.

To settle now, before claim construction is instituted, one billion dollars tax free
or one billion, four hundred million dollars taxable. If claim construction is instituted, add
another one billion dollars tax free or one billion, four hundred million dollars taxable. If

during claim construction Plaintiff has to relitigate (construe) any material that has been

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Case Cabd-c240226¢ -EGRocDoaument 22Pagéilese03/F9ed: OBagEaAP of 35

previously litigated, add another one billion dollars tax free or one billion, four hundred
million dollars taxable.

If patent infringement analysis is instituted, add another one billion dollars tax
free or one billion, four hundred million dollars taxable. If Plaintiff has to defend against
unsubstantial limitations beyond that of a communication/monitoring device comprising
a central processing unit capable of processing instructions to detect for CBRNE, i.e.,
biometric authentication; disabling lock after multiple fail attempts to open; radio
frequency near-field communication; C/B medical detection and diagnosis; locking and
unlocking of doors; control the operating systems of vehicles; stall, stop and slowdown
vehicles; operate unmanned aerial, sea and land vehicles; or the inclusion of an enhanced
GPS location and tracking system, add another one billion dollars tax free or one billion,
four hundred million dollars taxable per occurrence.

If patent validity is instituted, add another one billion dollars tax free or one
billion, four hundred million dollars taxable. If Plaintiff again has to defend against
patents that do not antedate Plaintiff's priority date for his patents, add another one
billion dollars tax free or one billion, four hundred million dollars taxable per occurrence.
If Plaintiff has to defend against patents that has already been presented in the
prosecution of any of Plaintiff's patents, add another one billion dollars tax free or one
billion, four hundred million dollars taxable per occurrence. If Plaintiff has to defend
against rejections (i.e., challenging the patents’ validity) that are not presented on the
heightened standard of “clear and convincing evidence”, add another one billion dollars

tax free or one billion, four hundred million dollars taxable per occurrence.”

In the e-mail correspondence, Plaintiff also warned the Government not to offer Apple,

Samsung, and LG shelter away from litigating in the District Courts. According to the

Government, “Apple, Samsung, and LG may have an interest in establishing their respective

rights to manufacture, use, and sell the accused commercially available consumer electronics

devices free from claims of infringement, as illustrated by Plaintiff's suits filed in the District of
South Carolina.” (Dkt 216; Case No. 1:13-cv-00307-EGB).

“If you establish back to this case, Apple, Samsung, and LG as third-party

government contractors to the Cell-All initiative, my settlement terms will change

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Case Cake-c?4en28¢-EGBocDoaument 2Pagéile@s03/FNed: OBABEAD of 35

enormously... Establishing Apple, Samsung, and LG as third-party government
contractors to the Cell-All initiative means I could possibly be deprived of having my
case(s) heard by a jury; deprived of a preliminary injunction; deprived of an SEC
mandatory reporting of a lawsuit that is equivalent to 10% or more of a company's assets;
deprived of an SEC mandatory reserve requirement imposed on the companies to cover
estimated damages (Exhibit D) resulting from a lawsuit; deprived of triple damages for
willful infringement; and, deprived of litigating Plaintiffs Antitrust Law Violations

case.”

CLAIM CONSTRUCTION

Plaintiff also explained to the Government that the Plaintiff has undergone “claim
construction” during a PTAB instituted infer partes review (IPR) (Exhibit D) that was petition
by Government agencies (i.e., Defendants the DOJ & DHS) who were not “persons” authorized
to petition the PTAB to institute a trial to invalidate a Patent Owner’s patents or patent claims
Return Mail y. The United States. PTAB Final Written Decision: “Claim Construction in an inter
partes review, we interpret claim terms in unexpired patents according to their broadest
reasonable construction in light of the specification of the patent in which they appear. 37 C.F.R.
§ 42.100(b); In re Cuozzo Speed Techs., LLC, 793 F.3d 1268, 1276-79 (Fed. Cir. 2015).” “[ijn
the Decision to Institute, we construed certain claim terms... Claim Term Construction:
‘communication device’ (claim 81) construed to mean the same as ‘monitoring equipment’ Dec.
to Inst. 11-16. No party challenges these constructions.”

Collateral estoppel (Exhibit D) applies when the following five elements are satisfied:
“(1) the identical issues were presented in a prior proceeding; (2) there was a full and fair
opportunity to litigate the issues in the prior proceeding; (3) the issues in the prior litigation were
a critical and necessary part of the prior determination; (4) the parties in the two proceedings
were identical; and (5) the issues were actually litigated in the prior proceeding.” Pearce v.
Sandler, 219 So.3d 961, 965 (Fla. 3d DCA 2017) quoting Topps v. State, 865 So.2d 1253, 1255
(Fla, 2004). When these elements are satisfied, “[c]ollateral estoppel precludes re-litigating an
issue where the same issue has been fully litigated by the parties or their privies, and a final
decision has been rendered by a court.” Id. quoting Mtge. Elec. Registration Sys., Inc. v. Badra,
991 So.2d 1037, 1039 (Fla. 4th DCA 2008).

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Case Cake:c2402388-EGBocDogument 2Pagéilee03/2984; OBAUE BIR af 35

Plaintiff is asking this Court to accept in good faith Plaintiff's progressive settlement

schedule as fair to both parties in the ongoing upcoming proceedings.

PLAINTIFF OBJECTS TO ANY FURTHER ACTION BY THE
GOVERNMENT ON CHALLENGING THE VALIDITY OF PLAINTIFF’S
PATENTS

The AJA of 2011 created... post-grant patent review proceedings... available to any
“person” who is not the patent owner... “if the U.S is sued in a patent dispute, can it bring one of
these AIA challenges? On June 10, 2019, the Supreme Court in Return Mail Inc. v. United States
Postal Service, holding that the answer is no—the U.S. Government is not a “person” with
standing to bring petitions for AIA post-grant review proceedings.”

Three years after the AIA of 2011 the Government filed on April 30, 2014, a Petition for
Inter Partes Review (IPR): United States Department of Homeland Security / Petitioner, V. Larry
Golden / Patent Owner; Case IPR2014-00714; U.S. Patent No. RE043,990; filed by Lavanya
Ratnam, Department of Homeland Security (DHS), and joined by Kirby Wing-Kay Lee,
Department of Justice representing the United States.

It is the belief of Plaintiff, the Government knew, or should have known, it was not a
“person” for purposes of petitioning the PTAB to institute patent validity. Therefore, the timing
and decision of Return Mail did not change the “/aw” that was established in year 2011. The
decision in Return Mail only upheld a “law” already in existence at the time of the
Government’s filing in year 2014. Plaintiff spent eighteen months trying to defend against a
frivolous and bad faith inter partes review (IPR).

It is further the belief of Plaintiff, the DOJ and DHS deliberately submitted prior art
references in its petition for inter partes review that does not antedate the Plaintiffs ‘990 patent
asserted in the petition. The PTAB was given notice that the prior art references of Astrin, Breed,
and Mostov, asserted in the IPR, does not antedate Plaintiff's RE43990 patent. The notice can be
found at Case 1:13-cv-00307-EGB Document 48 Filed 07/30/14 Page 4 of 15. PATENT
OWNER’S PRELIMINARY RESPONSE. “Pursuant to 35 U.S.C. § 313 and 37 C.F.R. § 42.107:

“the Patent Owner hereby provides a Preliminary Response to the April 30, 2014 Petition

for Inter Partes Review (“Pet.”) ... I. Inter Partes Review should not be instituted based

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Case Qak®-c2402298-EGBocDonument 2239 Filee3/2Ned: OBaLPAPaf 35

on anticipation by Astrin, Mostov and Breed because neither antedates or anticipates any
of the challenged claims 11, 74 and 81 of Golden’s ’990 patent:”

The second notice was during the entire IPR review. The last notice I submitted to the
PTAB as proof the prior art references of Astrin, Breed, and Mostov, asserted in the IPR, does
not antedate Plaintiff's RE43990 patent was in Plaintiff's “Request for Rehearing” filed on
October 24, 2015 with the PTAB Case IPR2014-00714 Patent RE43,990. The PTAB finally
recognized in the Final Decision that the two patents of Astrin and Breed, instituted at the start of
the inter partes review, did not antedate Plaintiff's ‘990 patent. But, without notice and without a
chance to defend Plaintiffs patent and patent claims, the PTAB reintroduced the Mostov patent
because the PTAB believed the Mostov patent antedated the Plaintiff's ‘990 patent.

Submitted with Plaintiff's PTAB Request for Rehearing

Reference Filing Date Publication Date | Basis for anticipation

U.S. Patent Application Publication

No. 2006/0250235 (“Astrin”) 11/09/2006 102(b)
U.S. Patent Application Publication

No. 2006/0181413 Mostov”) 08/17/2006 102(b)
U.S. Patent No. 7,961,094 (“Breed”) 11/29/2007 102(e)
Petitioner’s First patent application

No. 11/397,118 was filed with the 04/05/2006

USPTO. ‘990 patent claims priority

U.S. Patent provisional filing date is
01/28/05, Appl. No. 11/343,560; 01/28/2005 102(e)
Patent No. 7,990,270 (“Mostov”)

Petitioner’s Disclosure Document
filed with USPTO. Disclosure Doc. 11/26/2004
No. §65732

Mostov’s patent provisional filing date is January 28, 2005. The Patent Owner’s
“Disclosure Document” filing date is November 26, 2004. Therefore, any subject matter Mostov
has outlined in his claims, according to the Federal Circuit decision above, is anticipated by the
Patent Owner’s “Disclosure Document” that antedates Mostov’s patent provisional filing date.
(A copy of the “Disclosure Document” was submitted to this Court and the USPTO for the
benefit of the Patent Owner that displays a USPTO stamped filing date of November 26, 2004

and a stamped document no. of 565732 used for reference.)

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CaseCla$6:-@4 dinate -EGibcRoeument 223g d-ikeb03/Faéek 0fageeB2 Hf 35

The Department of Homeland Security’s Lavanya Ratnam asserted in the petition for
Inter Partes Review: the three (3) prior art references of Astrin, Mostov and Breed; eighteen (18)
prior art publications; and, one Expert Declaration. 2131 Anticipation 35 U.S.C. 102 “A claim is
anticipated only if each and every element as set forth in the claim is found, either expressly or
inherently described, in a single prior art reference.” Verdegaal Bros. v. Union Oil Co. of
California, (Fed. Cir. 1987)

The DHS raised a 101-patentability objection; a 102-anticipation objection; a 112-lack of
written description objection; and, a 120-priority objection in the IPR petition: Page 2 of the IPR
petition, “[a]t least claims 11, 74 and 81 of the ‘990 patent is not entitled to the benefit of the
April 5, 2006 filing date pursuant to 35 U.S.C. § 120... page 3 “no description of this structure...
is found anywhere in the ‘118 application”. If Plaintiff decides not to amend to overcome the
101, 112, and 120 objections, the PTAB invalidate the challenged claims; remove the 101, 112,
and 120 objections and the PTAB invalidate the claims for “broadening”. 35 U.S.C. § 311(b)
Scope. “A petitioner [DHS] in an infer partes review may request to cancel as unpatentable 1 or
more claims of a patent only on a ground that could be raised under section 102 or 103”.

Plaintiff filed substitute independent claims 154, 155, & 156. Plaintiff sent the new
claims over to the USPTO to be examined against the DOJ and the DHS three (3) prior art
patents; eighteen (18) prior art publications; and, one Expert Declaration asserted in the IPR. The
examiner stated the prior art did not cover claims 154, 155, & 156 as a whole. The PTAB
rejected the USPTO’s findings and denied Plaintiff's substitute claims. Plaintiff loss three
original independent claims of the ‘990 patent; sixty-nine dependent claims that depend on the
original independent claims (11, 74, & 81) of the ‘990 patent; and three substitute independent
claims (154, 155, & 156).

As a general rule, a litigant is deemed to have perpetrated a fraud on the court when “it
can be demonstrated, clearly and convincingly, that a party has “purposely set in motion some
unconscionable scheme calculated to interfere with the judicial system’s ability to adjudicate
impartially a matter by improperly influencing the [trier of fact] or unfairly hampering the
presentation of the opposing party’s claim or defense,” Cox, 706 So. 2d at 46
(quoting Aoude, 892 F. 2d at 1118).

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Case Cak2-c2409208-EGBocDaaument 22agéileg03/eqed: OBaBRabbaf 35

The IPR was instituted on the ‘990 patent. The ‘990 patent has the same claimed
invention(s); same subject matter specifications as the patents-in-suit of this case i.e., the ‘497,
*752, ‘189, ‘439, and ‘287 patents.

Plaintiff has included as Exhibit E, a list (history for all of Plaintiff's patents asserted in
this Case) of the cited references for Patent No, 10,163,287 (‘287 patent). Plaintiff has also
included 59 other references “cited by applicant” that the Plaintiff disclosed to the USPTO for
review in Patent No. 10,163,287 (‘287 patent).

Plaintiff's patent specifications, that are the same for all of Plaintiffs patents, has
undergone normal prosecution/examination; a vigorous re-issue prosecution/examination; an
inter partes review (IPR); and, just recently in patent application 16/350,683, a challenge
stemming from Apple’s inventor Gloria Lin relating to a list of Apple references Plaintiff
disclosed to the USPTO, in a 2010 letter addressed to Bruce Sewell, SVP & General Counsel of
Apple Inc. (Exhibit E)

CONCLUSION

The International Trade Commission’s Court can determine patent infringement or non-
infringement in 12 to 18 months. The average time for this Court is 2 to 3 years. In less than 2
months this case will have been opened for 8 years. The only thing the Government needs to do

now is to present its case of non-infringement or settle.

Respectfully submitted,

s

Larry Golden, Plaintiff, Pro Se
740 Woodruff Rd., #1102
Greenville, South Carolina 29607
atpg-tech@charter.net

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CaseClat6:@4 0a -EGEocDoeument 2238gd-ikeB03/PAstk OPage2Be of 35

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 27th day of March, 2021, a true and correct
copy of the foregoing PLAINTIFF’S STATUS REPORT AND LEAVE OF THE COURT TO
FILE A MOTION FOR DEFAULT JUDGEMENT was served upon the following defendant by
Priority “Express” Mail:

Grant D. Johnson

Trial Attorney

Commercial Litigation Branch
Civil Division

Department of Justice
Washington, DC 20530
Grant.D. Johnson@usdoj.gov
202-305-2513

Larry Golden, Pro Se

740 Woodruff Rd., #1102
Greenville, South Carolina 29607
atpg-tech@charter.net

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Exhibit
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Case: 24-2256 Document: 7

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Cell-All Goals

Homeland Security Goals (QHSR)
Mission 1: Preventing Terrorism and Enhancing Security
Goal 1.1: Prevent Terrorist Attacks

Goal 1.2: Prevent the Unauthorized Acquisition or Use of Chemical, Biological,
Radiological, and Nuclear Materials and Capabilities

Mission 5: Ensuring Resilience to Disasters
Goal 5.1: Mitigate Hazards

- Goal 5.2: Enhance Preparedness

- Goal 5.3: Ensure Effective Emergency Response
Goal 5.4: Rapid Recovery

S&T Goals

- Rapidly develop and deliver knowledge, analysis, and innovative solutions
that advance the mission of the Department

HSARPA Goals

- Proof of concept technology development and demonsiraiion
« Potential for significant gains in technical capability

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Motivations to Improve Detection

Large, expensive and stationary systems
represent state of the art for chemical agent
detection

A variety of less expensive handheld systems are
available as separate systems

Geographic coverage is limited to specific areas
for each deployment

Sampling may not reflect the environment where
people are actually located
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Approach

Create a large and dynamic sensing system
« Miniaturized and effective sensing capability
« Integrate low-cost sensing into common devices
« Sensing becomes part of the environment
Harvest the benefits of network effects and crowd sourcing
Privacy Protection for individuals
Integrate with 261 million cell phones now used in the U.S.

Leverage billions of dollars spent each year in sensor, carrier
network and cell phone development

Gain earlier indications and warning for hazardous
chemical events

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Technical Approach

Embedded Miniature Sensors
«= Sample coilection
« Reusable devices with lifetimes that equal that of the host device
= Address sensor sensitivity & selectivity In the environment
« Prototype concepts for integrated sensing
« Methods for read/report of sensor information

Sensing Network to Significantly Expand
Coverage

« Investigate sensor performance in a large scale networks
» Concepts of Operation for ubiquitous sensing
- Modeling large scale system characteristics and response

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CellAll Team

HSARPA
Concept, architectural guidance & fundin ng

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v SeaCoast Sciences |
Data processing, Natural Selections

transmission and
NC4

consolidation oo
Data consolidation
and visualization

« Homeland
security

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Performers

NASA Ames Research Center
Developed.a world smailest and ultra low
power nanosensor array module with
sensors, a sampling device and a data
acquisition board all-in-one (a stamp size)
integrated with an iPhone and an app for
data processing and transmission

State-of-the-art miniaturized cetection

QUALCOMWK Qualcomm
omen system integrated into Android cell phones _.

Synkera
SYNCERA Sensor & Module Developer

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Phase 1 — Proof of Concepts

> Establish miniature sensor efficacy

e Discover limitations for cell phone integration
> Deveiop first generation prototypes

e Proof of concept demonstrations

> NASA — Leveraging nanosensor work for space missions to
further miniaturizing the space qualified integrated sensing
system for detection of toxics and CWAs using smariphones.

- Synkera — Leveraging SBIR funded development of miniature
sensors.

> Qualcomm — Using an existing hardware platform to integrate an.
~ existing sensor and demonstrate its ability to sense a defined set
of agenis

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Phase I Prototypes

NASA ARC nanosensor module
Qualcomm FFA for iPhone integration

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Case: 24-2256 Document:7 Page:200 Filed: 09/04/2024

Phase II Prototypes

> Achieve a greater number of total prototype
devices at a reasonable unit cost

- Sensor data transmission via 3g and/or Wi-Fi

- Multiole sensors network for chemical profiling
> Decouple the chemical sensor from the phone.
- Multiple sensor units per phone are possible

> Bluetooth/Proprietary Interfaces

e Standardize the sensor platform

- Increase opportunities for participation

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Summer 2011 Demonstrations

> LAFD, Frank Hotchkins Memorial Training Center
> Carbon Monoxide

> Personal Protection Scenario
e Audio Alarm

- In Case of Emergency (ICE) Aleris

> FEMA, Center for Domestic Preparedness
> Toxic Chemical Agents

- Hazardous Materials Response Team Scenario
> Network response

- Geographic-based visualization

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Exhibit
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DHS asked, “what if...”

...we wanted to provide high impact ubiquitous
technology tor CBRNE sensing’?

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DHS asked, “what if...”

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Answer: Use commercial cellular phone
ecosystem and commercial networks

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Case: 24-2256 Document:7 Page:206 Filed: 09/04/2024

Who are the necessary stakeholders?

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How does it work?

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What’s lett to do’?

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MediaFLO MediaFLO
Sensor-enabled | Carrier Network _) ( Network Operation Center & )
Cellular Phones Authentication and DHS Fusion Center
Anonimization Gateway
- Sensing (CNAAG) - Sensor Network Management
- Classification - with reporting load control
- Smart Reporting with - Sensor Authentication - Report Visualization
load control - Sensor Anonymization ~ Alert Management
~ Device Alerting
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Sensors Services Framework = _ Approach

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Eell Phone Environment

e Handsets are very price sensitive
_* © Components must be small and thin
e Battery life is a key benchmarks and more is better
e Short development time
e Short life cycle
e No time for redesigns
e Must be adaptable to standard manufacturing processes

e Temperatures/humidity/pressure fluctuate (Polar to Equator
externally)

e RF interference issues

e Applications must be thin

e Algorithms must be efficient

e False positives will make this fail

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More details

e Cost

— Features like this usually require component cost of <$1.00
(including support sensors for humidity, pressure and temperature if
necessary)

— Studies indicate
e Consumers might be willing to pay the additional cost of $1.00.
e A personal sensing: application for CO may improve up take
e False positives would kill feature quickly
- The cost associated with the manufacturing process is
equally important
e OEMs cannot be expected to calibrate (self calibration)
e Must use a standard operating system

16
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Once

e Digital Interfaces
— UART (up to 4Mbps)

e Two wire interface (Transmit/Receive)
e Supporting asynchronous data

— I2C (typically used for sensors)
e Used for command and control of devices such as the camera
e Two wire Master/Slave type bus
e Clock line and data line
e Supports 1 Master and multiple Slaves
e Generally supports 100KHz and 400KHz operation on the bus

— Analog
e Some handsets support this

e Typically used for temperature
e May offer integration advantages

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More details

e Manufacturing Consideration
— Manufacturing temperatures as high as 260° C possible
e A flex circuit or. socket approach may be necessary
— Size
e 3-15 sensors on a <6x6x2mm optimally 2x2ximm

e Including components necessary for support (fans, vents,
filters, dwell)

— Packaging - must withstand the vibration, drops and
abuse of a typical handset

- Software — must be release controlled & compatible with
the an existing operating system

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More details

e Power
— Many power supplies operating at different voltages
- Both linear and switching °
— Batteries 3.7V nominal, 3.2-4.2V range

- Charged using linear charging from a 5V supply
Sample Sensor Supply voltages

Vcc Sensor Analog Circuit supply +2.85 +3.0 43.15 V
voltage
Vdd. io Sensor Digital 1/O voltage +1.62 $2.6 +3.63 . V

Sample Current Goals

, Active Sensing - 5mA - mA
' Standby Standby - LOUA - UA
Sleep Sleep - iuA - uA

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Case: 24-2256 Document:7 Page:217 Filed: 09/04/2024

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UNITED STATES DISTRICT COURT
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DISTRICT OF SOUTH CAROLINA — GREENVILLE

LARRY GOLDEN,
Plaintiff,
V. CIVIL CASE NO:
GOOGLE LLC
JURY TRIAL DEMANDED
Defendants.

January 25, 2021

COMPLAINT FOR PATENT INFRINGEMENT

This is an action of patent infringement in which plaintiff, Larry Golden (“Golden”,
“Plaintiff” or “Patent Owner”), hereby asserts the following claims for patent infringement of
United States Patent Nos. 10,163,287 (‘287 Patent), 9,589,439 (‘439 Patent), and 9,096,189
(‘189 Patent) (“patents-in-suit”: attached hereto as Exhibits A-C respectively) against Defendant
GOOGLE LLC (“Google” or “Defendant”), and alleges as follows:

Upon information and belief, Plaintiff alleges the patents-in-suit, that were issued with
the presumption of validity, “[a] patent shall be presumed valid. Each claim of a patent (whether
in independent, dependent, or multiple dependent form) shall be presumed valid independently
of the validity of other claims; dependent or multiple dependent claims shall be presumed valid

even though dependent upon an invalid claim. 35 U.S. Code § 282 - Presumption of validity; (a)
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In General” is Plaintiffs evidence that the Plaintiff is the inventor of the Communicating,
Monitoring, Detecting, and Controlling (CMDC) device(s) i.e., products grouped and
commercialized today as smartphones, laptops, tablets, smartwatches, etc.

Upon information and belief, Plaintiff alleges that the defendant Google, has in the past
and continues to do so, makes, uses, offer to sell, or sells Google Pixel smartphones 3, 3XL, 3a,
3aXL, 4a, 4a(5G), and 5, that Plaintiff believes infringes at least one of the claims in the patents-
in-suit under 35 U.S.C. § 271, “anyone who makes, uses, offers to sell, or sells any patented
invention domestically, or imports a patented invention into the United States during the term of
the patent, is infringing the patent. Anyone who actively induces someone else
to infringe the patent is also liable as an infringer.”

Similarly, under 35 U.S.C. § 271, “anyone who offers to sell, sells, or imports a material
component of something that is patented, knowing that the component was especially made for
use in an infringement and is not a commodity suitable for a substantial non-infringing use, is
also liable as a contributory infringer” Plaintiff is alleging that the defendant Google, has in the
past and continues to do so, offer to sell, sells (i.e., to other smartphone and mobile device
manufacturers; “Google Search”, “Google Fi”, “Google Android Operating Systems”, “Google
Cloud”, etc.) or imports a material component of something that is patented (i.e., Plaintiff's
CMDC devices). For example, “market.us” has published the following information on Google:

2018?
e On January 2018, Alphabet, Inc. acquired Redux — smartphone technology, which is
specialized in turning smartphone screens into speakers.
« In October 2018, Google LLC to shut down Googlet after failing to disclose user data
leak
e In November 2018, Google LLC acquired Workbench, which is a US-based company,

that offers an online library of projects and lessons.
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Under this acquisition, the company focuses on integrating the Workbench tool with
Google Classroom. In addition, currently, Google Classroom is one of the most widely
used online educational tools, which lets parents, teachers, and students manage class
discussions, assignments, and quizzes.

In 2018, Google Search and Advertising tools helped generating $335 billion in

economic activity for more than 1,3 billion millions of businesses, website publishers,
and nonprofits across the United States.

Many website publishers, non-profit organizations and 40,000 companies in the country

benefited from the use of Google Ads and AdSense advertising tools.
In 2018, Google had sent more than 14 billion dollars to music publishers around the

world.

As of November, 2018, in US, Google connects people to businesses nearby more than 9
billion times, including over 1 billion phone calls and 3 billion direction requests to
stores every month.
Usage Statistics

e Ina minute on the Internet in 2020, there are 4.1 million search queries, 230 million per
hour and 6 Billion per day that is more than 2.5 Trillion searches per year worldwide.
Till July 2020, Google has 95.6% share of worldwide mobile search traffic.
In April 2020, Google processed 12.7 billion search queries in US, accounting 62.3

percent of the US total desktop search queries and leading mobile search provider in the
US with 95.04% market share

« Daily visitors to Google are approximately 620 Mn.

According to the Datareportal, in June 2020, the top 10 search queries on Google were:

Google, Facebook, Youtube, You, Weather, News, Amazon, Coronavirus, Translate and

Instagram.
In July 2019, Google accounted for 95 percent of US mobile search visits and 93

percent of overall U.S. organic search engine visits.

As of May 2019, Gmail is a product that 1.5 billion users rely on, to get things done
every day.

As of September 2019, People have already asked Google Lens more than a billion

questions about things they see.
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Google sends £0 billion+ clicks per month to news publishers’ websites.

As of May 2019, 2.5 million web publishers use AdSense to make money through their
content on the web.

According to a survey, in Europe the news content linked through Google were clicked
more than 8 billion times a month that is 3,000 clicks per second to the publishers”
websites in Europe resulting to each click between 4-6 euro cents.

In the US, Google helps drive over 1 billion direct connections, like calls and online
reservations, for businesses nationwide every month.

Google owns its own common misspellings domains such as www.gooogle.com,
www.googlr.com, and www.gogle.com

Google runs over 1 Mn computer servers in data centers around the world.

Last year, Google rejected more than 10 million ads that we suspected of copyright
infringement.

Around 35% of clicks for U.S. businesses, advertising on Google, came from outside the
country.

As of May 2019, about 80% of traffic from Google’s Showcase Shopping ads to retailer
sites are from new visitors discovering the brands.

Till date, Google has over 2 billion store offers mapped to physical store locations
globally, discoverable by their current local ad formats like local inventory ads.

Google Station serves more than 10 million people in 1,300 locations across India,
Indonesia, Mexico, Nigeria, the Philippines, Thailand, Vietnam and Brazil.

Google Assistant is now on more than one billion devices, available in more than 30
languages across 80 countries.

As of 2019, more than 20 million people visit Google Account every day to review
their settings, using Privacy Checkup.

As of 2019, 90 million teachers and students are using G Suite for Education worldwide.
Google has a database of over 4 billion credentials that have been compromised through
various data breaches

According to a 2018 Survey, around 72% of consumers in Indonesia see Google Search
as the online gateway for personal loan information and the second most helpful source

for Financial Services information, after the bank branches
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THE PARTIES

1. Plaintiff Larry Golden is a citizen of South Carolina and has a principal place of
business and residence at 740 Woodruff Road, #1102, Greenville, $.C. 29607.

2. On information and belief, Google is incorporated in the State of Delaware with a
principal place of business at 1600 Amphitheatre Parkway, Mountain View, CA 94043 and does
business in this judicial district by, among other things, committing jointly, directly, and/or
indirectly the tort of literal patent infringement or infringement under the “doctrine of
equivalents” giving rise to this complaint. Google may be served at its principal place of business
at 1600 Amphitheatre Parkway, Mountain View, CA 94043.

3. Google LLC is one of the largest technology companies in the world and conducts
product sales, and online search operations in the District of South Carolina. Google LLC
directly and/or indirectly distributes, markets, offers to sell, sells, and/or imports the infringing

Google Pixel Series of smartphones and Google Android Operating Systems.

STANDARD FOR REVIEW

4, Pursuant to the order of Magistrate Judge Kevin McDonald in United States
District Court for the District of South Carolina; filed 12/17/2020; Case No. 6:20-cv-04353-
BHH-KFM, Plaintiff was ordered to file “a short and plain statement of the claim showing that
the pleader [Plaintiff] is entitled to relief.” Fed. R. Civ. P. 8(a).

5. Plaintiff has attached a copy of the asserted patents as Exhibits A, B, & C. The
attached patents satisfy the requirement of “enough factual allegations. For example, in Jncom
Corp. v. Walt Disney Co., No. 2:15-cv-03011-PSG-MRW, Dkt. 39, at *4 (C.D. Cal. Feb. 4,

2016) the Central District of California declined to dismiss a complaint that attached the asserted
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patent, identified the accused products by name, and generally compared the technology
disclosed in the patents to the accused products. The complaint did not identify any specific
asserted claim, but the court found that: “Plaintiff has stated a plausible claim for direct
infringement by specifically identifying the Defendant’s products and alleging that they perform
the same unique function as Plaintiff *s patented system.” The Defendant in this case is allegedly
liable for infringement of the asserted patents-in-suit under 35 U.S.C. § 271.

6. Plaintiff maintains he has additional factual allegations to support his claim in the

form claim charts readily available by order of this Court.

JURISDICTION AND VENUE

7. This is a civil action for patent infringement arising under the patent laws of the
United States, Title 35 of the United States Code. This Court has subject matter jurisdiction
pursuant to 28 U.S.C. §§§ 1331, 1332(a) and 1338(a).

8. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(c) and
1400(b). On information and belief, the defendant has purposely transacted business in this
judicial district and has committed acts of joint, direct and/or indirect infringement in this
judicial district.

9. On information and belief, the defendant is subject to this Court’s specific and
general personal jurisdiction, due at least to the defendant’s substantial business in this forum,
including: (A) at least part of the defendant’s infringing activities alleged herein, and (B)
regularly doing or soliciting business, engaging in others persistent causes of conduct, and/or

deriving substantial revenue from goods and services provided to persons and other entities in
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South Carolina and this judicial district. The defendant has allegedly used, sold, and/or offered
products for sale in South Carolina and is licensed to do business in this state.

10.‘ This Court has specific jurisdiction over the defendant because the defendant has
committed acts giving rise to this action and has established minimum contacts within this
judicial district such that the exercise of jurisdiction over the defendant would not offend

traditional notions of fair play and justice.

RELATED CASES

11. Plaintiff has alleged that Apple is infringing Plaintiff's communicating,
monitoring, detecting, and controlling (CMDC) device in a related case Larry Golden v. Apple,
Inc. et al filed on 12/16/2020 at the United States District Court for the District of South
Carolina; Greenville Division (Case No. 6:20-cv-04353) against defendants, Apple Inc.
(“Apple”), Samsung Electronics, USA (“Samsung”), LG Electronics, USA, Inc. (“LG”),
Qualcomm Inc. (“Qualcomm”), Motorola Solutions Inc. (“Motorola”), Panasonic Corporation
(“Panasonic”), AT&T Inc. (“AT&T”), Verizon Corporation Services Group (“Verizon”), Sprint
Corporation (“Sprint”), T-Mobile USA, Inc. (“T-Mobile”), Ford Global Technologies, LLC
(“Ford”), Fairway Ford Lincoln of Greenville (“Fairway Ford”), General Motors Company
(“GM”), Kevin Whitaker Chevrolet (“Whitaker Chevrolet”), FCA US LLC (“FCA”), and Big O
Dodge Chrysler Jeep Ram (“Big O”).

12. _‘ Plaintiff has filed an action of Antitrust Law violations Larry Golden v. Apple,
Inc. et al on June 16, 2020, at the United States District Court for the District of South Carolina;
Greenville Division (Case No. 6:20-cv-02270) against defendants, Apple Inc. (“Apple”),

Samsung Electronics, USA (“Samsung”), LG Electronics, USA, Inc. (“LG”), Qualcomm Inc.
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(“Qualcomm”), Ford Global Technologies, LLC (“Ford”), General Motors Company (“GM”),

and, FCA US LLC (“FCA”).

GOOGLE SMARTPHONE SPECIFICATIONS / ANDROID PLATFORM

13. Upon information and belief, Google is directly infringing Plaintiffs patented
CMDC devices by making, using, offering for sale, selling and/or importing the aforementioned
alleged infringing devices that have at a minimum, directly infringed Plaintiff's ‘287, ‘439, and
*189 patents. to unjustly enrich itself.

14. | Upon information and belief, Google is jointly infringing Plaintiff's patented
CMDC devices by offering for use, using, offering for sale, selling and/or importing as essential,
Google’s Android platform for use with Google’s smartphones, and other Android smartphone
devices i.e., Samsung, LG, Motorola, etc., that have at a minimum, directly infringed Plaintiff's
*287, ‘439, and ‘189 patents. Android smartphones have permanent default Google-owned apps
like Google search, Google Play, YouTube, Maps etc. The main Android framework is signed in
through a Google account too. So, you need to have a Google account to use Android.

15. | The smartphone has come a long way since the first iPhone launched in 2007.
While Apple’s iOS is arguably the world’s first smartphone operating system, Google’s Android
is by far the most popular. Android has evolved significantly since first being released on an
HTC-made T-Mobile device in 2008.

16. It wasn’t until 2005 that Google purchased Android, Inc., and while there wasn’t
much info about Android at the time, many took it as a signal that Google would use the
platform to enter the phone business. Eventually, Google did enter the smartphone business —

but not as a hardware manufacturer. Instead, it marketed Android to other manufacturers, first
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catching the eye of HTC, which used the platform for the first Android phone, the HTC Dream,
in 2008.

17. Upon information and belief, Google has copied the “product grouping” strategy
of the Plaintiff (Golden) for a communicating, monitoring, detecting, and controlling (CMDC)
device, i.e., Google’s smartphone products are grouped together by “common features of design
similarities”. As illustrated below, Google’s smartphones are basically the same.

18. Therefore, when analyzing the specifications, features, and functionality of
Google’s smartphones as a complete product, and not merely identifying the individual
infringing processes; there is a strong likelihood that if one of Google’s smartphones infringes
Plaintiff's claimed invention of a CMDC device; it can be perceived that all of Google’s

smartphones infringes Plaintiff's claimed invention of a CMDC device as a ‘whole’ product.

GOOGLE PIXEL 5 VS. PIXEL 4A WITH 5G VS. PIXEL 4

Category Pixel 5 Pixel 4A with 5G Pixel 4A
Network 5G 5G 4G
a 6-inch flexible OLED 6.2-inch OLED display at 5.8-inch OLED

display at 432 ppi 413 ppi display at 443 ppi

Refresh Rate 90 Hz 60 Hz 60 Hz
Resolution 1080x2340 1080 x 2340 1080 x 2340
Battery 4080 mAh 3885 mAh 3140 mAh
Front
Srnvena 8 megapixels 8 megapixels 8 megapixels

12.2-megapixel dual-pixel 12.2-megapixel dual-pixel 12.2-megapixel dual-
Rear Camera
(16-megapixel ultrawide) (16-megapixel ultrawide) pixel

Camera Night Sight, Portrait Light, Night Sight, Portrait Light, Night Sight, Live
Features Cinematic Pan, Live HDR+ Cinematic Pan, Live HDR+ HDR+
RAM 8GB 6GB 6GB
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Qualcomm Snapdragon

Pixel 5

Pixel 4A with 5G
Qualcomm Snapdragon
765G
128GB
Stereo speakers, USB-C

Stereo speakers, USB-C

Category

Processor

765G
Storage 128GB
Audio

audio
Price $699
Wireless

Yes
Charging
Water

Yes
Resistant
Colors Green, Black
Operating
System i

audio, 3.5mm headphone
jack
$499

No

No

White, Black

Pre-loaded with Android Pre-loaded with Android

GOOGLE PIXEL 3 SERIES SPEC COMPARISON

Specification

Display

Snapdragon 670
(2.0GHz and
1.7GHz, octa-

Processor

core)
RAM 4GB
Storage 64GB

Rear camera 12 megapixels

Front

8 megapixels

camera

Pixel 3A

5.6 inches
Resolution 2220x1080

Pixel 4A

Qualcomm
Snapdragon 730G
128GB

USB-C audio, 3.5mm
headphone jack

$349

No

No

Black

Pre-loaded with

11 Android 10
Pixel 3A XL Pixel 3 Pixel 3 XL

6.0 inches 5.5 inches 6.3 inches
2160 x 1080 2160 x 1080 2960 x 1440
Snapdragon 670

Snapdragon 845 Snapdragon 845
(2.0GHz and

(2.5GHz and (2.5GHz and 1.6GHz,
1.7GHz, octa-

1.6GHz, octa-core) octa-core)
core)
4GB 4GB 4GB
64GB 64GB, 128GB 64GB, 128GB

12 megapixels 12 megapixels

8 megapixels, 8
8 megapixels

12 megapixels

8 megapixels, 8

megapixels(wide) megapixels(wide)

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Specification Pixel 3A Pixel 3A XL Pixel 3 Pixel 3 XL
Battery 3,000mAh 3,700mAh 2,915mAh 3,430mAh
Water

N/A N/A IPX8 IPX8
protection
Wireless

No No Yes Yes
charging?

USB-C,3.5mm —USB-C, 3.5mm
Ports? USB-C USB-C

headphone jack headphone jack
Weight 0.32 pounds 0.37 pounds 0.33 pounds 0.4 pounds
Dimensions
(in) 6.0 x 2.80 x 0.30 6.30x3.00 x 0.305.70x2.70x0.30 6.20x3.00x 0.30

in.
Starting
$399.00 $479.00 $799.00 $899.00
price
Operating Pre-loaded Pre-loaded Pre-loaded
Pre-loaded Android

System Android Android Android

SENSOR TYPES SUPPORTED BY THE “ANDROID” PLATFORM

Type Hardware Measures the acceleration force in Motion
Accelerometer m/s? that is applied to a device on allthree detection
physical axes (x, y, and 2), including the (shake, tilt,
force of gravity. etc.).
Type Hardware Measures the ambient room temperature in Monitoring air
Ambient degrees Celsius (°C). See note below. temperatures.
Temperature
Type Software Measures the force of gravity in m/s* thatis | Motion
Gravity or applied to a device on all three physical detection
Hardware axes (Xx, y, Z). (shake, tilt,
etc.).
Type Hardware Measures a device's rate of rotation in Rotation
Gyroscope rad/s around each of the three physical detection
axes (x, y, and 2). (spin, turn,
etc.).
Type Hardware Measures the ambient light level Controlling
Light (illumination) in Ix. screen
brightness.

11
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Type
Linear
Acceleration

Type
Magnetic Field

Type
Orientation

Type
Pressure

Type
Proximity

Type

Relative Humidity

Type

Rotation Vector

Type
Temperature

Software
or
Hardware

Hardware

Software

Hardware

Hardware

Hardware

Software
or
Hardware

Hardware

Measures the acceleration force in

m/s? that is applied to a device on all three
physical axes (x, y, and z), excluding the
force of gravity.

Measures the ambient geomagnetic field
for all three physical axes (x, y, Z) in pT.

Measures degrees of rotation that a device
makes around all three physical axes (x, y,
z). As of API Jevel 3 you can obtain the
inclination matrix and rotation matrix for a
device by using the gravity sensor and the
geomagnetic field sensor in conjunction
with the get Rotation Matric (} method.

Measures the ambient air pressure in hPa
or mbar.

Measures the proximity of an object in cm
relative to the view screen of a device. This
sensor is typically used to determine
whether a handset is being held up to a
person's ear.

Measures the relative ambient humidity in
percent (%).

Measures the orientation of a device by
providing the three elements of the device's
rotation vector.

Measures the temperature of the device in

‘degrees Celsius (°C). This sensor

implementation varies across devices and
this sensor was replaced with the Type—
Ambient Temperature sensor in API Level
14

Monitoring
acceleration.
along a single
axis.

Creating a
compass.

Determining
device
position.

Monitoring air
pressure
changes.

Phone
position
during a call.

Monitoring
dewpoint,
absolute, and
relative
humidity.

Motion
detection and
rotation
detection.

Monitoring
temperatures.

“* BIOMETRICS: Biometric factors allow for secure authentication on the Android platform.
The Android framework includes face and fingerprint biometric authentication. Android can
be customized to support other forms of biometric authentication (such as Iris).

~ DISABLING LOCK MECHANISM: Google's Android operating system features a lock
mechanism to secure your phone, known as pattern lock. When setting the pattern, you
must drag your finger along lines on the screen between different nodes. Afterward, to
unlock the phone, you'll need to replicate the pattern drawn. If you fail to solve the

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pattern too many times, the phone locks and cannot be unlocked without logging into
the associated Google account. If you can't log in, you'll have to employ some other
methods to restore control of your phone.

CHEMICAL, BIOLOGICAL, RADIOLOGICAL, AND NUCLEAR (CBRN) DETECTION:
Through collaboration and innovation, the Defense Threat Reduction Agency has
integrated its powerful, hazard-awareness-and-response tools into the Android Tactical
Assault Kit (or the Android Team Awareness Kit, ATAK). ATAK is a digital application
available to warfighters throughout the DoD. Built on the Android operating system, ATAK
offers warfighters geospatial mapping for situational awareness during combat — on an
end-user device such as a smartphone or a tablet. With DTRA’s contribution, ATAK now
inciudes chemical, biological, radiological, and nuclear (CBRN) plug-ins.

HEART RATE: Android Team Awareness Kit, ATAK provides a single interface for
viewing and controlling different CBRN-sensing technologies, whether that is a wearable
smartwatch that measures a warfighter's vitals (e.g., heart rate) or a device mounted on a
drone to detect chemical warfare agents.

NEAR FIELD COMMUNICATION {NFC): Pixel™, Phone by Google - Turn NFC on/off.
Near Field Communication (NFC) allows the transfer of data between devices that are a
few centimeters apart, typically back-to-back. NFC must be turned on for NFC-based apps
(e.g., Tap to Pay) to function correctly. NFC is a set of short-range wireless technologies,
typically requiring a distance of 4cm or less to initiate a connection. NFC allows you to
share small payloads of data between an NFC tag and an Android-powered device, or
between two Android-powered devices. Tags can range in complexity.

WARFIGHTERS: The U.S. armed forces and their interagency and coalition partners
value Android Team Awareness Kit, ATAK and the common operating picture it provides.
DTRA continues to develop CBRN-specific plug-in capabilities to support warfighters on
the battlefield.

GOOGLE’S JOINT INFRINGEMENT WITH APPLE INC.

19. According to Gurman, 2020, “The U.S. government’s antitrust assault against

Google reveals new details about a secretive, multibillion-dollar deal between the internet giant

and Apple Inc., the world’s largest technology company. The Justice Department’s lawsuit, filed

Tuesday, targets paid deals Google negotiates to get its search engine to be the default on

browsers, phones and other devices. The biggest of these is an agreement that makes Google

search the default on iPhones and other Apple devices.”

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20. The U.S. government said Apple Chief Executive Officer Tim Cook and Google
CEO Sundar Pichai met in 2018 to discuss the deal. After that, an unidentified senior Apple
employee wrote to a Google counterpart that “our vision is that we work as if we are one
company.”

21. The DOJ also cited internal Google documents that call the Apple search deal a
“significant revenue channel” for the search giant and one that, if lost, would result in a “Code
Red” scenario. That’s because nearly half of Google search traffic in 2019 came from Apple
products, according to the lawsuit.

22. Google pays Apple billions of dollars a year to make its search product the default
option, according to analyst estimates. That means when a user buys a new iPhone or other
Apple device, the built-in search engine in the Safari browser is Google.

23. The DOJ suit cited estimates that Apple gets $8 billion to $12 billion annually
from Google through the agreement. Apple’s income from the search deal is believed to be part
of the company’s growing Services segment, a key metric Apple has highlighted to investors and
analysts in recent years,

Gurman, Mark (2020, Oct. 20). Apple, Google worked as ‘one company’ on search deal,

U.S. says. https://www.bloomberg.com/news/articles/2020-10-20/apple-google-worked-

as-one-company-on-search-deal-u-s-says
Joint Infringement

24. Upon information and belief, Google and Apple are jointly infringing Plaintiff's
patented CMDC devices by offering for use, using, offering for sale, selling and/or importing as
essential, Google’s Search for use with Google and Apple smartphones, that have at a minimum,
directly infringed independent claims 1, 2, and 3 of the ‘189 patent; independent claims 13, 14,

15, and 23 of the ‘439 patent; and, independent claims 4, 5, and 6 of the ‘287 patent.

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25. Plaintiff has alleged that Apple is infringing Plaintiff's communicating,
monitoring, detecting, and controlling (CMDC) device in a related case Larry Golden v. Apple,
Inc. et al filed on 12/16/2020 at the United States District Court for the District of South
Carolina; Greenville Division (Case No. 6:20-cv-04353) against defendants, Apple Inc. et al.

26. —_‘ Plaintiff has also filed a case Larry Golden v. Apple, Inc. et al on 06/16/2020 at
the United States District Court for the District of South Carolina; Greenville Division (Case No.

6:20-cv-02270) against defendants, Apple Inc. et al. for Antitrust Law Violations.

GOOGLE’S JOINT INFRINGEMENT WITH QUALCOMM INC.

27. According to a Qualcomm press release (2020), “Qualcomm Technologies, Inc.
and Google announced their collaboration to enhance and extend Project Treble with the goal of
enabling more devices with Qualcomm® Snapdragon™ mobile platforms to run the latest
Android OS. The enhancements are intended to enable Original Equipment Manufacturers
(OEMs) to upgrade their Snapdragon based devices to the latest Android OS without modifying
Quaicomm Technologies’ chipset-specific software and to use a common Android software
branch to upgrade devices based on a wide range of Snapdragon mobile platforms across
Qualcomm Technologies’ portfolio. These enhancements are designed to reduce the time and
resources required to upgrade Snapdragon based devices to the latest Android OS version.”

28. _ As part of this collaboration with Google, Qualcomm Technologies will now
support four Android OS versions and four years of security updates for all Snapdragon
platforms utilizing the Project Treble enhancements, starting with the new Snapdragon 888
Mobile Platform. These initiatives are designed to enable faster Android OS upgrades with fewer

resources and a predictable software lifecycle for Snapdragon based devices, which together are

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expected to result in more consumers with Snapdragon based devices running the latest Android
OS version.

29. “Google continues to work closely with our technology partners to increase the
freshness of the Android ecosystem. Through this collaboration with Qualcomm Technologies,
we expect that Android users will have the latest OS upgrades and greater security on their
devices,” said David Burke, vice president of Android engineering, Google.

30. “Weare excited to work with Google to extend our support for Android OS and
security updates on future Snapdragon mobile platforms utilizing the Project Treble
enhancements,” said Kedar Kondap, vice president, product management, Qualcomm
Technologies, Inc.

Terminology
e Google’s android operating system; same as “operating system”.
e¢ Google’s android operating system; same as “computer program”.
e Google’s android operating system; same as “software”.
e Qualcomm’s chipset; used interchangeably as “processor”.
e Qualcomm’s chipset; used interchangeably as “central processing unit”.
e Qualcomm’s chipset; used interchangeably as “wireless technology” (WiFi, 3G, 4G, 5G,

LTE, and so on).

31. An operating system is a computer program, works as interface between user and
hardware and provides common services for computer programs. The entire process or
functionality of computer system depends on the operating system. An operating system is a
computer program that controls the execution of application programs and acts as an interface

between the user of a computer and the computer hardware. The purpose of an operating system

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is to provide an environment in which a user can execute programs in a convenient and efficient
manner. https://www.geeksforgeeks.org/introduction-of-operating-system-set-1/

32. A Central Processing Unit (CPU) is a machine that can execute computer
programs. This broad definition can easily be applied to many early computers that existed long
before the term "CPU" ever came into widespread usage. The term itself and its initialism have
been in use in the computer industry at least since the early 1960s (Weik 1961). The form, design
and implementation of CPUs have changed dramatically since the earliest examples, but their
fundamental operation has remained much the same.

33. An Operating System is the core software that allows applications to interface
with the hardware. Operating Systems control the specific details of your system, presenting a
more manageable interface for applications (and the user) to make use of. To use an analogy, the
CPU is the brain, the OS is the mind. The mind cannot exist without a brain to store it, and the
brain is just a useless lump without a mind to control it.
https://answers.yahoo.com/question/index ?qid= 20090927101607AAiAJ42

34. An SoC, or system-on-a-chip to give its full name, integrates almost all of these
components into a single silicon chip. Along with a CPU, an SoC usually contains a GPU (a
graphics processor), memory, USB controller, power management circuits, and wireless radios
(WiFi, 3G, 4G LTE, and so on). Whereas a CPU cannot function without dozens of other chips,
it’s possible to build complete computers with just a single SoC. The number one advantage of
an SoC is its size: An SoC is only a little bit larger than a CPU, and yet it contains a lot more
functionality. If you use a CPU, it’s very hard to make a computer that’s smaller than 10cm (4
inches) squared, purely because of the number of individual chips that you need to squeeze in.

Using SoCs, we can put complete computers in smartphones and tablets, and still have plenty of

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space for batteries. https://www.extremetech.com/computing/126235-soc-vs-cpu-the-battle-for-
the-future-of-computing.
Joint Infringement

35. | Upon information and belief, Google and Qualcomm are jointly infringing
Plaintiff's patented CMDC devices by offering for use, using, offering for sale, selling and/or
importing as essential, Google’s Android platform for use with Qualcomm’s SoCs, CPUs, etc.
for smartphones that have at a minimum, directly infringed independent claims 1, 2, and 3 of the
“189 patent; independent claims 13, 14, 15, and 23 of the ‘439 patent; and, independent claims 4,
5, and 6 of the ‘287 patent.

36. Google developing its own phone processor would mean dumping the Qualcomm
SoCs it usually uses. Of course, you can never truly be rid of Qualcomm: Google would
presumably still need to use Qualcomm modems, something that even Apple still needs to do.
There are other modem manufacturers out there—Samsung, Huawei, Mediatek—but
Qualcomm’s combination of patents and strong-arm licensing techniques has effectively locked
its competitors out of the US and other markets.

37. Plaintiff has alleged that Qualcomm is infringing Plaintiff's communicating,
monitoring, detecting, and controlling (CMDC) device in a related case Larry Golden y. Apple,
Inc. et al. filed on 12/16/2020 at the United States District Court for the District of South
Carolina; Greenville Division (Case No. 6:20-cv-04353) against defendants, Apple Inc. et al.

38. Plaintiff has also filed a case Larry Golden v. Apple, Inc, et al on 06/16/2020 at
the United States District Court for the District of South Carolina; Greenville Division (Case No.

6:20-cv-02270) against defendants, Apple Inc. et al. for Antitrust Law Violations.

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CLAIM CONSTRUCTION
“Inter Partes Review (IPR): Department of Homeland Security vs. Larry Golden; Case No.:
IPR2014-00454 (Patent RE43,990; Claims 11, 74, & 81); Final Written Decision entered on
October 1, 2015. “In the ‘Decision to Institute’, we construed certain claim terms. Those

constructions are reproduced in the chart below:

Claim Term Construction

“built in, embedded” (claim 74) “something is included within,
incorporated into, disposed within,
affixed to, connected to, or mounted
to another device, such that it is an
integral part of the device”

“communication device” (claim 81) | “monitoring equipment”

Dec. to Inst. 11-16

39. “No party challenges these constructions. Both of these terms were modified or
removed in the amendment. To the extent that any of these constructions remain relevant after
the amendment, we see no reason to modify them... [w]e further determined that no explicit
construction was necessary for any other claim terms. Dec. to Inst. 10-11. Based on the record
adduces during trial, we see no need to construe any other terms...”

40. “Beginning with the claim preamble amendment, the preamble of claim 11
originally read: “A communication device of at least one of a cell phone, a smart phone, a
desktop, a handheld, a PDA, a laptop, or a computer terminal at a monitoring site for
monitoring products for communication therebetween, comprising....” In claim 154, the
language in italics has been eliminated and replaced with “the products grouped together by
common features in the product grouping category of design similarity (e.g., computer terminal,

personal computer (PC)) ...” Patent Owner contends that this new language is consistent with

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words found in the disclosure of the ‘118 application. Mot. To Amend 4. Patent Owner further
contends that this new language is broad enough to include the removed items, such as cell
phones and smart phones, because those items are “species terms” that are “included in the genus
‘monitoring equipment’ and ‘communication device’ when the clause ‘products grouped together
by common features in the product groupings category of design similarity’ is included.” Jd.
Patent Owner argues that “[t]he specific devices removed, such as the cell phones and smart
phones would be recognized by one of ordinary skill in the art as a type of communication
device or monitoring equipment because cell phones and smartphones are devices that are
capable of communication and are capable of receiving signals.” “Jnter Partes Review (IPR):
Department of Homeland Security vs. Larry Golden; Case No.: IPR2014-00454 (Patent

RE43,990; Claims 11, 74, & 81); Final Written Decision entered on October 1, 2015.

COUNT I

(Infringement of the ‘287 Patent)

41. Golden realleges and incorporates herein the allegations set forth in Paragraphs 1-
40.

42. On information and belief, Google is jointly, directly, indirectly and/or under the
‘doctrine of equivalents’, infringing at least independent claims 4, 5, and 6 of the ‘287 patent.
The alleged infringing products are: Google Pixel smartphones 3, 3XL, 3a, 3aXL, 4a, 4a(5G),
and 5.

43. Asset forth in Golden’s preliminary infringement contentions that Google is
making, using, offering for sale, selling and/or importing Plaintiff's CMDC device have at a

minimum directly infringed the ‘287 patent and Google is thereby liable for infringement of the

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‘287 patent pursuant to 35 U.S.C. § 271. Google have caused damage to Golden, which
infringement and damage will continue unless and until Google is enjoined.

44. The alleged infringement of Golden identified in this Count has caused
irreparable injury to Golden for which remedies at law are inadequate. Considering the balance
of the hardships between the parties, a remedy in equity, such as a permanent injunction is

warranted and such a remedy would be in the public interest.

COUNT Il

(Infringement of the ‘439 Patent)
45. Golden realleges and incorporates herein the allegations set forth in Paragraphs 1-

46. On information and belief, Google is jointly, directly, indirectly and/or under the
‘doctrine of equivalents’, infringing at least independent claims 13, 14, 15, and 23 of the ‘439
patent. The alleged infringing products are: Googie Pixel smartphones 3, 3XL, 3a, 3aXL, 4a,
4a(5G), and 5.

47. Asset forth in Golden’s preliminary infringement contentions that Google is
making, using, offering for sale, selling and/or importing Plaintiff's CMDC device have at a
minimum directly infringed the ‘439 patent and Google is thereby liable for infringement of the
‘439 patent pursuant to 35 U.S.C. § 271. Googie have caused damage to Golden, which
infringement and damage will continue unless and until Google is enjoined.

48. The alleged infringement of Google identified in this Count has caused
irreparable injury to Golden for which remedies at law are inadequate. Considering the balance
of the hardships between the parties, a remedy in equity, such as a permanent injunction is

warranted and such a remedy would be in the public interest.

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COUNT III

(Infringement of the ‘189 Patent)
49. Golden realleges and incorporates herein the allegations set forth in Paragraphs 1-

48.

§0. On information and belief, Google is jointly, directly, indirectly and/or under the
‘doctrine of equivalents’, infringing claims 1, 2 & 3 of the ‘189 patent. The alleged infringing
products are: Google Pixel smartphones 3, 3XL, 3a, 3aXL, 4a, 4a(5G), and 5.

51. Asset forth in Golden’s preliminary infringement contentions that Google is
making, using, offering for sale, selling and/or importing Plaintiff's CMDC device have at a
minimum directly infringed the ‘189 patent and Google is thereby liable for infringement of the
‘189 patent pursuant to 35 U.S.C. § 271. Google have caused damage to Golden, which
infringement and damage will continue unless and until Google is enjoined.

52. The alleged infringement of Google identified in this Count has caused
irreparable injury to Golden for which remedies at law are inadequate. Considering the balance
of the hardships between the parties, a remedy in equity, such as a permanent injunction is

warranted and such a remedy would be in the public interest.

CLAIM CHART

53. The following Claim Chart is an illustration of literal infringement. At least one of
the alleged infringing products of Google (i.e., Google Pixel smartphones 3, 3XL, 3a, 3aXL, 4a,
4a(5G), or 5) is representative of all the alleged infringing products of Google asserted in this
complaint. At least one of the alleged infringing products of Google (Google Pixel 5) is
illustrated to show how the Google Pixel 5 allegedly infringes on at least one of the asserted
independent claims of each of the patents-in-suit (‘287, ‘439, and ‘189 patents).

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Google Pixel 5

Smartphone

Patent #: 10,163,287;
Independent Claim 5

Patent #: 9,589,439;

Independent Claim 23

Patent #: 9,096,189;
Independent Claim 1

comprising:

A monitoring device,

A cell phone comprising: |

| A communication device
| of at least one of a cell
phone, a smart phone, a
desktop, a handheld, a
PDA, a laptop, or a
| computer terminal for
| monitoring products,
interconnected to a
product for
communication
therebetween,
comprising:

CPU: Octa-core (1 2.4
GHz Kryo 475 Prime & 1
x 2.2 GHz Kryo 475
Gold & 6 = 1.8 GHz
Kryo 475 Silver) System-
on-a-chip: Qualcomm
Snapdragon 765G

at least one central
processing unit (CPU);

a central processing unit
(CPU) for executing and
carrying out the
instructions of a
computer program;

at least one of a central
processing unit (CPU) for
executing and carrying
out the instructions of a

computer program, a
network processor which
is specifically targeted at
the networking
application domain, or a
front-end processor for
communication between
a host computer and other

devices;
Ambient Temperature
sensor supported by the
Android platform. at least one temperature
Measures the ambient sensor in communication
room temperature in with the at least one CPU x xX
degrees Celsius (°C). for monitoring

Monitoring air
temperatures. Monitoring
air temperatures.

temperature;

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Gravity sensor supported
by the Android platform.
Measures the force of | at least one motion sensor
pravity in m/s2 that is in communication with x x
applied to a device on all the at least one CPU;
three physical axes (x, y,
z). Motion detection
{shake, tilt, etc.).

Light sensor supported by
the Android platform.
Measures the ambient at least one viewing

light level (illumination) | screen for monitoring in

: : ees Xx x
in Ix. Controlling screen | communication with the
brightness. Screen: 6-inch at least one CPU;

flexible OLED display at
432 ppi
at Teast one of 8 satel at least one satellite
© connection WiFi connection, Bluetooth
connection internet connection, WiFi
os . .. : connection, internet
Connectivity: Wi- at least one global connection, radio connection, radio
Gliz Blectooth 5.0 + LB, | Positioning system (GPS) | connection, cellular | —__ feauency (RF)
NFC, GPS (GLONASS, connection in connection, broadband | _ connection, cellular
Galileo ReiDou) eSIM communication with the connection, lone range connection, broadband
" capable , at least one CPU; radio frequency (RF) connection, long and
connection, short range requeney RE)
ratio fe duency GO connection, or GPS
connection; connection;
wherein at least one of... wherein the only type oF
Connectivity: Wi- WiFi connection, internet ath the transmitter and
Fi5 (a/big/ egy? 4+5.0 at least one of an internet connection, radio the receiver of the
GHz, Bluetooth 5 0 + LE connection or a Ww Fi frequency (RF) communication device
NFC GPS (GLONASS , conn ection m connection, cellular and transceivers of the
Galileo BeiDou) eSIM communication with the | connection... capable of roducts is a type or
oa able , at least one CPU; signa] communication types selected from the
P with the transmitter or the f satellit
receiver: froup... 0 sate ite,
; Bluetooth, WiFi...

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Connectivity: Wi-

Fi 5 (a/b/g/n/ac) 2.4 + 5.0
GHz, Bluetooth 5.0 + LE,
NFC, GPS (GLONASS,
Galileo, BeiDou), eSIM
capable

at least one of a
Bluetooth connection, a
cellular connection, ora

satellite connection in
communication with the
at least one CPU;

at least one ofa...
Bluetooth connection,
WiFi connection, internet
connection... cellular
connection... short range
radio frequency (RF)
connection, or GPS
connection;

Google's Android
operating system features
a lock mechanism to
secure your phone,
known as pattem lock. To
set, drag your finger
along lines on the screen.
To unlock the phone,
replicate the pattern
drawn, If you fail to solve
the pattern too many
times, the phone locks
and cannot be unlocked
without logging into the
associated Google
account,

Google Nest x Yale Lack
is connected to the Nest
app; you can lock or
unlock your door from
your phone.

at least one locking
mechanism in
communication with the
at least one CPU for
locking the
communication device,
the at least one locking
mechanism configured to
at least one of engage
(lock) the communication
' device, disengage
(unlock) the
communication device, or
disable (make
unavailable) the
communication device;

whereupon the cell phone
is interconnected to the
cell phone detection
device to receive signals
or send signals to lock or
unlock doors, to activate
or deactivate security
systems, to activate or
deactivate multi-sensor
detection systems, or to
activate or deactivate the
cell phone detection
device;

Pixel phones use USB-C
with USB
2.0 power adapters and
cables, To charge your
phone with a USB-
A power adapter, use a
USB-C to USB-A cable.

at least one power source
comprising at least one of
a battery, electrical
connection, or wireless
connection, to provide
power to the
communication device;

25

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BIOMETRICS:
Biometric factors atlow
for secure authentication
on the Android platform.
The Android framework
includes face and
fingerprint biometric
authentication. Android
can be customized to
support other forms of
biometric authentication
(such as Iris).

at least one biometric
sensor in communication
with the at least once
CPU for providing
biometric authentication
to access the
communication device;

wherein the cell phone is
equipped with a
biometric lock disabler
that incorporates at least
one of a fingerprint
recognition, voice
recognition, face
recognition, hand
geometry, retina scan, iris
scan, or signature such
that the cel! phone is
locked by the biometric
lock disabler to prevent
unauthorized use; and

wherein the
communication device is
equipped with a
biometric lock disabler
that incorporates at least
one of a fingerprint
recognition, voice
recognition, face
recognition, hand
geometry, retina scan, iris
scan and signature such
that the communication
device that is at least one
of the cell phone, the
smart phone, the desktop,
the handheld, the PDA,
the laptop or the
computer terminal is
locked by the biometric
lock disabler to prevent
unauthorized use

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) provides a single
interface for viewing and
controlling different
CBRN-sensing
technologies, whether
that is a wearable
smartwatch that measures
a warfighter’s vitals (e.g.,
heart rate) or a device
mounted on a drone to
detect chemical warfare
agents.

at least one sensor for
chemical, biological, or
human detection in
communication with the
at least one CPU;

the cel] phone is at least a
fixed, portable or mobile
communication device
interconnected to the cell
phone detection device,
capable of wired or
wireless communication
therebetween; and

the communication
device is at least a fixed,
portable or mobile
communication device
interconnected to a fixed,
portable or mobile
product, capable of wired
or wireless
communication
therebetween...

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Android Team Awareness
Kit, ATAK (built on the
Android operating
system) is a digital
application available to
warfighters throughout
the DaD. ATAK offers
warfighters geospatial
mapping for situational
awareness during combat
— on an end-user device
such as a smartphone or a
tablet. With DTRA’s
contribution, ATAK now
includes chemical,
biological, radiological,
and nuclear (CBRN)
plug-ins,

one or more detectors in
communication with the
at least one CPU for
detecting at least one of
chemical, biological,
radiological, or explosive
agents;

at least one of a chemical
sensor, a biological
sensor, an explosive
sensor, a human sensor, a
contraband sensor, ora
radiological sensor
capable of being disposed
within, on, upon or
adjacent the cell phone;

wherein the
communication device
receives a signal via any
of one or more products
listed in any of the
plurality of product
grouping categories:

Connectivity: Wi-

at least one radio-

Fi 5 (a/b/g/n/ac) 2.4 + 5.0 frequency near-field
GHz, Bluetooth 5.0+ LE, | communication (NFC) x
NFC, GPS (GLONASS, connection in xX
Galileo, BeiDou), eSIM | communication with the
capable at least one CPU...
at least one of a a transmitter for
transmitter or a transmitting signals and
transceiver in messages to at least one
communication with the of plurality product
Google Nest = Yale Lock at least one CPU groups based on the

is connected to the Nest
app; you can lock or
unlock your door from
your phone.

Android Team Awereness
Kit, ATAK (built on the
Android operating
system) provides a single
interface for viewing and
controlling different
CBRN-sensing
technologies

configured to send
signals to monitor at least
one of a door, a vehicle,
or a building, send
signals to lock or unlock
doors, send signals to
control components ofa
vehicle, send signals to
control components of a
building, or... detect at
least one of a chemical
biological... agent such
that the communication
device is capable of
communicating,
monitoring, detecting,
and controlling.

a transmitter for
transmitting signals and
messages to a cell phone

detection device; a
receiver for receiving
signals from the cell
phone detection device;

categories of a multi-
sensor detection device, a
maritime cargo container,
a cell phone detection
device, or a locking
device;

a receiver for receiving
signals, data or messages |
from at least one of
plurality product groups
based on the categories of
a multi-sensor detection
device, a maritime cargo
container, a cell phone
detection device, or a
locking device;

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Google Nest x Yale Lock
is connected to the Nest
app; you can lock or
unlock your door from
your phone.

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) provides a single
interface for viewing and
controlling different
CBRN-sensing
technologies

whereupon the
communication device, is
interconnected to a
product equipped to
receive signals from or
send signals to lock or
unlock doors, activate or
deactivate security
systems, activate or
deactivate multi-sensor
detection systems, or to
activate or deactivate cell
phone detection systems

Android Team Awareness
Kit, ATAK (built on the
Android operating
system) is a digital
application available to
wartfighters throughout
the DoD. ATAK offers
warfighters geospatial
mapping for situational
awareness during combat
— on an end-user device
such as a smartphone or a
tablet. With DTRA’s
contribution, ATAK now
includes chemical,
biological, radiological,
and nuclear (CBRN)
plug-ins.

a transmitter for

messages to a cell phone
detection device; a
receiver for receiving
signals from the cell
phone detection device;

transmitting signals and ,

wherein at least one
satellite connection,
Bluetooth connection,
WiFi connection, internet
connection, radio
frequency (RF)
connection, cellular
connection, broadband
connection... short range
radio frequency (RF)
connection is capable of
signal communication
with the transmitter and
the receiver of the
communication device
and transceivers of the
products;

28

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Android Team Awareness
Kit, ATAK (built on the
Android operating
system) is a digital
application available to
warfighters throughout
the DoD. ATAK offers
warfighters geospatial
mapping for situational
awareness during combat
—on an end-user device
such as a smartphone ora
tablet. With DTRA’s
contribution, ATAK now
includes chemical,
biological, radiological,
and nuclear (CBRN)
plug-ins.

whereupon a signal sent
to the receiver of the cell
phone detection device
from at least one of the
chemical sensor, the
biological sensor, the
explosive sensor, the
human sensor, the
contraband sensor, or the
radiological sensor,
causes a signal that
includes at least one of
location data or sensor
data to be sent to the cell
phone.

PRAYER FOR RELIEF

Wherefore, Golden respectfully requests that this Court enter:

A. A judgment in favor of Golden that the defendant has infringed at least one or
more claims of the ‘287 Patent, the ‘439 Patent, and the ‘189 Patent as aforesaid;

B. A permanent injunction enjoining the defendant, its officers, directors, agents,
servants, affiliates, employees, divisions, branches, subsidiaries, parents and all others acting in
active concert or privity therewith from direct, indirect and/or joint infringement of the ‘287,
‘439, and ‘189 patents as aforesaid pursuant to 35 U.S.C. § 283;

C. A judgment and order requiring the defendant to pay Golden its damages with
pre- and post-judgment interest thereon pursuant to 35 U.S.C. § 284;

D. As set forth in Golden’s preliminary infringement contentions that the Defendant

in this case is making, using, offering for sale, selling and/or importing the aforementioned

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alleged infringing devices that have at a minimum, directly infringed the ‘287, ‘439, and ‘189
patents. The Defendant is thereby liable for infringement of the ‘287, ‘439, and ‘189 patents
pursuant to 35 U.S.C. § 271. The Defendant has caused damage to Golden, which infringement
and damage will continue unless and until the Defendant is enjoined.

E. Any and all further relief to which the Court may deem Golden entitled.

DEMAND FOR JURY TRIAL

Golden requests a trial by jury on all issues so triable by right pursuant to Fed. R. Civ. P.

38. A right guaranteed under the Seventh Amendment of the Constitution.

Respectfully submitted,

S/ Date: 01 /25 /2021
Larry Golden, Petitioner, Pro Se

740 Woodruff Rd., #1102

Greenville, South Carolina 29607

(H) 864-288-5605 / (M) 864-992-7104

atpg-tech@charter.net

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